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                    IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                                DIVISION OF ST. CROIX

UNITED STATES OF AMERICA, and                           )
UNITED STATES VIRGIN ISLANDS                            )
                                                        )
                                      Plaintiffs,       ) Civ. No. 1:11-cv-00006
               v.                                       )
                                                        )
HOVENSA L.L.C.                                          )
                                                        )
                                      Defendant.        )
                                                        )

                    FIRST MODIFICATION OF THE CONSENT DECREE

        WHEREAS, the United States of America (“United States”), the United States Virgin

Islands (“Virgin Islands”), and HOVENSA L.L.C. (“HOVENSA”) are parties to a Consent

Decree entered by this Court on June 7, 2011 in the above-captioned matter (Civ. No. 1:11-cv-

00006, Doc. 6).

       WHEREAS, the United States, the Virgin Islands, HOVENSA, Limetree Bay Terminals,

LLC, Limetree Bay Refining, LLC, and the Environmental Response Trust (“ERT”) are parties

to this first modification of the Consent Decree (“First Modification”).

       WHEREAS, HOVENSA idled the refinery and terminal operations in 2012 and 2015,

respectively, and filed for bankruptcy on September 15, 2015 in the United States District Court

for the District of the Virgin Islands, Bankruptcy Division (the “Bankruptcy Court”).

       WHEREAS, on December 1, 2015, the Bankruptcy Court entered an Order (Case No.

1:15-bk-10003-MFW, Doc. 394) approving the sale of certain refining and terminal assets owned

by HOVENSA to Limetree Bay Terminals, LLC pursuant to the terms of the Amended and

Restated Asset Purchase Agreement in the form appearing as Doc. 528-1 in Case No. 1:15-bk-

10003-MFW (“Final APA”).



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       WHEREAS, on January 4, 2016, the sale of certain refining and terminal assets to

Limetree Bay Terminals, LLC closed.

       WHEREAS, HOVENSA represented in the Final APA that it was in material compliance

with the Consent Decree.

       WHEREAS, pursuant to the Final APA, Limetree Bay Terminals, LLC, in part, agreed to

“promptly … use commercially reasonable efforts..., in cooperation with the applicable

Governmental Entities, to ... make the terms, conditions, obligations and liabilities of the

Consent Decree applicable to the Purchased Assets, including [Limetree Bay Terminals, LLC]

and [HOVENSA] executing a modification to the Consent Decree pursuant to which [Limetree

Bay Terminals, LLC] shall assume the terms, conditions, obligations and liabilities of

[HOVENSA] as they relate to the Purchased Assets under the Consent Decree and [HOVENSA]

shall be released from such terms, conditions, obligations and liabilities (the “Limited Consent

Decree Modification”) ....”

       WHEREAS, pursuant to the Final APA, “[i]f, despite [Limetree Bay Terminals, LLC’s]

and [HOVENSA’s] respective efforts, the applicable Governmental Entities do not agree to the

Limited Consent Decree Modification, regardless of whether such failure to agree occurs before

or after the Closing, [Limetree Bay Terminals, LLC] and [HOVENSA] promptly thereafter shall

… cooperate and take, or cause to be taken, all steps required under the Consent Decree to make

the terms, conditions, obligations and liabilities of the Consent Decree applicable to [Limetree

Bay Terminals, LLC], including (A) [Limetree Bay Terminals, LLC] and [HOVENSA]

executing a modification to the Consent Decree pursuant to which [Limetree Bay Terminals,

LLC] shall assume the terms, conditions, obligations and liabilities of [HOVENSA] under the

Consent Decree and [HOVENSA] shall be released from such terms, conditions, obligations and



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liabilities (the “Consent Decree Modification”) ….”

       WHEREAS, the applicable Governmental Entities, HOVENSA and Limetree Bay

Terminals, LLC did not agree to a Limited Consent Decree Modification.

       WHEREAS, “on the terms and subject to the conditions of” the Final APA, Limetree Bay

Terminals, LLC agreed to assume all of HOVENSA’s Liabilities, other than the Excluded

Liabilities, “under the Consent Decree in connection with the Purchased Assets arising out of or

relating to any act, omission, circumstances or other Event occurring after the Closing” (as each

term is defined in the Final APA).

       WHEREAS, Limetree Bay Terminals, LLC’s agreement to enter into a Consent Decree

Modification does not alter the rights and obligations of the parties to the Final APA.

       WHEREAS, Paragraph 7 of the Consent Decree required HOVENSA to condition any

transfer, in whole or in part, of the ownership or operation of the Refinery “upon the execution

by the transferee of a modification to this Consent Decree, which makes the terms and conditions

of this Consent Decree applicable to the transferee.”

       WHEREAS, pursuant to the Plan of Liquidation and the ERT Agreement, the ERT

assumed HOVENSA’s Consent Decree obligations under and relating to Section IX.A

(Territorial Supplemental Environmental Project (“TSEP(s)”)) and Section IX.B. (VIWAPA

Emissions Monitoring Assistance).

       WHEREAS, on February 17, 2016, groundwater and other remediation systems,

including the Vapor Enhanced Recovery Units 1 and 2 (“VER-1” and “VER-2”), were

transferred from HOVENSA to the ERT in accordance with the Plan of Liquidation.

       WHEREAS, on October 11, 2012, HOVENSA submitted a Notice of Dismantlement of

VER-1 in compliance with Section 204-31 of the Rules and Regulations of the Virgin Islands Air



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Pollution Control Act and section 2.4.7.1 of HOVENSA’s Title V Permit.

       WHEREAS, Limetree Bay submitted to the Virgin Islands Department of Planning and

Natural Resources (“VIDPNR”) and/or EPA, by letters dated February 28, 2017, June 9, 2017,

and May 30, 2019, requests to modify its Title V and non-title V permits to reflect the permanent

Shutdown of certain combustion devices to satisfy the requirements of Section V.F of the

Consent Decree to reduce NOx emissions by 4,744 tons per year.

       WHEREAS, except to the extent set forth in the preceding WHEREAS clause, neither

HOVENSA nor Limetree Bay has permanently Shutdown and surrendered permits for the

Refinery or portions of the Refinery to satisfy the requirements of the Consent Decree in the

manner provided in Paragraph 229 (Effect of Shutdown) of the Consent Decree.

       WHEREAS, on or before April 24, 2018, Limetree Bay notified the Virgin Islands of the

intent to restart Refinery Operations at the Refinery.

       WHEREAS, on April 24, 2018, an affiliate of Limetree Bay Terminals, LLC formed a

new limited liability company under the laws of the Virgin Islands, Limetree Bay Refining, LLC.

       WHEREAS, in July 2018, Limetree Bay Terminals, LLC entered into the Amended and

Restated Terminal Operating Agreement with the Virgin Islands, in which Limetree Bay

Terminals, LLC, in part, agreed to “use commercially reasonable efforts to … add [itself] as a

named party defendant to the … Consent Decree and modify the … Consent Decree to restart

Refinery Operations.” (Amended and Restated Terminal Operating Agreement by and Among

the Government of the Virgin Islands and Limetree Bay Terminals, LLC, Section 4.1(B)).

       WHEREAS, also in July 2018, Limetree Bay Refining, LLC entered into the Refinery

Operating Agreement with the Virgin Islands, in which Limetree Bay Refining, LLC, in part,

agreed to “use commercially reasonable efforts to … add [itself] as a named party defendant to



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the … Consent Decree and modify the … Consent Decree to restart Refinery Operations.”

(Refinery Operating Agreement by and Among the Government of the Virgin Islands and

Limetree Bay Refining, LLC, Section 4.1(B)).

        WHEREAS, on May 28, 2020, HOVENSA certified to the United States and the Virgin

Islands that it had taken the actions described in Appendix Q (“HOVENSA Certification”) in

completion and satisfaction of the Consent Decree requirements identified therein as of June 30,

2019.

        WHEREAS, due to the bankruptcy, the Parties desire to capture the certification of

HOVENSA as to the Consent Decree obligations completed by HOVENSA for purposes of

satisfying the requirement to certify completion for purposes of termination in accordance with

Paragraphs 231 and 232 of the Consent Decree and to identify the Consent Decree obligations

that have not yet been completed.

        WHEREAS, on November 30, 2018, Limetree Bay Terminals, LLC, executed a Bill of

Sale transferring in whole or in part certain Refinery assets that are subject to the requirements of

the Consent Decree to Limetree Bay Refining, LLC.

        WHEREAS, the United States, the Virgin Islands, HOVENSA, Limetree Bay Terminals,

LLC, Limetree Bay Refining, LLC, and the ERT have reached an agreement on the First

Modification as set forth herein, and, pursuant to Paragraphs 7 and 228 (Modification) of the

Consent Decree, seek to modify the Consent Decree in accordance herewith.

        WHEREAS, the United States, the Virgin Islands, HOVENSA, Limetree Bay Terminals,

LLC, Limetree Bay Refining, LLC, the ERT, and this Court, by entering the First Modification,

find that the First Modification has been negotiated in good faith and at arm’s length; that the

First Modification is fair, reasonable, and in the public interest.



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       WHEREAS, the United States, the Virgin Islands, HOVENSA, Limetree Bay Terminals,

LLC, Limetree Bay Refining, LLC, and the ERT agree and acknowledge that final approval by

the United States and entry of the First Modification is subject to the procedures set forth in 28

C.F.R. § 50.7, which provides for notice of the First Modification in the Federal Register, an

opportunity for public comment, and the right of the United States to withdraw or withhold

consent if the comments disclose facts or considerations that indicate that the First Modification

is inappropriate, improper or inadequate.

       NOW THEREFORE, upon the consent and agreement of the United States, the Virgin

Islands, HOVENSA, Limetree Bay Terminals, LLC, Limetree Bay Refining, LLC, and the ERT,

it is hereby ORDERED, ADJUDGED, and DECREED as follows:

       1.      The terms and conditions of the Consent Decree are applicable to Limetree Bay

Terminals, LLC, Limetree Bay Refining, LLC, and their respective successors or assigns, except

as otherwise specifically set forth herein.

       2.      The terms and conditions of the Consent Decree that apply to VER-1 and VER-2,

and any obligations in Parts X (Reporting and Recordkeeping), and XIX (Termination) that

relate to VER-1 and VER-2, are applicable to the ERT. All requirements of this Consent Decree

that apply to VER-1 are satisfied pursuant to Paragraph 229.

       3.      As of the Date of Entry of the First Modification, the obligations under and

relating to Section IX.A and B of the Consent Decree, including the obligation to disburse funds

from the TSEP Escrow Account for any TSEP approved by VIDPNR, to disburse funds

earmarked for the VIWAPA Emissions Monitoring Assistance Program, and any obligations in

Part X (Reporting and Recordkeeping) that relate to the TSEP Escrow Account or to the




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VIWAPA Emissions Monitoring Assistance Program are transferred to the ERT as specified in

the First Modification.

       4.      Limetree Bay Terminals, LLC, Limetree Bay Refining, LLC, and the ERT shall

be added as Parties to the Consent Decree.

       5.      In accordance with Paragraphs 1-4 of the First Modification, effective upon the

Date of Entry of the First Modification:

               a.         Limetree Bay Refining, LLC and Limetree Bay Terminals, LLC shall be

substituted for HOVENSA as the Defendant, for all provisions of the Consent Decree, including

all rights, liabilities and obligations of HOVENSA, except as set forth in this First Modification.

               b.         The ERT shall be substituted for HOVENSA as the Defendant only to the

extent any obligation set forth in the Consent Decree relates to either VER-1 or VER-2 or Part

IX (Territorial Supplemental Environmental Project).

       6.      Limetree Bay shall retain any and all records that it received from HOVENSA

related to the implementation of the requirements of the Consent Decree for the periods specified

in the relevant Paragraphs of the Consent Decree along with all records required to be

maintained by Limetree Bay pursuant to the First Modification. Limetree Bay is not liable for

penalties for HOVENSA’s failure to keep records required under the Consent Decree but

will use commercially reasonable efforts to create a compliant version upon request by the

United States or the Virgin Islands.

       7.      Limetree Bay shall not be required to make any submittal or report or take any

action required by the Consent Decree if a prior submittal, report, or action by HOVENSA fully

satisfied that same requirement of the Consent Decree.




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       8.      As of the Date of Entry of the First Modification, HOVENSA shall be released

from the obligations and liabilities under the Consent Decree.

       9.      Nothing in the First Modification shall affect any obligations that the parties to

the First Modification may have to one another under any agreement or court order including,

without limitation, the Order Granting Final Approval of Disclosure Statement and Confirming

Chapter 11 Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code (In re

HOVENSA L.L.C., Chapter 11 Case No. 1:15-bk-10003-MFW, Doc. No. 572) (the

“Confirmation Order”), except as provided under the Consent Decree. Nothing in the First

Modification shall affect any of the settlement, release, or injunction provisions set forth in the

Plan of Liquidation or the Confirmation Order, except as provided under the Consent Decree.

Nothing in the First Modification shall affect any rights obligations, or liabilities that the parties

to the Final APA have to one another under the Final APA.

       10.     Except as specifically provided in the First Modification, the definitions in the

Consent Decree shall continue to apply.

       11.     Replace the following definitions in Paragraph 10:

       E.      “Acid Gas Flaring Device” or “AG Flaring Device” shall mean any device that

is used for the purpose of combusting Acid Gas and/or Sour Water Stripper Gas, except

facilities in which gases are combusted to produce sulfur or sulfuric acid. The AG Flaring

Devices are identified in Appendix D (“List of Flaring Devices Subject to NSPS Subpart Ja”).

To the extent that, during the duration of the Consent Decree, the Refinery utilizes AG Flaring

Devices other than those specified in Appendix D for the purpose of combusting Acid Gas

and/or Sour Water Stripper Gas, those AG Flaring Devices shall be covered under this

Consent Decree.


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       AA.    “HOVENSA” shall mean HOVENSA L.L.C.

       CC.    “Hydrocarbon Flaring Device” or “HC Flaring Device” shall mean a flare used to

safely control (through combustion) any excess volume of a refinery-generated gas other than

Acid Gas and/or Sour Water Stripper Gas and/or Tail Gas. The HC Flaring Devices are identified

in Appendix D (“List of Flaring Devices Subject to NSPS Subpart Ja”). To the extent that,

during the duration of the Consent Decree, the Refinery utilizes HC Flaring Devices other than

those specified in Appendix D for the purposes of combusting any excess volume of a refinery-

generated gas other than Acid Gas and/or Sour Water Stripper Gas and/or Tail Gas, those HC

Flaring Devices shall be covered under this Consent Decree.

       MM.    “Parties” shall mean, as of the Date of the Entry of the First Modification, the

United States, the Virgin Islands, Limetree Bay Terminals, LLC, Limetree Bay Refining, LLC,

and the Environmental Response Trust.

       NN.    “Refinery” shall mean the petroleum refining and terminal facilities in St. Croix,

Virgin Islands. As of the Date of Lodging and the Date of Entry, both the petroleum refining and

terminal facilities, the boundaries of which are shown in Appendix I (“Map of HOVENSA,

L.L.C.”), were owned and operated by HOVENSA L.L.C. As of the Date of Lodging of the First

Modification, the petroleum refining facility is owned and operated by Limetree Bay Refining,

LLC, the terminal facility is owned and operated by Limetree Bay Terminals, LLC, and the

boundaries of each as of the Date of Lodging of the First Modification are shown in Appendix R

(“Map of Refinery”).

12.    Add the following definitions to Paragraph 10 of the Consent Decree:

       CCC. “BWON Equipment” shall mean equipment used in handling, storage, treatment,

or disposal of “non-aqueous and aqueous benzene waste streams” regulated under 40 C.F.R. Part



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61, Subpart FF, except that the term shall also include “affected facilities” under NSPS Subpart

QQQ.

           DDD. “BWON and LDAR Equipment” shall mean LDAR Equipment and BWON

Equipment.

           EEE. “Covered Equipment” shall include all pumps and valves, excluding pressure

relief valves, in light liquid or gas/vapor service in all process units that are subject to the

equipment leak provisions of 40 C.F.R. Part 60, Subparts VVa and GGGa.

           FFF.   “Date of Entry of the First Modification of the Consent Decree” and “Date of

Entry of the First Modification” shall mean the date on which the First Modification of the

Consent Decree is approved and signed by a District Court Judge for the District of the Virgin

Islands and entered in the Court docket by the Clerk of the United States District Court for the

District of the Virgin Islands.

           GGG. “Date of Lodging of the First Modification of the Consent Decree” and “Date of

Lodging of the First Modification” shall mean the date on which the First Modification of the

Consent Decree is lodged with the United States District Court for the District of the Virgin

Islands.

           HHH. “Environmental Response Trust” or “ERT” shall mean the ERT established

pursuant to the Plan of Liquidation and the ERT Agreement, which satisfied the conditions set

forth in Article XI of the Plan of Liquidation and which designated Project Navigator, Ltd. as

Environmental Response Trustee. On December 20, 2019, the Bankruptcy Court appointed

PathForward Consulting Inc., as a successor Environmental Response Trustee. The effective

date of the ERT was February 17, 2016, as provided in Case No. 1:15-10003, Doc. 625.




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       III.       “ERT Agreement” shall mean Doc. 626-1 in Case No. 1:15-10003-MFW, United

States District Court for the District of the Virgin Islands, Bankruptcy Division – St. Croix,

Virgin Islands.

       JJJ.       “First Modification of the Consent Decree” and “First Modification” shall mean

this modification of the Consent Decree, including any and all appendices attached to the First

Modification.

       KKK. “Idled Unit” shall mean (1) an emissions unit to which a requirement of the

Consent Decree applies (including, but not limited to, the FCCU, Coker, Flaring Devices,

heaters, boilers, Generating Turbines, and Compressor Engines) for which no part was operated

between June 1, 2012 and at least June 1, 2019, and that is listed in Appendix K (“List of Idled

Units”) hereto, and (2) Flare 7, from the time that Flare 7 is isolated and Shutdown under

Paragraph 50E. An Idled Unit does not include BWON and LDAR Equipment.

       LLL. “In Regulated Service” shall mean: (1) BWON Equipment with benzene-

containing wastes regulated under 40 C.F.R. Part 61 Subpart FF or (2) LDAR Equipment in

“light liquid” and/or “gas/vapor service” as those terms are used in Section V.R of the Consent

Decree.

       MMM. “In Service Unit” shall mean an emission unit to which a requirement of the

Consent Decree applies that is not an Idled Unit. In Service Unit does not include BWON and

LDAR Equipment.

       NNN. “LDAR Equipment” shall mean each valve, pump, pressure relief device,

sampling connection system, open-ended valve or line, and flange or other connector In

Regulated Service and, for purposes of recordkeeping and reporting requirements only,

compressors shall be considered LDAR Equipment, as defined in 40 C.F.R. § 60.591.



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       OOO. “LHE Combustion Liner System” shall mean a Lean Head End Combustion Liner

system as generally described in publication GER-4211, Gas Turbine Emissions and Control,

which were installed by Limetree Bay on GTs 7 and 8.

       PPP. “Limetree Bay” shall mean Limetree Bay Terminals, LLC, Limetree Bay

Refining, LLC, and their respective successors and assigns.

       QQQ. “Pilot Gas” shall mean the minimum amount of gas necessary to maintain the

presence of a flame for ignition of vent gases.

       RRR. “Plan of Liquidation” shall mean the Debtor’s Second Amended Plan of

Liquidation Pursuant to Chapter 11 of the Bankruptcy Code, Order of the United States District

Court for the District of the Virgin Islands, Bankruptcy Division – St. Croix, Virgin Islands

(Case No. 1:15-10003-MFW, Doc. 572-1).

       SSS.    “Purge Gas” shall mean the gas introduced between a Flaring Device header’s

water seal and the flare tip to prevent oxygen infiltration (backflow) into the flare tip. For a

Flaring Device with no water seal, the function of Purge Gas is performed by Sweep Gas, and

therefore, by definition, such a Flaring Device has no Purge Gas.

       TTT. “Refinery Operations” shall mean the processing of crude oil and other feedstock

into refined petroleum products and the commercialization thereof.

       UUU. “Restart” shall mean: (1) the change in status of BWON or LDAR Equipment

from not In Regulated Service to In Regulated Service; and (2) the resumption of operation of an

Idled Unit. For a fuel gas combustion device or flare, resumption of operation means

combusting Fuel Gas. For an FCCU, resumption of operations means receiving feed in the

unit. For an SRP, resumption of operations means introducing acid gas to the unit. For a Coker

and the Coke Handling Storage and Loading Facility, resumption of operation means receiving



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feed to the coker drum. For a sulfur pit, resumption of operation means when sulfur is drained to

a sulfur pit.

        VVV. “TSEP” shall mean the Territorial Supplemental Environmental Project(s)

developed by the VIDPNR pursuant to Section IX.A of the Consent Decree.

        WWW. “TSEP Escrow Account” shall mean the escrow account in which HOVENSA

deposited $4.875 million in accordance with Section IX.A of the Consent Decree and to which

the ERT assumed HOVENSA’s rights and obligations pursuant to the Plan of Liquidation and

the ERT Agreement.

13.     Replace Paragraph 27 with the following new Paragraph 27:

        27.     By six (6) years and one month from Date of Entry, Limetree Bay shall install

sufficient Qualifying Controls and have applied for emission limits from the appropriate

permitting authority to achieve 3,663 tpy NOx emission reductions as determined by the

summation in Paragraph 24. By six (6) years and three (3) months from Date of Entry, Limetree

Bay shall provide EPA with a report showing how it satisfied the requirement of this Paragraph

and Paragraph 23.

14.     Add the following new Paragraph 28A to Part V.F:

        28A.    Limetree Bay represents that it (or HOVENSA) has installed sufficient qualifying

controls to achieve the aggregate NOx emissions reductions of 4,744 tpy required by Paragraphs

26, 27, and 28, by permanent Shutdown and relinquishment of permits for the heaters, boilers,

generating turbines and compressor engines identified in Appendix N (“Emissions Units

Permanently Shutdown as of June 1, 2019”). Limetree Bay will submit the report required by

Paragraph 28, certified in accordance with Paragraph 231. Provided the report submitted under

Paragraph 28 demonstrates that the 4,744 tpy of NOx reductions have been achieved, Limetree



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Bay is deemed to have satisfied the requirements of Section V.F and the requirements of

Paragraphs 230 and 231 related to Termination, subject to EPA’s review under Paragraphs 232

and 233.

15.       Replace Paragraph 36 with following new Paragraph 36:

          36.    For each fuel gas combustion device that became an affected facility under NSPS

Subpart Ja pursuant to the Consent Decree, entry of the First Modification shall satisfy the notice

requirements of 40 C.F.R. § 60.7(a) and compliance with the relevant monitoring requirements

of the Consent Decree shall satisfy the notification of initial performance test requirement of 40

C.F.R. § 60.8(a).

16.       Add the following sentence to Subparagraph 41.a: As of the Date of Entry of the First

Modification, the East Side SRP consists of two Claus Trains, #3 SRU, #4 SRU, and a tail gas

treatment unit followed by incineration.

17.       Replace Paragraphs 45 and 46 with the following new Paragraphs 45 and 46:

          45.    Compliance with NSPS Emissions Limits at the East Side SRP. By no later than

the date of Restart of the East Side SRP, Limetree Bay shall install, at the East Side SRP, control

equipment necessary to control the emissions of sulfur compounds from the East Side SRP to

comply with NSPS Subparts A and Ja. Notwithstanding any provision of Limetree Bay’s Title V

permit (STX-TV-003-10) or any successor operating permit, Limetree Bay shall not vent tail gas

from the East Side SRP to an incinerator, unless such venting complies with NSPS Subparts A

and Ja.

          46.    [Reserved]

18.       Replace Paragraph 47 with the following new Paragraph 47:

          47.    For the East Side SRP, which became an affected facility under NSPS Subpart Ja



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pursuant to Section V.I, entry of the First Modification shall satisfy the notice requirements of 40

C.F.R. § 60.7(a), and compliance with the relevant monitoring requirements of this Consent

Decree shall satisfy the notification of initial performance test requirement of 40 C.F.R. §

60.8(a).

19.         Replace Paragraph 49 with the following new Paragraph 49:

            49.         All Flaring Devices listed in Appendix D (“List of Flaring Devices Subject to

NSPS Subpart Ja”) are affected facilities, as that term is used in 40 C.F.R. Part 60, Subpart Ja,

and by the dates listed in Appendix D, shall comply with the requirements of NSPS Subparts A

and Ja.

20.         Replace Paragraph 50 with the following new Paragraphs 50A through 50F:

            50A.         Mitigation of Flaring Emissions. Limetree Bay shall monitor and quantify all

flaring emissions from the FCCU Low Pressure Flare and Flare 3 for the one-year period

beginning on the date of Restart of the flare, using the following equation:

                                 𝑛𝑛
                                                                                    1 𝑠𝑠𝑠𝑠𝑠𝑠𝑆𝑆𝑆𝑆2         𝑙𝑙𝑙𝑙 − 𝑚𝑚𝑚𝑚𝑚𝑚𝑚𝑚𝑚𝑚 𝑆𝑆𝑆𝑆2         64 𝑙𝑙𝑙𝑙𝑙𝑙 𝑆𝑆𝑆𝑆2             1 𝑡𝑡𝑡𝑡𝑡𝑡 𝑆𝑆𝑆𝑆2
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                                𝑖𝑖 =1


Where:
        Mitigation Amount = tons of SO2 emissions that result from combustion of gas in a
                                                particular flare with an H2S concentration above the 162 ppm
                                                standard and which could have been captured by a reasonably sized
                                                FGRS
                                        n = each hour that is part of a three-hour rolling average in the first 365
                                                Days after Restart of the flare where the H2S concentration in the
                                                gas flared at the particular flare exceeds the 162 ppm standard
                                𝐶𝐶𝐻𝐻2𝑆𝑆𝑖𝑖 = the hourly average concentration of H2S for hour i in the gas flared
                                            at the particular flare as measured by the H2S CEMS
                                        𝐹𝐹𝑖𝑖 = hourly average flow in scfh for hour i of all gas to the particular flare
                                               as measured by the flare flow meter but excluding Pilot Gas and
                                               excluding any flow above 2 times Baseload Average Flow




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Baseload Average Flow = 90th percentile of hourly average flow in the first 365 Days after
                             Restart of the flare of all gas to the particular flare as measured by
                             the flare flow meter.

Limetree Bay shall mitigate the Mitigation Amount using the formula above and implementing

one or more mitigation projects as specified in this Paragraph.

               a.       Mitigation Emissions Less Than 10 Tons. No mitigation is required if the

Mitigation Amount is less than 10 tons.

               b.       Mitigation Emissions Above 10 Tons. If the Mitigation Amount is above

10 tons, Limetree Bay will mitigate emissions above 10 tons by implementing one or more of the

mitigation projects in Appendix P (“Flaring Mitigation Projects”) in accordance with the

requirements therein.

        50B.   Installation of Flare Gas Recovery Systems. For the FCCU Low Pressure Flare

and Flare 3, Limetree Bay shall design, install, operate and maintain flare gas recovery system(s)

to control all continuous and intermittent, routinely-generated refinery fuel gases (not including

Purge Gas, or Pilot Gas or molecular seal gases necessary to ensure safe operation of the flares)

that are combusted in the flare(s), if the quantity of gases sent to the flares exceeds the amounts

specified, or if there is noncompliance with the NSPS Subpart Ja emission standard, as specified

in this Paragraph.

               a.       First Year of Operation: Gas Quantity. The requirements of this

Subparagraph 50B.a apply only during the one-year period beginning on the date of Restart of

the flare.

                        i.     FCCU Low Pressure Flare. If, during the first or second six-month

               successive non-overlapping block period during the first year after Restart of the

               FCCU Low Pressure Flare, greater than an average of 1,500,000 standard cubic

               feet per day (scfd) combined flow of all gases, other than hydrogen from initial
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                reformer restart, is sent to the FCCU Low Pressure Flare (and any flare

                interconnected with the FCCU Low Pressure Flare), as measured by the flare flow

                meter, then by not later than two years from the end of the six-month period in

                which the gas quantity is exceeded and the report is due under Paragraph 50C.b,

                Limetree Bay shall install and operate a flare gas recovery system for the FCCU

                Low Pressure Flare.

                        ii.     Flare 3. If, during the first or second six-month successive non-

                overlapping block periods during the first year after Restart of Flare 3, greater

                than an average of 750,000 scfd combined flow of all gases is sent to the Flare 3,

                as measured by the flare flow meter, then by not later than two years from the end

                of the six-month block period in which the gas quantity is exceeded and the report

                is due under Subparagraph 50C.b, Limetree Bay shall install and operate a flare

                gas recovery system for Flare 3.

                b.      After First Year of Operations: Gas Quantity. The requirements of this

Subparagraph 50B.b apply beginning with the first full Calendar Quarter after the one-year

period in Subparagraph 50B.a. The first full Calendar Quarter will include all days after the first

year after Restart of the flare until the end of the first full Calendar Quarter.

                        i.      FCCU Low Pressure Flare. If, during any two successive Calendar

                Quarters either (a) during the second year after Restart of the FCCU Low Pressure

                Flare, greater than an average of 750,000 scfd combined flow of all gases, other

                than hydrogen from initial reformer restart, or (b) after the second year after

                Restart of the FCCU Low Pressure Flare, greater than an average of 500,000 scfd

                combined flow of all gases, other than hydrogen from initial reformer restart, is



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           sent to the FCCU Low Pressure Flare (including any flare interconnected with the

           FCCU Low Pressure Flare), as measured by the flare flow meter, then by not later

           than two years from the end of the second Calendar Quarter in which the gas

           quantity is exceeded and the report required under Subparagraph 50C.c is due,

           Limetree Bay shall install and operate a flare gas recovery system for the FCCU

           Low Pressure Flare.

                   ii.    Flare 3. If, during any two successive Calendar Quarters after the

           first year after Restart of Flare 3, greater than an average of 250,000 scfd

           combined flow of all gases is sent to Flare 3, as measured by the flare flow meter,

           then by not later than two years from the end of the second Calendar Quarter in

           which the gas quantity is exceeded and the report required under Subparagraph

           50C.c is due, Limetree Bay shall install and operate a flare gas recovery system(s)

           for Flare 3.

                   iii.   Within the first six months of Restart of either Flare 3 or the FCCU

           Low Pressure Flare, whichever is earlier, Limetree may increase the average gas

           quantity for Flare 3 specified in Subparagraph 50B.b.ii from 250,000 scfd to

           300,000 scfd combined flow of all gases. If Limetree exercises this option, then

           the average gas quantity for FCCU Low Pressure Flare specified in Subparagraph

           50B.b.i shall be reduced from 750,000 scfd to 700,000 scfd during the second

           year of Restart of the FCCU Low Pressure Flare, and from 500,000 scfd to

           450,000 scfd combined flow of all gases after the second year after Restart of the

           FCCU Low Pressure Flare. Within 30 Days of exercising this option, Limetree

           shall notify EPA and the VIDPNR, including the date on which Limetree



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           exercised this option, as provided in Paragraph 225 (Notice), and shall certify the

           notification as required by Paragraph 144.

                   iv.     Adjustment to Gas Quantity Based on Changes in Refining

           Operating Rate. The gas quantities specified in this Subparagraph 50B.b apply

           where the refinery’s charge rate to the atmospheric crude unit(s) (“operating

           rate”) is not more than 180,000 barrels (bbls) per day in a Calendar Quarter. If

           the average actual refinery operating rate is greater than 180,000 bbls per day in a

           Calendar Quarter, then the following gas quantities apply in lieu of the gas

           quantities in 50B.b.(i). and (ii).:

                           (1)     FCCU Low Pressure Flare: (A) During the second year

                   after Restart of the FCCU Low Pressure Flare: (750,000 scfd (or 700,000

                   scfd if applicable pursuant to Subparagraph 50B.b.iii)/180,000 bbls)

                   multiplied by the actual refinery operating rate per Calendar Quarter,

                   measured as an average combined flow of all gases, other than hudrogen

                   from initial reformer restart, to the FCCU Low Pressure Flare in scfd in

                   any Calendar Quarter, as measured by the flare flow meter. (B) After the

                   second year after Restart of the FCCU Low Pressure Flare: (500,000 scfd

                   (or 450,000 scfd if applicable pursuant to Subparagraph 50B.b.iii)/180,000

                   bbls) multiplied by the actual refinery operating rate per Calendar Quarter,

                   measured as an average combined flow of all gases, other than hydrogen

                   from initial reformer restart, to the FCCU Low Pressure Flare in scfd in

                   any Calendar Quarter, as measured by the flare flow meter.




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                              (2)     Flare 3: Greater than (250,000 scfd (or 300,000 scfd if

                       applicable pursuant to Subparagraph 50B.b.iii)/180,000 bbls) multiplied

                       by the actual refinery operating rate, measured as an average combined

                       flow of all gases to Flare 3 in scfd in any Calendar Quarter, as measured

                       by the flare flow meter.

               c.      After First Year of Operations: Noncompliance. If, during any two

successive Calendar Quarters there is noncompliance with the NSPS Subpart Ja H2S

concentration standard in 40 C.F.R. § 60.103a(h) for greater than 5% of either flare’s operating

time, and greater than 10 tons of excess SO2 emissions from the same flare, then by not later than

18 months from the end of the two Calendar Quarters in which both the noncompliance rate and

excess SO2 emissions are exceeded and the report required under Subparagraph 50C.c is due,

Limetree Bay shall install and operate a flare gas recovery system(s) for the relevant flare.

       50C.    Monitoring and Reporting. For purposes of the requirements of Paragraphs 50A

and 50B, the monitoring and reporting requirements of this Paragraph applies.

               a.      Monitoring. For the FCCU Low Pressure Flare and Flare 3, upon Restart

of the flare, Limetree Bay shall comply with the hydrogen sulfide monitoring, sulfur monitoring

and flow monitoring requirements of 40 C.F.R. § 60.107a(a)(2), (e) and (f) respectively. Prior to

a Restart of a flare, an instrument for continuously monitoring and recording the H2S

concentration by volume (dry basis) shall be installed, operated, calibrated and maintained

pursuant to 40 C.F.R. § 60.107a(a)(2), notwithstanding any exceptions or alternate methods

allowed in NSPS Subpart Ja.

                       i.     Data from the H2S CMS generated prior to the demonstration of

               compliance (see Appendix L (“Exceptions For Compliance on Restart”)) shall be



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               included for purposes of calculating Mitigation Amount during the first year of a

               flare’s operation pursuant to Paragraph 50A, regardless of whether the flare’s H2S

               CMS fails its Cylinder Gas Audit (“CGA”) or RATA.

                       ii.    In the event that the H2S CMS fails its CGA or RATA, then the

               measured values of the emissions from the flare emitted prior to the

               demonstration of compliance will be adjusted based on the level of inaccuracy, as

               demonstrated by the CGA or RATA, or the CGA or RATA and other credible

               evidence.

                       iii.   The quantity of hydrogen from initial reformer restart combusted

               in the FCCU Low Pressure Flare shall be measured by a flow meter.

               b.      Recordkeeping and Reporting for First Year of Operations. Within thirty

(30) days of the end of each of the six-month block periods during the first year after Restart of

the flare, Limetree Bay shall submit a report containing the following information for each flare:

                       i.     The quantity of all gases in scfd sent to each flare for the period

               covering the six-month block period preceding the date of the report, on both a

               cumulative and per-day basis;

                       ii.    The quantity of hydrogen from initial reformer restart combusted

               in the FCCU Low Pressure Flare on both a cumulative and per-day basis;

                       iii.   In the second six-month block period report, the quantity of

               Mitigation Amount for the period covering the two six-month block periods

               preceding the date of the report, provided both on a cumulative and per-day basis;

               and




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                       iv.     Notification of whether the total gas quantity specified in

               Subparagraph 50B.a.i or a.ii has been exceeded.

Limetree Bay shall report this data to EPA and the VIDPNR as provided in Paragraph 225

(Notice), and shall certify the report as required by Paragraph 144.

               c.      Reporting After First Year of Operations. If the requirement to install

flare gas recovery is triggered, as described in Subparagraphs 50B.b.i, 50B.b.ii, or 50B.c, then

Limetree Bay shall notify EPA within thirty (30) days and provide the information in

Subparagraphs (i)-(v) below. If the requirement for flare gas recovery is not triggered, then the

information in Subparagraphs (i)-(v) below, for each Calendar Quarter, shall be included in the

semi-annual progress reports required under Paragraph 143 beginning with the next semi-annual

progress report following the first full Calendar Quarter after the first year of operations:

                       i.      The quantity of all gases combusted in each flare in scfd, as

               measured by the flare flow meter, for the period covering the Calendar Quarter

               preceding the date of the report, on both a cumulative and per-day basis;

                       ii.     The quantity of hydrogen from initial reformer restart combusted

               in the FCCU Low Pressure Flare;

                       iii.    Any adjustments to the specified gas quantity pursuant to

               Subparagraph 50B.b.iii, including the adjusted gas quantity, operating rate, and

               the change in operating rate;

                       iv.     The total period of noncompliance with the NSPS Subpart Ja

               concentration standard, expressed as a percentage of operating time and excess

               SO2 emissions expressed as tons during the Calendar Quarter; and




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                          v.     Notification of whether the total gas quantity specified in

                Subparagraph 50B.b.i or b.ii has been exceeded, and/or whether the total period of

                noncompliance with the NSPS Subpart Ja H2S concentration standard and excess

                SO2 emissions, specified in Subparagraph 50B.c has been exceeded.

Limetree Bay shall report this data to EPA and the VIDPNR as provided in Paragraph 225

(Notice), and shall certify the report as required by Paragraph 144.

        50D.    Hydrogen Sulfide Monitoring. To evaluate the potential transport of H2S to the

refinery’s wastewater treatment system from the use of H2S scavengers in the flare gas

system(s), by no later than 90 Days after Limetree Bay begins using H2S scavenger in its flare

gas system(s), Limetree Bay shall monitor H2S emissions from the wastewater treatment system,

as follows:

                a.        Limetree Bay shall install three temporary H2S monitors at fixed locations

around the dissolved air flotation (DAF) unit and the API separator on the East Side, and one

temporary H2S monitor at a fixed location near the API separator on the West Side (if Sulfix is

used on Flare 3), as specified in Appendix S (“Map of H2S Monitoring Locations”), to

continuously monitor H2S emissions from the DAF and API separators.

                b.        If Limetree Bay stores slop oil in fixed roof tanks, Limetree Bay shall

install a temporary H2S monitor at a fixed location near such tank.

                c.        Limetree Bay shall use temporary H2S monitors that are designed to meet

the following criteria:

                          i.     Utilizes an electrochemical sensor;

                          ii.    A response time of 15 seconds or less;

                          iii.   A lower detection limit (sensitivity) of at least 0.5 ppm;



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                       iv.    A resolution of 0.1 ppm and an accuracy of ± 5% over its

               calibrated range of at least 0-100 ppm;

                       v.     An accuracy of ± 0.05 ppm at 1 ppm (± 5%);

                       vi.    A built-in datalogging function for data collection and analysis;

               and

                       vii.   A low temperature drift (less than 0.1 ppm for the zero reading)

               and high selectivity for H2S in the presence of interfering gases (such as sulfur

               dioxide, nitrogen dioxide, and hydrocarbons).

               d.      Duration. The temporary H2S monitors shall be operated for a period of

not less than two years.

                       i.     If H2S is detected at levels exceeding the OSHA permissible

               exposure limit of 10 ppm (15 mg/m3) at any monitoring location over an 8-hour

               time weighted average (see 29 C.F.R. § 1910.1000(d)) equal to or more than 5%

               of the time during any rolling 30-day period, then Limetree Bay shall submit a

               plan to EPA for approval to address the cause of any H2S emissions attributable to

               the use of H2S scavengers and to install permanent H2S monitors meeting the

               criteria specified in Subparagraph 50D.c. If the cause is not attributable to the use

               of H2S scavengers, the report shall explain the basis for Limetree Bay’s

               determination. If EPA disagrees with Limetree Bay’s determination, the

               disagreement is subject to dispute resolution in accordance with Part XVI

               (Retention of Jurisdiction/Dispute Resolution).

                       ii.    If H2S is detected at levels above 10 ppm for less than 5% of the

               time during all rolling 30-day periods at the end of the two years, Limetree Bay is



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               not required to install permanent monitors, and may discontinue use of the

               temporary monitors.

       50E.    Idling of Flare 7. Limetree Bay may, for a period not to exceed 72 hours, and

prior to the restart of any petroleum refining process unit, temporarily interconnect and jointly

operate the FCCU Low Pressure Flare and Flare 7, until Flare 7 can be safely isolated and

Shutdown at which time Flare 7 will be an Idled Unit. The temporary interconnection of Flare 7

with the FCCU Low Pressure flare will not be considered an interconnection for purposes of

Subparagraphs 50B.a.i and 50B.b.i.

       50F.    Root Cause, Corrective Action and Reporting for Flaring Incidents Post

Installation of Flare Gas Recovery. Following the installation of a flare gas recovery system on a

flare pursuant to Paragraph 50B, Acid Gas, Tail Gas and Hydrocarbon Flaring Incidents

occurring while the flare gas recovery system is in operation will be investigated and reported in

accordance with NSPS Subpart Ja, 40 C.F.R. § 60.103a(c)(1)-(c)(3) in lieu of the investigation

and reporting requirements in Paragraphs 60, 61, 70 and 71. Copies of NSPS Subpart Ja root

cause and corrective action reporting will be included in the semi-annual CD reports required

under Paragraph 71 and Part X (Reporting and Recordkeeping). The stipulated penalty

provisions for Flaring Incidents will continue to apply until termination.

       50G.    If no Acid Gas, Tail Gas or Hydrocarbon Flaring Incidents occur at the Refinery

for any consecutive 24 calendar month period, then any Acid Gas, Tail Gas and Hydrocarbon

Flaring Incidents occurring thereafter shall be investigated and reported in accordance with

NSPS Subpart Ja, 40 C.F.R. § 60.103a(c)(1)-(c)(3) in lieu of the investigation and reporting

requirements in Paragraphs 60, 61, 70 and 71. The stipulated penalty provisions for Flaring

Incidents will continue to apply until termination.



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21.     Replace Paragraph 51 with the following new Paragraph 51:

        [Reserved]

22.     Modify the applicable regulatory provisions in Subparagraphs 54.a and 54.b:

        References in Subparagraph 54.a and Subparagraph 54.b to 40 C.F.R. § 60.102a(g)(1)

relate to fuel gas combustion devices only and shall be changed to 40 C.F.R. § 60.103a(h)

relating to flares.

23.     Replace Paragraph 55 with the following new Paragraph 55:

        55.     For each Flaring Device which became an affected facility under NSPS Subpart

Ja pursuant to this Consent Decree, entry of the First Modification shall satisfy the notice

requirements of 40 C.F.R. § 60.7(a), and compliance with the relevant monitoring requirements

of this Consent Decree shall satisfy the notification of initial performance test requirement of 40

C.F.R. § 60.8(a).

24.     Replace Subparagraph 70.a with the following new Subparagraph 70.a:

                a.     Investigation, Reporting, Corrective Action, and Stipulated Penalties. For

Tail Gas Incidents, Limetree Bay shall follow the same investigative, reporting, corrective

action, and assessment of stipulated penalty procedures as those set forth in Paragraphs 60

through 68 for Acid Gas Flaring Incidents. Those procedures shall be applied to TGU

shutdowns, bypasses of a TGU, or other events which result in a Tail Gas Incident, including

scheduled and unscheduled Shutdowns of a Claus Sulfur Recovery Plant.

25.     Modify Subparagraph 70.b.ii to include a missing formula unit:

        0.169 x 10-6 = [lb mole of SO2 / 379-scf of SO2] [64 lbs SO2 / lb mole SO2 ][1 x 10-6]

26.      Insert the new Paragraphs 71A and 72A as follows:




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       71A. The requirements of Section V.K shall not apply to Limetree Bay with respect to

Acid Gas Flaring Incidents and Tail Gas Incidents that occurred prior to January 4, 2016.

       72A.    The requirements of Section V.L shall not apply to Limetree Bay with respect to

Hydrocarbon Flaring Incidents that occurred prior to January 4, 2016.

27.    Replace Section V.P, Benzene Waste NESHAP Program, with the following new

Section V.P, Benzene Waste NESHAP Program.

P.     Benzene Waste NESHAP Program.

       77.     Current Subpart FF Status. Limetree Bay shall continue to comply with the

compliance option set forth in 40 C.F.R. § 61.342(e) (hereinafter referred to as the “6 BQ

Compliance Option”), for which, in accordance with the Consent Decree, notice was provided on

September 14, 2012.

       78.     [Reserved]

       79.     One-Time Review and Verification of the Refinery’s TAB and Compliance with

the Benzene Waste NESHAP.

               a.          Phase One of the Review and Verification Process. By March 30, 2021,

Limetree Bay shall complete a review and verification of the Refinery TAB and its compliance

with the Benzene Waste NESHAP (Phase One Review and Verification). Limetree Bay’s review

and verification process shall include, but not be limited to:

                      i.          An identification of each waste stream that is required to be

               included in the Refinery’s TAB where these waste streams meet the definition of

               a waste under 40 C.F.R. § 61.341 (e.g., slop oil, tank water draws, spent caustic,

               spent caustic hydrocarbon layer, desalter rag layer dumps, desalter vessel process

               sampling points, other sample wastes, maintenance wastes, and turnaround



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               wastes);

                      ii.         A review and identification of the calculations and/or

               measurements used to determine the flows of each waste stream for the purpose

               of ensuring the accuracy of the annual waste quantity for each waste stream;

                     iii.         An identification of the benzene concentration in each waste

               stream, including sampling for benzene concentration at no less than 10 waste

               streams consistent with the requirements of 40 C.F.R. § 61.355(c)(1) and (3);

               provided, however, that previous analytical data or documented knowledge of

               waste streams may be used, 40 C.F.R. § 61.355(c)(2), for streams not sampled;

               and

                     iv.          An identification of any existing noncompliance with the

               requirements of Subpart FF.

By no later than sixty (60) Days following the completion of Phase One Review and

Verification, Limetree Bay shall submit a Benzene Waste NESHAP Compliance Review and

Verification report (“BWON Compliance Review and Verification Report”) that sets forth and

certifies the results of the Phase One Review and Verification, including but not limited to the

items identified in Subparagraphs (i) through (iv) of this Paragraph.

               b.           Phase Two of the Review and Verification Process. Based on EPA’s

review of the BWON Compliance Review and Verification Report(s), EPA may select up to 20

additional waste streams at the Refinery for sampling for benzene concentration. Limetree Bay

shall conduct the required sampling under representative conditions and submit the results to

EPA within sixty (60) Days of receipt of EPA’s request. Limetree Bay shall use the results of

this additional sampling to recalculate the TAB and the uncontrolled benzene quantity and to



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amend the BWON Compliance Review and Verification Report, as needed. To the extent that

EPA requires Limetree Bay to re-sample any waste stream sampled by Limetree Bay on or after

June 10, 2019, Limetree Bay may average the results of such sampling events. Limetree Bay

shall submit an amended BWON Compliance Review and Verification Report within ninety (90)

Days following the date of the submittal of the required Phase Two sampling report, if Phase

Two sampling is required by EPA.

       80.     Implementation of Actions Necessary to Correct Non-Compliance or to Come

Into Compliance.

               a.      [Reserved]

               b.      Submittal of Compliance Plan. If the results of the BWON Compliance

Review and Verification Report identify any compliance issues, Limetree Bay shall submit to

EPA and the VIDPNR by no later than 180 Days after completion of the BWON Compliance

Review and Verification Report, a plan that identifies with specificity a schedule that Limetree

Bay will implement to ensure that the Refinery complies with the 6 BQ Compliance Option, as

soon as practicable.

               c.      Review and Approval of Plans Submitted Pursuant to Subparagraph 80.b.

Any plan submitted pursuant to Subparagraph 80.b, shall be subject to approval, disapproval or

modification by EPA. Within sixty (60) Days after receiving any notification of disapproval or

request for modification from EPA, Limetree Bay shall submit to EPA and the VIDPNR a

revised plan that responds to all identified deficiencies. Upon receipt of approval or approval

with conditions, or if no approval, disapproval, or approval with conditions is provided by EPA,

Limetree Bay shall implement the plan according to the schedule provided in the plan. Disputes




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arising under this Subparagraph shall be resolved in accordance with the dispute resolution

provisions of Part XVI (Retention of Jurisdiction/Dispute Resolution).

               d.      Certification of Compliance with the 6 Mg Compliance Option. By no

later than thirty (30) Days after completion of the implementation of all actions, if any, required

pursuant to Subparagraphs 80.b or 80.c to come into compliance with the 6 BQ Compliance

Option, Limetree Bay shall submit a report to EPA and the VIDPNR certifying that the Refinery

complies with the Benzene Waste NESHAP.

       81.     Carbon Canisters and Individual Drain System Vents. Limetree Bay shall

continue to operate the three-tier system for control of vents associated with the Subpart FF

wastewater collection system. Vent controls are identified as either Type I (a single flow

indicator “breather valve”), Type II (“breather valve” connected to a single carbon canister), or

Type III (dual carbon canisters). All closed vent piping associated with these vent control

systems will be monitored in accordance with the provisions associated with 40 C.F.R. § 61.349.

Limetree Bay shall comply with the following:

               a.      All Type I vents with flow indicators (40 C.F.R. § 61.346(b)) shall be

       visually inspected for flow on a daily schedule. Flow shall be indicated if the flow

       indicator on the breather valve has lifted. Any “breather valve” determined to relieve six

       or more times in any consecutive two-month period will be converted to a Type II control

       system. Installation of the carbon canister required by conversion to the Type II control

       shall be completed within two weeks. Daily visual inspection of the Type I control

       system will continue until conversion to a Type II control is completed.

               b.      All Type II vent control systems (“breather valve” connected to a single

carbon canister) shall be visually inspected on a daily schedule.



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                       i.     If the “breather valve” is determined not to have relieved, no

               additional monitoring is required. Secondly, if the “breather valve” is visually

               inspected and determined to have relieved, then the discharge opening of the

               carbon canister will be immediately monitored for benzene. If the benzene

               concentration of carbon canister discharge is determined to be less than 5 ppm, no

               additional actions are required. If the benzene concentration of the carbon

               canister discharge is determined to be equal to or greater than 5 ppm, the carbon

               canister will be replaced by the end of the next Day.

                       ii.    For any Type II vent control system, if carbon canister replacement

               is required two or more times in any four consecutive week period the control

               system will be converted to a Type III system. Installation of the dual carbon

               canister system required by conversion to the Type III control shall be completed

               within two weeks. Daily inspection and monitoring (if required) of the Type II

               control system will continue until conversion to a Type III control is completed.

               c.      All Type III vent control systems will be operated in the manner described

in Subparagraphs c.i through c.vii.

                       i.     Except as expressly permitted under Subparagraph c.v, Limetree

               Bay shall not use single carbon canisters for any new process units or installations

               that require controls pursuant to the Benzene Waste NESHAP.

                       ii.    For dual carbon canister systems, “breakthrough” between the

               primary and secondary canister is defined as any reading equal to or greater than 5

               ppm benzene.

                       iii.   Limetree Bay shall monitor for breakthrough between the primary



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           and secondary carbon canisters in accordance with the frequency specified in 40

           C.F.R. § 61.354(d), or monthly, whichever is more frequent. This requirement

           shall commence within seven (7) Days after installation of a new, dual carbon

           canister system.

                   iv.     Limetree Bay shall replace the original primary carbon canisters

           immediately when breakthrough is detected between the primary and secondary

           canister. The original secondary carbon canister will become the new primary

           carbon canister and a fresh carbon canister will become the secondary canister, or

           both canisters may be replaced. For purposes of this Subparagraph,

           “immediately” shall mean by the end of the next calendar Day.

                   v.      Temporary Applications. Limetree Bay may utilize properly sized

           single canisters for short-term operations such as with temporary storage tanks or

           as temporary control devices. For canisters operated as part of a single canister

           system, breakthrough is defined for purposes of this Consent Decree as any

           reading of benzene above 5 ppm. Limetree Bay shall monitor for breakthrough

           from single carbon canisters each calendar day. Limetree Bay shall replace the

           single carbon canister with a fresh carbon canister, discontinue flow, or route the

           stream to an alternate, appropriate device immediately when breakthrough is

           detected. For this Subparagraph, “immediately” shall mean by the end of the next

           Day. If Limetree Bay discontinues flow to the single carbon canister or routes the

           stream to an alternate, appropriate control device, such canister must be replaced

           before it is returned to service.

                   vi.     Limetree Bay shall maintain a readily available supply of fresh



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               carbon canisters at all times or otherwise ensure that such canisters are readily

               available to implement the requirements of this Paragraph.

                      vii.    Limetree Bay shall maintain records associated with the

               requirements of this Paragraph in accordance with or as under 40 C.F.R.

               § 61.356(j)(10), including the monitoring readings observed and the constituents

               being monitored.

       82.     Laboratory Audits. All laboratories that perform analyses of Limetree Bay’s

Benzene Waste NESHAP samples shall be audited to ensure that proper analytical and quality

assurance/quality control procedures are followed for such samples. For purposes of this

Paragraph, audits can include audits conducted by parties other than Limetree Bay.

               a.     Prior to conducting its Phase One Review and Verification process set

forth in Subparagraph 79.a, audits shall be completed of all laboratories used to perform analyses

of Benzene Waste NESHAP samples to ensure that proper analytical and quality

assurance/quality control procedures are followed. In addition, an audit shall be conducted of

any laboratory used for analyses of benzene samples prior to such use.

               b.     Subsequent laboratory audits shall be conducted for each laboratory

continuing to perform analyses of Limetree Bay’s Benzene Waste NESHAP samples, such that

each laboratory is audited every two (2) years for the life of the Consent Decree.

       83.     Annual Program. After the Date of Lodging of the First Modification, Limetree

Bay shall continue to use the facility’s written management of change procedures to review

process information and construction projects, to ensure that all new benzene waste streams are

included in Limetree Bay’s waste stream inventory.




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       84.     Training.   Limetree Bay shall implement the following training program at the

Refinery:

               a.      By June 1, 2020 and thereafter within ninety (90) Days from the

installation of any new type of benzene control equipment, Limetree Bay shall update the

facility’s standard operating procedures (“SOPs”) for all control equipment used to comply with

the Benzene Waste NESHAP.

               b.      By June 1, 2020, Limetree Bay shall update the facility’s BWON training

program pursuant to the criteria in Appendix E (“Limetree Bay’s LDAR and BWON Training

Program Summary”) and submit the updated training program to EPA.

               c.      Limetree Bay shall continue to provide an annual (i.e., once each calendar

year) training program for employees (which shall include contract employees for purposes of

this Paragraph) asked to draw benzene waste samples as specified in 40 C.F.R. § 61.355. Such

employees shall be trained prior to collecting samples and receive training annually.

               d.      Limetree Bay shall continue to perform “refresher” training every three (3)

years on the procedures in Subparagraph 84.a for all employees assigned to operate control

equipment.

       85.     Waste/Slop/Off-Spec Oil Management.

               a.      Control Status of and Plan to Quantify Uncontrolled Waste/Slop/Off-Spec

Oil Streams. By June 1, 2020, Limetree Bay shall submit to EPA and the VIDPNR any revisions

to the facility’s “Waste/Slop/Off-Spec Oil Management Plan,” submitted by HOVENSA in June

2012 for quantifying waste/slop/off-spec oil movements for all benzene waste streams which are

not controlled at the Refinery, along with schematics that: (i) depict the waste management units

(including sewers) that handle, store, and transfer waste/slop/off-spec oil streams; (ii) identify the



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control status of each waste management unit; and (iii) show how such oil is transferred.

Representatives from Limetree Bay and EPA thereafter may confer about the appropriate

characterization of the waste/slop/off-spec oil streams as benzene waste streams and the

necessary controls, if any, for the waste management units handling such oil streams for

purposes of the Refinery’s TAB calculation and/or compliance with the 6 BQ Compliance

Option. If requested by EPA, Limetree Bay shall promptly submit revised schematics that reflect

the Parties’ agreements regarding the characterization of these oil streams and the appropriate

control standards. Limetree Bay shall use these plans and schematics in preparing the end-of-

line sampling plans required under Paragraph 87.

               b.      Aqueous Benzene Waste Streams. For purposes of calculating the TAB

pursuant to the requirements of 40 C.F.R. § 61.342(a), Limetree Bay shall include all

waste/slop/off-spec oil streams that become “aqueous” until such streams are recycled to a

process or put into a process feed tank (unless the tank is used primarily for the storage of

wastes). Appropriate adjustments shall be made to such calculations to avoid the double

counting of benzene. For purposes of complying with the 6 BQ Compliance Option, all waste

management units handling aqueous benzene waste streams shall either meet the applicable

control standards of Subpart FF or shall have their uncontrolled benzene quantity count towards

the applicable 6 Mg limit.

       86.     Benzene Waste Operations Sampling Plans: General. By June 1, 2020, Limetree

Bay shall update the Benzene Waste Operations Sampling Plan that HOVENSA submitted in

June 2012, designed to describe the sampling of benzene waste streams that Limetree Bay will

utilize to estimate quarterly and annual uncontrolled benzene quantities under the 6 BQ




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Compliance Option. Limetree Bay shall continue to comply with the June 2012 Benzene Waste

Operations Sampling Plan until the updated plan is submitted.

       87.     Benzene Waste Operations Sampling Plans: Content Requirements. The

sampling plan shall include, but need not be limited to:

               a.     Annual sampling of all uncontrolled waste streams that count toward the

6 Mg/yr calculation and contain greater than 0.05 Mg/yr of benzene at the point of generation.

               b.     [Reserved]

               c.     The proposed End-of-Line (EOL) sampling locations and methods for

flow calculations to be used in calculating projected quarterly and annual uncontrolled benzene

quantity calculations under the terms of Paragraph 90. Based on the current configuration of the

Refinery's wastewater system, overflows from API separators 1, 2, and 3 are the only “routine”

wastewater benzene streams not controlled in accordance with Subpart FF. Therefore, sampling

of the three API overflow streams will constitute the individual EOL locations.

       88.     Benzene Waste Operations Sampling Plans: Timing for Implementation.

Limetree Bay will implement the updated plan unless and until (a) EPA disapproves the plan, or

(b) Limetree Bay modifies the plan under Paragraph 89.

       89.     Benzene Waste Operations Sampling Plans: Modifications.

               a.     Changes in Processes, Operations, or Other Factors. If changes in

processes, operations, or other factors lead Limetree Bay to conclude that the sampling plan may

no longer provide an accurate basis for estimating the Refinery's quarterly or annual uncontrolled

benzene quantity under Paragraph 90, then by no later than ninety (90) Days after Limetree Bay

determines that the plan no longer provides an accurate measure, Limetree Bay will submit to

EPA and the VIDPNR a revised plan for EPA approval. In the first full Calendar Quarter after



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submitting the revised plan, Limetree Bay will implement the revised plan. Limetree Bay will

continue to implement the revised plan unless and until EPA disapproves the revised plan.

               b.      Requests for Modifications to the Sampling Frequency. After two (2)

years of implementing a sampling plan, Limetree Bay may submit a request to EPA for approval,

with a copy to the VIDPNR, to reduce the facility's sampling frequency. Limetree Bay may

implement the modified sampling frequency 90 days after submission unless EPA disapproves

the modification.

       90.     Quarterly and Annual Estimations of Uncontrolled Benzene Quantities. At the

end of each Calendar Quarter and based on sampling results and approved flow calculations,

Limetree Bay will calculate a quarterly and projected annual uncontrolled benzene quantity.

       91.     In making the calculations required by Paragraph 90, Limetree Bay will use the

average of the samples collected at each sampling location in accordance with the Benzene

Waste Operations Sampling Plan. If these calculations do not identify any potential violations of

the benzene waste operations NESHAP, Limetree Bay will submit these calculations in the

reports due under this Section V.P.

       92.     Corrective Measures: Basis. If the quarterly uncontrolled benzene calculations,

required pursuant to Paragraph 90, exceeds 1.5Mg and/or the estimated annual uncontrolled

benzene quantities equal or exceed 6 Mg for the then current compliance year, then by no later

than sixty (60) Days after the end of the Calendar Quarter, Limetree Bay will submit a

compliance assurance plan to EPA for approval, with a copy to the VIDPNR. In that compliance

assurance plan, Limetree Bay will identify the quantity and cause(s) of the potentially-elevated

benzene quantities, all corrective actions that Limetree Bay has taken or plans to take to ensure

that the cause(s) will not recur, and either the schedule of actions that Limetree Bay will take to



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ensure that the Refinery complies with the Benzene Waste Operations NESHAP for the calendar

compliance year or an explanation that Limetree Bay will be able to meet the annual limit

without taking corrective action. Limetree Bay will implement the plan unless and until EPA

disapproves, in which case Limetree Bay shall address EPA’s comments.

       93.    Miscellaneous Measures.

              a.      As of the Date of Lodging, Limetree Bay shall:

                      i.     Conduct monthly visual inspections of and, if appropriate, refill all

              water traps used to comply with Subpart FF within the Refinery's individual drain

              systems;

                      ii.    Ensure that all segregated stormwater drains are marked at the

              drain (color coding may be used);

                      iii.   Conduct monitoring of existing API Separators 1, 2, and 3 or any

              new Subpart FF-regulated oil/water separators as outlined below:

                             (1)     Conduct semi-annual seal gap measurements on all

                      secondary seals on all floating roof portions in accordance with 40 C.F.R.

                      § 60.693-2.

                             (2)     The fixed roof portions of all Subpart FF regulated

                      oil/water separators shall be monitored on a quarterly basis if Method 21

                      monitoring conducted pursuant 40 C.F.R. § 61.355(h) determine a leak

                      rate of greater than one (1) percent. Monitoring of the fixed roof portion

                      of all Subpart FF required oil/water separators will be conducted annually

                      if Method 21 monitoring conducted pursuant to 40 C.F.R. § 61.355(h)

                      determine a leak rate of one (1) percent or less.



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                              (3)     A current listing, as of Date of Lodging, of all Method 21

                       monitoring locations for API Separators 1, 2, and 3 is attached in

                       Appendix F (“Method 21 Monitoring Locations for API Separators 1, 2,

                       and 3”). When modifications to the API separators occur, Limetree Bay

                       shall update and maintain a current listing of all monitoring locations for

                       API Separators l, 2, and 3.

       94.      Record Keeping and Reporting Requirements for this Section V.P Outside of the

Reports Required under 40 C.F.R. § 61.357 or under the Progress Report Procedures of Part X

(Reporting and Recordkeeping). At the times specified in the applicable provisions of this

Section V.P, Limetree Bay will submit, as and to the extent required, the following reports to

EPA and the VIDPNR:

       a.       BWON Compliance Review and Verification Report (Subparagraph 79.a), as

amended, if necessary (Subparagraph 79.b);

       b.       Compliance assurance plan, if necessary (Paragraph 92);

       c.       Compliance certification, if necessary (Subparagraph 80.d);

       d.       Schematics of waste/slop/off-spec oil movements (Subparagraph 85.a), as revised,

if necessary; and

       e.       Sampling Plans (Paragraph 86), and revised Sampling Plans, if necessary

(Subparagraph 89.a).

28.    Paragraph 99 is revised by changing June 30, 2011 to December 31, 2012.

29.    Replace Section V.R, Leak Detection and Repair (“LDAR”) Program with the

following new Section V.R, LDAR Program.

R.          Leak Detection and Repair (“LDAR”) Program.



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       100.    Introduction. In order to minimize or eliminate fugitive emissions of volatile

organic compounds (“VOCs”), benzene, volatile hazardous air pollutants (“VHAPs”), and

organic hazardous air pollutants (“HAPs”) from equipment in light liquid and/or in gas/vapor

service, Limetree Bay shall comply with the leak detection and repair (“LDAR”) requirements of

this Section V.R. The terms “in light liquid service” and “in gas/vapor service” shall have the

definitions set forth in the applicable provisions of 40 C.F.R. Part 60, Subpart VVa and GGGa.

       101.    No later than the Date of Lodging of the First Modification, the group of all

equipment within each process unit (as “equipment” and “process unit” are defined by 40 C.F.R.

§ 60.591a) and each compressor shall become affected facilities under 40 C.F.R. Part 60, Subpart

GGGa, and shall become subject to and comply with the requirements of 40 C.F.R. Part 60,

Subpart GGGa, and the requirements of this Section V.R.

       102.    Duration. The requirements of this Section V.R shall remain in effect through

May 1, 2025, or termination of the Consent Decree, whichever is later.

       103.    Written Refinery-Wide LDAR Program. No later than three (3) months after the

Date of Entry of the First Modification, Limetree Bay shall update and thereafter maintain its

written refinery-wide program for compliance with applicable LDAR Regulations and the LDAR

requirements of this Consent Decree, which shall include:

               a.     Procedures to identify all equipment in light liquid and/or in gas/vapor

service that is subject to the LDAR Regulations and has the potential to leak VOCs, HAPs,

VHAPs, and benzene within process units;

               b.     Procedures for identifying leaking equipment within process units;

               c.     Procedures for repairing and keeping track of leaking equipment; and




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               d.     Procedures for identifying and including in the LDAR program new

equipment.

Limetree Bay shall submit to EPA a copy of the written refinery-wide LDAR program updated

pursuant to this Paragraph in the next semi-annual report following the development of the

program, and review annually and update as needed.

       104.    [Reserved]

       105.    Training. Limetree Bay shall implement the following training programs at the

Refinery:

               a.     Within six (6) months from the Date of Entry of the First Modification,

update the LDAR training program pursuant to the criteria in Appendix E (“Limetree Bay’s

LDAR and BWON Training Program Summary”) and submit it to EPA;

               b.     From and after the Date of Entry of the First Modification, Limetree Bay

shall continue to provide LDAR training to existing personnel assigned to LDAR responsibilities

(including but not limited to monitoring, recordkeeping, reporting, or data management). For

newly hired personnel with LDAR program responsibilities, provide LDAR training prior to the

personnel beginning work. All employees assigned to LDAR responsibilities shall receive

training annually.

               c.     For other Refinery operations and maintenance personnel whose duties

include limited LDAR responsibilities, continue to provide training developed pursuant to the

criteria in Appendix E (“Limetree Bay’s LDAR and BWON Training Program Summary”) that

includes instruction on those aspects of LDAR relevant to the person’s duties. This training shall

be provided every three (3) years until termination of this Consent Decree. For newly hired




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operations and maintenance personnel, such training shall be provided within six (6) months of

hiring; and

               d.     If contractors are used to fulfill the requirements of this Section V.R,

Limetree Bay shall require that such contractors be trained as required by this Paragraph, and

Limetree Bay shall maintain records of such training.

       106.    LDAR Audits. Limetree Bay shall continue to implement the refinery-wide

audits set forth in this Paragraph, to ensure the Refinery’s compliance with all applicable LDAR

Regulations and the LDAR requirements of this Consent Decree. The LDAR audits shall

include but shall not be limited to, comparative monitoring, records review to ensure monitoring

and repairs were completed in the required periods, field reviews to ensure all regulated

equipment is included in the LDAR program, a review to ensure records and reports have been

maintained and submitted as required, and observation of the LDAR technicians’ calibration and

monitoring techniques. During the LDAR audits, leak rates shall be calculated for each process

unit where comparative monitoring was performed.

               a.     Initial Compliance Audit. By not later than 270 Days after the Date of

Lodging of the First Modification, Limetree Bay shall complete a refinery-wide third-party audit

of its compliance with the LDAR Regulations and the requirements of applicable Sections of the

Consent Decree, which includes, at a minimum, each of the audit requirements set forth in this

Paragraph other than comparative monitoring. For purposes of this requirement, “third party”

may include a qualified contractor, consultant, industry group, or trade association. Within thirty

(30) Days of receipt of the completed audit, Limetree Bay shall submit its Initial Compliance

Audit Report to EPA and the VIDPNR that sets forth any areas of non-compliance identified as a

result of its audit and includes a proposed compliance schedule for correcting the non-



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compliance. If the proposed compliance schedule extends greater than sixty (60) Days beyond

the audit completion date, Limetree Bay must seek approval of the compliance schedule from

EPA. Limetree Bay shall implement the compliance schedule as proposed until the schedule is

approved or disapproved by EPA. Upon receipt of any disapproval from EPA, Limetree Bay

shall correct the non-compliance pursuant to the schedule that EPA proposed, or, if EPA did not

so specify, as expeditiously as practicable. Within one (1) year of Date of Entry of the First

Modification, Limetree Bay shall certify to EPA that the Refinery:

                       i.          Is in compliance;

                     ii.           Has completed related corrective action and/or is on a compliance

               schedule (if necessary); and

                    iii.           Shall specifically certify that all existing equipment has been

               identified and included in the facility LDAR program, to the extent required by

               applicable regulations and the Consent Decree, as of the date such certification is

               made.

               b.           Subsequent Audits. Limetree Bay shall conduct an audit of its LDAR

program compliance with applicable LDAR Regulations and the requirements under this Section

V.R, at least once every two (2) years after the initial compliance audit required by Subparagraph

106.a, in the same Calendar Quarter. Limetree Bay shall retain a contractor with expertise in the

LDAR Program’s requirements and familiarity with Certified Low-Leaking Valve and/or

Certified Low-Leaking Valve Packing Technology to perform the first subsequent audit (“Third-

Party LDAR Audit”). Thereafter, Limetree Bay shall alternate performance of the audit between

Limetree Bay personnel familiar with the LDAR Program’s requirements or contractors with




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expertise in the LDAR Program’s requirements (“Internal Audit”) and a Third-Party LDAR

Audit.

          107.   Implementation of Actions Necessary to Correct Non-Compliance. If the results

of any of the audits conducted pursuant to this Section V.R identify any area(s) of non-

compliance, Limetree Bay shall implement, as soon as practicable, all appropriate steps

necessary to correct the area(s) of non-compliance and to prevent a recurrence of the cause of the

non-compliance, to the extent practicable. For purposes of this Paragraph, if a ratio of the

process-unit valve leak percentage established through a comparative monitoring audit

conducted pursuant to Paragraph 106, and the average valve leak percentage reported for the

process unit for the last four (4) monitoring periods preceding the audit, is equal to or greater

than 3.0, and provided the auditor identified at least three (3) leaking valves in the process unit, it

shall be deemed an area of non-compliance and cause for corrective action. If the calculated

ratio yields an infinite result, Limetree Bay shall assume one (1) leaking valve was found in the

process unit through its routine monitoring during the four (4) monitoring periods. In the Semi-

Annual LDAR Report submitted pursuant to the provisions of Paragraph 123 covering the period

when an audit was conducted, Limetree Bay shall submit the results of the audit, and shall certify

to EPA that the audit has been completed and that the Refinery is in compliance or on a

compliance schedule.

          108.   Retention of Audit Reports. Until termination of the Consent Decree, Limetree

Bay shall retain the audit reports generated pursuant to this Section V.R and shall maintain a

written record of the corrective actions taken in response to any deficiencies identified in any

audits.




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       109.    Leak Definition for Valves and Pumps. Limetree Bay shall utilize the leak

definitions for valves as defined at 40 C.F.R. § 60.482-7a(b) and pumps in light liquid and/or

gas/vapor service as defined at 40.C.F.R. § 60.482-2a(b)(1)(ii), unless a lower leak definition is

established under applicable permit(s) or other applicable LDAR Regulations from the Date of

Lodging of the First Modification.

       110.    [Reserved]

       111.    [Reserved]

       112.    Limetree Bay Valve Preventative Leak Maintenance Program. Within thirty (30)

Days after the Date of Lodging of the First Modification, Limetree Bay shall implement the

Valve Preventative Leak Maintenance Program (the “Valve Preventative Leak Maintenance

Program” or “the program”) set forth in this Paragraph 112 to replace and/or improve the

emissions performance of valves subject to this Section V.R (“Covered Equipment Valve”).

               a.      Definitions. The following definitions apply to this Paragraph 112:

                       i.     “Extension,” for the purposes of Subparagraph 112.a.iii(1)(B) and

               112.a.iii(2)(B) shall mean that: (i) the tested and untested valves were produced

               by the same manufacturer to the same or essentially equivalent quality

               requirements; (ii) the characteristics of the valve that affect sealing performance

               (e.g., type of valve, stem motion, tolerances, surface finishes, loading

               arrangement, and stem and body seal material, design, and construction) are the

               same or essentially equivalent as between the tested valve and the untested valve;

               and (iii) the temperature and pressure ratings of the tested valve are at least as

               high as the temperature and pressure ratings of the untested valve.




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                   ii.       “Low Emissions Packing” or “Low-E Packing” shall mean either

           (1) or (2) as follows:

                             (1)    A valve packing product, independent of any specific

                   valve, for which the manufacturer has issued a written warranty that the

                   packing will not emit fugitives at greater than 100 ppm, and that, if it does

                   so emit at any time in the first five years, the manufacturer will replace the

                   product; provided however, that no packing product shall qualify as “Low-

                   E” by reason of written warranty unless the packing first was tested by the

                   manufacturer or a qualified testing firm pursuant to generally accepted

                   good engineering practices for testing fugitive emissions and the results of

                   the testing reasonably support the warranty; or

                             (2)    A valve packing product, independent of any specific

                   valve, that has been tested by the manufacturer or a qualified testing firm

                   pursuant to generally accepted good engineering practices for testing

                   fugitive emissions, and that, during the test, at no time leaked at greater

                   than 500 ppm, and on average, leaked at less than 100 ppm.

                   iii.      “Low Emissions Valve” or “Low E Valve” shall mean either (1) or

           (2) as follows:

                             (1)    A valve (including its specific packing assembly) for which

                   the manufacturer has issued a written warranty that it will not emit

                   fugitives at greater than 100 ppm, and that, if it does so emit at any time in

                   the first five years, the manufacturer will replace the valve; provided




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                     however, that no valve shall qualify as “Low E” by reason of written

                     warranty unless the valve (including its specific packing assembly) either:

                                     (A)     first was tested by the manufacturer or a qualified

                             testing firm pursuant to generally accepted good engineering

                             practices for testing fugitive emissions and the results of the testing

                             reasonably support the warranty; or

                                     (B)     is an Extension of another valve that qualified as

                             “Low E” under Subparagraph 112.a.iii.

                             (2)     A valve (including its specific packing assembly) that:

                                     (A)     Has been tested by the manufacturer or a qualified

                             testing firm pursuant to generally accepted good engineering

                             practices for testing fugitive emissions and that, during the test, at

                             no time leaked at greater than 500 ppm, and on average, leaked at

                             less than 100 ppm; or

                                     (B)     Is an Extension of another valve that qualified as

                             “Low E” under Subparagraph 112.a.iii.

                     iv.     “Maintenance Shutdown” shall mean a Shutdown of a process unit

              that lasts longer than thirty (30) Days.

              b.     Procedures Required to be Implemented. Under the Valve Preventative

Leak Maintenance Program, Limetree Bay shall implement the following procedures:

                     i.      By no later than thirty (30) Days after the Date of Lodging of the

              First Modification, Limetree Bay shall implement modified purchasing

              procedures that evaluate the availability of valves and/or valve packing that meet



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           the requirements for a Low-E Valve or Low-E Packing at the time that the valves

           and/or valve packing is acquired.

                  ii.     Except as provided in Subparagraph 112.c, by no later than thirty

           (30) Days after the Date of Lodging of the First Modification, Limetree Bay shall

           install valve packing material that meets the requirements for Low-E Packing

           whenever repacking any Covered Equipment Valve.

                  iii.    Except as provided in Subparagraph 112.c, by no later than ninety

           (90) Days after the Date of Lodging of the First Modification, Limetree Bay shall

           ensure that each new valve that would qualify as a Covered Equipment Valve that

           it installs is a Low-E Valve or is fitted with Low-E Packing. Newly installed

           sampling and instrumentation valves in service on piping with a diameter of 5/8

           inches or less are not required to be Low-E Valves or be fitted with Low-E

           Packing.

                  iv.     Replacement and Repacking of Leaker Valves. Except as provided

           in Subparagraph 112.c, by not later than five months after Restart, for each

           Covered Equipment Valve for which the highest emission level that is recorded

           during monitoring in compliance with Method 21 is at or above 2000 ppm during

           any two monitoring events (excluding repair verification monitoring) in any 60-

           month period following the Date of Lodging of the First Modification, Limetree

           Bay shall replace or repack such valve with a Low-E Valve or with Low-E

           Packing. If a valve is repacked or replaced according to this Subparagraph, there

           shall be a period of 15 days after it is repacked or replaced, where this

           Subparagraph 112.b.iv shall not apply, to allow for adjustment of the valve. The



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           timing of replacement or repacking under this Subparagraph 112.b.iv shall be in

           accordance with Subparagraph 112.d.

           c.     Unavailability of a Low-E Valve or Low-E Packing

                  i.      Commercial Unavailability. Limetree Bay shall not be required to

           utilize a Low-E Valve or Low-E Packing to replace or repack a valve if a Low-E

           Valve or Low-E Packing is commercially unavailable in accordance with the

           provisions in Appendix M (“Process and Factors For ‘Commercial Unavailability’

           of Low-E Valve or Packing”). Prior to claiming this commercial unavailability

           exemption, Limetree Bay must contact a reasonable number of vendors of valves

           and obtain a written representation or equivalent documentation from each vendor

           that the particular valve that Limetree Bay needs is commercially unavailable

           either as a Low-E Valve or with Low-E Packing. In the semi-annual report

           required under Part X (Reporting and Recordkeeping), Limetree Bay shall: (i)

           identify each valve for which it could not comply with the requirement to replace

           or repack the valve with a Low-E Valve or Low-E Packing; (ii) identify the

           vendors it contacted to determine the unavailability of such a Low-E Valve or

           Low-E Packing; and (iii) include the written representations or documentation

           that Limetree Bay secured from each vendor regarding the unavailability.

                  ii.     Ongoing Assessment of Availability. Limetree Bay may use a prior

           determination of Commercial Unavailability of a valve or valve packing pursuant

           to this Paragraph and Appendix M for a subsequent Commercial Unavailability

           claim for the same valve or valve packing (or valve or valve packing in the same

           or similar service), provided that the previous determination was completed



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           within the preceding 12-month period. After one year, Limetree Bay must

           conduct a new assessment of the availability of a valve or valve packing meeting

           Low-E Valve or Low-E Packing requirements.

           d.     Timing of Valve Replacement/Improvement

                  i.      If Replacing or Repacking Does Not Require a Process Unit

           Shutdown. If replacing or repacking does not require a process unit Shutdown,

           Limetree Bay shall replace or repack such valve by no later than thirty (30) Days

           after the monitoring event that triggers the replacing or repacking requirement,

           unless Limetree Bay complies with the following:

                          (1)    Prior to the deadline, Limetree Bay must take all actions

                  necessary to obtain the required valve or valve packing, including all

                  necessary associated materials, as expeditiously as practical, and retain

                  documentation of the actions taken and the date of each such action.

                          (2)    If, despite Limetree Bay’s efforts to comply with

                  Subparagraph 112.d.i(1) the required valve or valve packing, including all

                  necessary associated materials, is not available in time to complete the

                  installation within thirty (30) Days, Limetree Bay must take all reasonable

                  actions to minimize emissions from the valve pending completion of the

                  required replacing or repacking. Examples include:

                                 (A)      Repair;

                                 (B)      More frequent monitoring, with additional repairs

                          as needed; or




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                                     (C)    Where practical, interim replacing or repacking of a

                             valve with a valve that is not a Low-E Valve or with packing that

                             is not Low-E Packing; and

                             (3)     Limetree Bay must promptly perform the required

                      replacing or repacking after Limetree Bay’s receipt of the valve or valve

                      packing, including all necessary associated materials.

                      ii.    If Replacing or Repacking Requires a Process Unit Shutdown. If

              replacing or repacking requires a process unit Shutdown, Limetree Bay shall

              replace or repack such valve during the first Maintenance Shutdown that follows

              the monitoring event that triggers the requirement to replace or repack the valve,

              unless Limetree Bay documents that insufficient time existed between the

              monitoring event and that Maintenance Shutdown to enable Limetree Bay to

              purchase and install the required valve or valve packing technology. In that case,

              Limetree Bay shall undertake the replacing or repacking at the next Maintenance

              Shutdown that occurs after Limetree Bay’s receipt of the valve or valve packing,

              including all necessary associated materials.

              e.      Records of Low-E Valves and Low-E Packing. Prior to purchasing any

Low-E Valves or Low-E Packing, Limetree Bay shall secure, from each manufacturer,

documentation that demonstrates that the proposed valve or packing technology meets the

definition of “Low-E Valve” and/or “Low-E Packing.” Limetree Bay shall retain that

documentation for five (5) years and make it available upon request.

              f.      Valve Replacement/Improvement Report. In each semi-annual report due

under Part X (Reporting and Recordkeeping), Limetree Bay shall include a separate section in



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the report that: (i) describes the actions it took to comply with this Paragraph 112, including

identifying each valve that was replaced or upgraded; and (ii) identifies the schedule for any

future valve replacements or upgrades required as part of Subparagraph 112.d.

       113.    LDAR Monitoring Frequency. By no later than the Date of Entry of the First

Modification, for all Covered Equipment, except as provided in 40 C.F.R. § 60.482-1a(c)-(f),

Limetree Bay shall comply with the monitoring frequency for valves as required by 40 C.F.R.

§ 60.482-7a, 40 C.F.R. § 60.482-10a, and 40 C.F.R. § 60.483-2a and for pumps as required by 40

C.F.R. § 60.482-2a.

       114.    Electronic Storage of LDAR Data. On and after the Date of Lodging of the First

Modification, Limetree Bay shall record all LDAR monitoring and repair data in an electronic

database.

       115.    Electronic Monitoring and Reporting of LDAR Data. On and after the Date of

Lodging of the First Modification, Limetree Bay shall use dataloggers and/or electronic data

collection devices during LDAR monitoring. Limetree Bay or contractor(s) retained by Limetree

Bay shall use their best efforts to transfer each monitoring reading to the database within five (5)

Days of collecting the reading. For all monitoring events in which an electronic data collection

device is used, the collected monitoring data shall include a time and date stamp, screening

value, operator identification, and instrument identification. Limetree Bay may use paper logs

where necessary or more feasible (e.g., small rounds, remonitoring, or when dataloggers are not

available or broken), and shall record the identification of the technician undertaking the

monitoring, the date, time, screening value, and the identification of the monitoring equipment.

Limetree Bay shall transfer any manually recorded monitoring data to the electronic database

within seven (7) Days of monitoring.



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       116.   QA/QC of LDAR Data. By no later than ninety (90) Days after the Date of

Lodging of the First Modification, Limetree Bay shall develop and implement a procedure to

ensure a quality assurance/quality control (“QA/QC”) review of all data generated by each

LDAR monitoring technician. This QA/QC procedure shall require:

              a.      Monitoring technician(s) to review and certify the accuracy of the

monitoring data they collected each week; and

              b.      Non-monitoring personnel to review monitoring data quarterly, including

but not limited to, number of components monitored per technician, time between monitoring

events, and abnormal data patterns.

       117.   LDAR Personnel. By no later than the Date of Lodging of the First Modification,

Limetree Bay shall maintain the facility’s existing program which holds Limetree Bay LDAR

personnel accountable for LDAR performance. Limetree Bay shall maintain a position with

responsibility for LDAR management and with the authority to implement improvements.

       118.   Adding / Removing Valves and Pumps. On and after the Date of Lodging of the

First Modification, Limetree Bay shall continue to implement its tracking program for

maintenance records (e.g., a Management of Change program) to ensure that valves and pumps

subject to the LDAR Regulations and this Consent Decree, which are installed and placed into

VOC service, are integrated into the LDAR program.

       119.   Calibration. Limetree Bay shall conduct all calibrations of LDAR monitoring

equipment using methane as the calibration gas, in accordance with 40 C.F.R. Part 60, EPA

Reference Test Method 21.




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       120.    Calibration Drift Assessment. Within six calendar months of the Date of Lodging

of the First Modification, Limetree Bay shall conduct calibration drift assessments of LDAR

monitoring equipment pursuant to 40 C.F.R. § 60.485a(b)(2).

       121.    Extended Maintenance and Delay of Repair. Beginning no later than one (1) year

from Date of Lodging of the First Modification, Limetree Bay shall eliminate normal use of

delay of repair exemptions for equipment in VOC service (as defined in 40 C.F.R. § 60.481a)

under applicable regulations and the Consent Decree, and shall perform monitoring and

maintenance as follows: perform monitoring and “drill and tap” repairs according to

Subparagraphs 121.a and b, and perform extended maintenance to attempt to stop the leak source

as outlined under Subparagraph 121.c. If Limetree Bay, after having implemented one or more

of the extended maintenance leak repair techniques identified in Subparagraph 121.c, cannot

repair the leak, Limetree Bay may delay repair of the leak until the next process unit Shutdown.

Extended maintenance shall not be required where any of the following is the case: (i) for the

period beginning no later than one (1) year from the Date of Lodging of the First Modification

through five (5) years of the Date of Entry of the First Modification, the number of valves on the

delay of repair list does not exceed 0.1 percent refinery-wide upon determination of delay of

repair; and for the period beginning no later than five (5) years of the Date of Entry of the First

Modification, the number of valves on the delay of repair list does not exceed 0.05 percent

refinery-wide upon determination of delay of repair; or (ii) the feasible extended maintenance

techniques listed in Subparagraph 121.c would result in a Shutdown of a process unit or create an

unsafe operating condition. Limetree Bay shall report the circumstances (why it was required,

what was actually performed, whether it was successful) of all leaks attempted to be repaired

under Subparagraph 121.c in semi-annual reports required under Paragraph 71.



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               a.          For all equipment:

                      i.          Require sign-off by the plant manager, a corporate official

               responsible for environmental management and compliance, a corporate official

               responsible for plant engineering, an operations manager, an area superintendent,

               or an area manager or designee by the 15th day after identification of the leak that

               the equipment cannot be removed from VOC service and is technically infeasible

               to repair without implementation of extended maintenance as set forth in

               Subparagraph 121.c; and

                     ii.          Monitor monthly equipment on the “delay of repair” list which

               remains in VOC service.

               b.          For valves: For valves, other than control valves and pressure relief

valves, require use of “drill and tap” or similarly effective repairs, unless the valve can be

repaired by other means or Limetree Bay can demonstrate that there is a safety, mechanical, or

adverse environmental concern posed by attempting to repair the leak in this manner. Limetree

Bay shall perform multiple “drill and tap” attempts (or similarly effective repairs) within fifteen

(15) Days of identification of the leak, if necessary, to repair the valve.

               c.          If the repair methods undertaken pursuant to Subparagraph 121.b have not

stopped the source of the leak, Limetree Bay shall, within sixty (60) Days of identifying the leak,

perform at least one extended maintenance attempt to stop the leak source, including building an

enclosure for the equipment which meets ‘no detectable emissions’ standards under NSPS

Subpart VV, line-stopping (i.e., inserting a plugging device inside the line so the contents can

temporarily be held back while maintenance is performed on-line), hot-tapping (i.e., connecting a

new piping service to an existing line with no interruption of flow), or pipe-freezing (i.e., holding



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back system pressure in a section of piping using freeze chambers which are installed over a

short section of piping and injected with liquid nitrogen or CO2). Limetree Bay shall report the

circumstances (why it was required, what was actually performed, was it successful) of all leaks

attempted to be repaired or exempt from repair under this Subparagraph in semi-annual reports

required under Part X (Reporting and Recordkeeping). If Limetree Bay applies a different

extended repair technique than those listed in this Subparagraph, Limetree Bay shall report such

technique under Paragraph 123 and explain how it is similarly effective at stopping the leak, and

shall specifically explain why this technique could not be applied within fifteen (15) Days of

identification of the leak.

         122.   Recordkeeping Requirements for this Section V.R. For at least two (2) years after

termination of this Consent Decree, Limetree Bay shall retain records to demonstrate its

compliance with the requirements of this Section V.R.

         123.   As part of the reports required under 40 C.F.R. §§ 60.487a and 63.655 (Semi-

Annual LDAR Report), Limetree Bay shall include the following information, at the following

times:

                a.          The next Semi-Annual LDAR Report after the applicable compliance date

for each requirement shall include notification of the following:

                       i.         Implementation of the “Valve Preventative Leak Maintenance

                Program” of Paragraph 112;

                      ii.         Implementation of QA/QC procedures for review of data generated

                by LDAR technicians as required by Paragraph 116;




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                    iii.          Development of a tracking program for new valves and pumps

              added during maintenance and construction (Management of Change Program) as

              required by Paragraph 118;

                    iv.           Implementation of the calibration and calibration drift assessment

              procedures of Paragraphs 119 and 120;

                     v.           Implementation of the “delay of repair” procedures of

              Paragraph 121;

                    vi.           Utilization of electronic data collection devices during LDAR

              monitoring, pursuant to the requirements of Paragraph 115;

                   vii.           [Reserved]; and

                   viii.          Implementation of the monitoring requirements of Paragraph 113.

              b.           Until termination of this Section V.R, each Semi-Annual LDAR Report

that Limetree Bay submits shall include:

                      i.          An identification of each audit, if any, that was conducted pursuant

              to the requirements of Paragraph 106 in the previous semi-annual period. For

              each audit identified, the report shall include an identification of the auditors, a

              summary of the audit results, and a summary of the actions that Limetree Bay

              took or intends to take to correct all deficiencies identified in the audits.

                     ii.          Training. Information identifying the measures taken to comply

              with the provisions of Paragraph 105;

                    iii.          [Reserved]; and

                    iv.           Monitoring. The following information on LDAR monitoring:




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                           (1)   A list of the process units monitored during the reporting

                 period;

                           (2)   The number of valves and pumps present in each monitored

                 process unit;

                           (3)   The number of valves and pumps monitored in each

                 process unit and if less than the number in (2), include an explanation as to

                 why;

                           (4)   The number of valves and pumps found leaking in each

                 process unit during the period, and the valve leak percentage for each

                 process unit;

                           (5)   The number of “difficult to monitor” pieces of equipment

                 monitored;

                           (6)   The projected month of the next monitoring event for that

                 unit;

                           (7)   A list of all equipment currently on the “delay of repair”

                 list, the date each component was placed on the list, the date each such

                 component was determined to be leaking above applicable leak

                 definitions, the circumstances of any extended maintenance repairs under

                 Subparagraph 121.c, the associated monitoring results for each piece of

                 equipment, and whether such activities were completed in a timely

                 manner;

                           (8)   [Reserved];




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                               (9)      The number of valves not repacked or replaced and

                       recorded as required under Paragraph 112;

                               (10)     The number of valves which were newly installed without

                       appropriate packing or valve technology, as required under Paragraph 112;

                       and

                               (11)     The number of missed or untimely repairs under

                       Paragraph 111.

30.    Replace Part VI, Permitting with the following new Part VI, Permitting.

       124.    Obtaining Permit Limits for Consent Decree Emission Limits That Are Effective

On or Before the Date of Entry of the First Modification. Except as set forth below, by no later

than 180 Days after the Date of Entry of the First Modification, Limetree Bay shall submit

applications, amendments and/or supplements to the relevant permitting authority to incorporate

the surviving Consent Decree obligations identified in Appendix O (“Requirements That Shall

Survive Termination of the Consent Decree”) that are effective on or before the Date of Entry of

the First Modification into federally enforceable minor or major new source review permits or

other permits (other than Title V permits) or provisions (e.g., SIP) that are federally enforceable.

Upon issuance of such permits or in conjunction with such permitting, Limetree Bay shall file all

applications necessary to incorporate the requirements of those permits into the Title V permit

for the Refinery.

       125.    Obtaining Permit Limits For Consent Decree Emission Limits That Become

Effective After Date of Entry of the First Modification. Except as set forth below, as soon as

practicable, but in no event later than 180 Days after the effective date or establishment of any

surviving Consent Decree obligations identified in Appendix O, other than those effective on or



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before the Date of Entry of the First Modification, Limetree Bay shall submit applications,

amendments and/or supplements to the relevant permitting authority to incorporate those

emission limits and standards into federally enforceable minor or major new source review

permits, or other permits (other than Title V permits) or provisions (e.g., SIP) that are federally

enforceable. Upon issuance of such permit or in conjunction with such permitting, Limetree Bay

shall file all applications necessary to incorporate the requirements of those permits into the

Title V permit for the Refinery.

       126.    Mechanism for Title V Incorporation. The Parties agree that the incorporation of

any surviving Consent Decree obligations into the Title V permit for the Refinery as required by

Paragraphs 124 and 125 shall be in accordance with the applicable territorial Title V rules.

       127.    Construction Permits. Limetree Bay agrees to obtain all required, federally

enforceable permits for the construction of the pollution control technology and/or the

installation of equipment necessary to implement the requirements of the Consent Decree.

       127A. Obligations That Shall Survive Consent Decree Termination. The requirements

imposed by the provisions identified in Appendix O shall survive termination of the Consent

Decree under Part XIX (Termination).

               a.      Emission Limits and Standards. The requirements identified in Appendix

O shall constitute emission limits and standards that shall survive termination of the Consent

Decree by virtue of being incorporated into non-Title V federally enforceable minor or major

permits or being required under a federally enforceable rule as required by Paragraphs 124 and

125.

               b.      Optional Review of Draft Permit Application for Consistency with

Consent Decree.



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                  i.      By not later than 180 days prior to the date for submission of any

           permit application(s) to incorporate surviving emission limits and standards

           identified in this Paragraph 127A and Appendix O into federally-enforceable

           minor or major new source review permits or other permits (and, upon issuance of

           such permits or in conjunction with such permitting, into Title V permits)

           Limetree Bay may, following the procedures in Paragraph 225 (Notices), submit

           for EPA and VIDPNR review and comment a draft of the permit application(s)

           containing the terms, conditions and other provisions to incorporate such

           surviving obligations. EPA’s review and comment is intended to assist efforts to

           submit permit application(s) to the relevant permitting entity that fully incorporate

           such surviving obligations; EPA does not warrant or guarantee by its review and

           comment on a draft permit application that Limetree Bay has met or will

           thereafter meet the requirement of Paragraph 234.e to show that, at the time of

           Termination of this Consent Decree, the final permit(s) once issued by the

           relevant permitting entity accurately and fully incorporate the surviving Consent

           Decree obligations. In addition, such review by EPA is not pre-decisional or

           binding upon the relevant permitting entity, which may at its discretion require

           additional and/or more stringent terms and conditions than those required under

           this Consent Decree.

                  ii.     If Limetree Bay elects to submit a draft permit application(s) for

           optional review under this Subparagraph, Limetree Bay shall have 30 days from

           the date of receipt of EPA’s comments in which to submit its permit

           application(s) to the relevant permitting entity(s), notwithstanding the deadline for



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               submission of permit applications under Paragraph 124 or Paragraph 125, as

               applicable. The Parties may agree to a longer time period for submission of the

               permit application(s) to the relevant permitting entity(s) if needed to address

               questions or issues concerning EPA’s review.

31.    Replace Subparagraph 130.b with the following new Subparagraph 130.b:

       b.      CD Emissions Reductions may be used only at the Refinery.

32.    Add the following new Paragraph 135A:

       135A. For Boilers 5, 8, and 9, which became subject to NSPS Subpart D pursuant to

Paragraph 135, entry of the First Modification of the Consent Decree shall satisfy the notice

requirements of 40 C.F.R. § 60.7(a).

33.    Replace Paragraph 136 with the following new Paragraph 136:

       136.    NSPS Subparts A and GG.

               a.      Power Line-Up. Limetree Bay submitted its “power line-up” to the United

States and the Virgin Islands on December 31, 2018. The power line-up identified Generating

Turbines that Limetree Bay plans to operate when Idled Units at the Refinery resume operation

and the normal operating range at which they are expected to operate. By December 31, 2019,

Limetree Bay shall re-submit its power line-up to the United States and the Virgin Islands if

there are any changes from the December 31, 2018 submission.

               b.      Applicability and Compliance with NSPS Subparts A and GG:

Generating Turbines 4, 7, 8, and 9 are “affected facilities” as that term is defined in 40 C.F.R.

Part 60, Subparts A and GG.




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                  i.     Generating Turbine 9. Generating Turbine 9 shall continue to

           comply with the requirements of NSPS Subparts A and GG. Paragraph 229A and

           Appendix L shall apply to Generating Turbine 9.

                  ii.     Generating Turbines 4, 7, and 8

                                (1)     From the Date of Lodging of the First Modification

                         until Limetree Bay demonstrates compliance with NSPS Subparts

                         A and GG in accordance with Subparagraph 136.b.ii(2),

                         Generating Turbines 4, 7, and 8 shall comply with the

                         requirements of NSPS Subparts A and GG, except that in lieu of

                         complying with the NSPS Subpart GG numerical standard for

                         NOx, the Generating Turbines shall comply with the applicable

                         Maximum Load Limits set forth in Subparagraph 136.d.ii.

                                (2)     By no later than December 31, 2020, Generating

                         Turbines 4, 7, and 8 shall demonstrate compliance with all

                         requirements of NSPS Subparts A and GG. Compliance with the

                         applicable NSPS Subpart GG numerical standard for NOx, shall be

                         demonstrated (a) by CEMS or a stack test performed using the test

                         methods specified in 40 C.F.R. § 60.335 and § 60.8, and at four

                         different load points, including one load point within 5 percent at

                         90-to-100 percent of the manufacturer’s design capacity, or at the

                         highest achievable load point if Limetree Bay can demonstrate that

                         a load point within 5 percent at 90-to-100 percent of design




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                                capacity cannot be physically achieved in practice, or (b) by an

                                alternate test method specifically approved by EPA in writing.

              c.         Custom Sulfur Monitoring Plan:

                    i.          Pursuant to 40 C.F.R. § 60.334(i)(3), Limetree Bay submitted a

              custom sulfur monitoring schedule to EPA on August 31, 2017 for propane and

              distillate. The custom sulfur monitoring schedule may be revised in accordance

              with 40 C.F.R. § 60.334(i)(3). Limetree Bay shall comply with any proposed

              custom sulfur monitoring schedule as submitted unless EPA disapproves. If EPA

              disapproves of a custom schedule, then within thirty (30) Days of Limetree Bay’s

              receipt of disapproval, Limetree Bay will submit to EPA a revised custom

              schedule that provides for compliance with the applicable monitoring

              requirements, which may include additional or different monitoring. Limetree

              Bay shall comply with the revised custom schedule as submitted unless EPA

              disapproves.

              d.         Maximum Load Limits for Generating Turbines 4, 7, and 8 until

Subparagraph 136.b.ii(2) compliance demonstration:

                    i.          Interim Controls

              Limetree Bay has installed LHE Combustion Liner Systems on GTs 7 and 8,

              which will not be removed any earlier than the date Limetree Bay installs and

              operates alternative NOx controls, or is replaced at or before end of life. Limetree

              Bay shall demonstrate compliance with the NSPS, Subparts A and GG numerical

              standard for NOx, as required in Subparagraph 136.b.ii.(2), within sixty Days after

              it begins operations with alternative NOx controls.



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                 ii.           Applicability of Maximum Load Limits

           From the Date of Lodging of the First Modification until Limetree Bay

           demonstrates full compliance with NSPS Subparts A and GG, as required in

           Subparagraph 136.b.ii.(2), Generating Turbines 4, 7, and 8 shall comply with the

           applicable Maximum Load Limits as set forth in Subparagraphs 136.d.iii through

           136.d.iv.

                iii.           Maximum Load Limits. From the Date of Lodging of the First

           Modification until a subsequent Maximum Load Limit is established in

           accordance with Subparagraph 136.d.iv, the following fuel and load limits are the

           applicable Maximum Load Limits for Generating Turbines 4, 7, and 8:

                        Turbine                   Fuel                   Maximum Load (1-hour
                                                                         block average)
                        GT-4                      Propane Gas            6.67 MW
                                                  Fuel Oil               6.49 MW
                                                  Fuel Gas               6.49 MW
                        GT-7                      Propane Gas            14.53 MW
                                                  Fuel Oil               12.97 MW
                                                  Fuel Gas               12.97 MW
                        GT-8                      Propane Gas            12.14 MW
                                                  Fuel Oil               11.09 MW
                                                  Fuel Gas               11.09 MW



                       iv.     Subsequent Maximum Load Limits.

                               (1)    Limetree Bay may establish subsequent Maximum Load

                       Limits for Generating Turbine 4, 7, or 8 or combust other fuels, provided

                       it establishes those limits by conducting testing, in accordance with



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                 Subparagraph 136.d.iv(2) – (5) below. Such testing may be conducted

                 prior to and/or after the Date of Lodging of the First Modification.

                           (2)   Limetree Bay shall use the test methods specified in 40

                 C.F.R. § 60.335 and § 60.8 to measure NOx emissions from the

                 Generating Turbine to establish subsequent Maximum Load Limits,

                 except that for the purpose of conducting the stack test required by this

                 Subparagraph 136.d.iv(2), Limetree Bay shall not be required to test at 90-

                 to-100 percent of design capacity, as one of its four load points.

                           (3)   Limetree Bay shall provide notice to EPA and the VIDPNR

                 no later than thirty (30) Days prior to any stack test of Generating

                 Turbines 4, 7, and 8 conducted to establish subsequent Maximum Load

                 Limits.

                           (4)   No later than thirty (30) Days after conducting tests to

                 establish subsequent Maximum Load Limits, Limetree Bay shall provide

                 the results of such testing to EPA and the VIDPNR.

                           (5)   From the Day that Limetree Bay satisfactorily completes a

                 test conducted pursuant to this Subparagraph 136.d.iv, the applicable

                 Maximum Load Limit shall be the maximum MW load, measured in a

                 single run, on a 1-hour block average, at which the stack test results

                 demonstrate that a specific fuel will result in emissions that will not

                 exceed the NSPS Subparts GG NOx numerical standard in 40 C.F.R. §

                 60.332(a)(2), and Limetree Bay shall operate at or below this subsequent

                 Maximum Load Limit.



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              e.      Recordkeeping. From the Date of Lodging of the First Modification until

compliance is demonstrated in accordance with Subparagraph 136.b.ii(2), Limetree Bay shall

maintain a record of the operating MW load, measured on a 1-hour block average, for

Generating Turbines 4, 7, and 8. Limetree Bay shall make these records available to EPA and

the VIDPNR upon request.

              f.      Notice. If Generating Turbines 4, 7, or 8 exceed the applicable Maximum

Load Limit set forth in Subparagraph 136.d.iii or established in accordance with Subparagraph

136.d.iv, Limetree Bay shall within seven (7) Days of the exceedance provide notice to the EPA

and the VIDPNR.

              g.      Stipulated Penalties.

                      i.         Generating Turbines 4, 7, and 8 – Failure to Comply with

              Maximum Load Limit. Limetree Bay shall be subject to a stipulated penalty of

              $250 for every hour that Limetree Bay operates Generating Turbine 4, 7, or 8 at a

              MW load more than ten (10) percent higher than the applicable Maximum Load

              Limit set forth in Subparagraph 136.d.iii or established in accordance with

              Subparagraph 136.d.iv, except that stipulated penalties for exceedances of a

              Maximum Load Limit do not apply during a performance test for which Limetree

              Bay provided notice to EPA pursuant to Subparagraph 136.d.iv(3).

              ii.     Generating Turbines 4, 7, 8, and 9 – Failure to Comply with NSPS

                      Subpart GG by Compliance Date. Limetree Bay shall be subject to the

                      following stipulated penalties for failure to comply with NSPS Subpart

                      GG following the compliance dates set forth in Paragraphs 136.b.i and

                      b.ii(2):



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               Period of Non-Compliance                      Penalty Per Day Per Turbine
               1st Day through 30th Day after deadline       $200
               31st through 60th Day after deadline          $500
               Beyond 60th Day after deadline                $1,000

34.    Add the following new Paragraph 136A:

       136A. For Generating Turbines 4, 7 and 8, which became subject to NSPS Subpart GG

pursuant to Paragraph 136, entry of the First Modification of the Consent Decree and compliance

with the relevant monitoring and compliance demonstration requirements of this Consent Decree

shall satisfy the notice requirements of 40 C.F.R. § 60.7(a) and the initial performance test

requirement of 40 C.F.R. § 60.8(a).

35.    Replace Section IX.A with the following new Section IX.A:

IX.A. Territorial Supplemental Environmental Project

       137.   Virgin Islands Territorial SEP

               a.      The VIDPNR shall develop and ensure implementation of

Territorial Supplemental Environmental Projects (“TSEP”) designed to benefit the people of the

Virgin Islands. These projects shall be consistent with environmental, public health, pollution

prevention or reduction, or other benefits and objectives of the environmental protection laws of

the United States and the Virgin Islands. Among the potential projects, the VIDPNR is

developing TSEPs for the establishment of a cancer registry and the establishment of a pediatric

environmental specialty health unit.

               b.      Within thirty (30) Days of a written request by the VIDPNR to the ERT

for funding, the ERT shall provide for the disbursal of such funds from the TSEP Escrow

Account, as directed by the VIDPNR, for the purpose of implementing the identified TSEP.

               c.      All funds disbursed pursuant to this Paragraph shall be paid directly by the

ERT to the TSEP provider(s) identified by the VIDPNR.

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               d.      In annual reports, due the thirty-first Day of January, the ERT shall

identify the amount remaining in the TSEP Escrow Account at the end of the reporting period,

and the amount disbursed and to whom it was disbursed during the reporting period.

               e.      At the time the Court orders this Consent Decree to be terminated, the

ERT shall disburse any remaining monies in the TSEP Escrow Account to the VIDPNR for

development and implementation of projects that are consistent with the TSEP criteria set forth

in this Paragraph.

       138.    [Reserved]

       139.    [Reserved]

       140.    [Reserved]

36.    Replace Section IX.B with the following new Section IX.B:

B.     Additional Work

       140A. VIWAPA Emissions Monitoring Assistance Subsequent to the First Modification

               a.      Prior to the disbursal of funds to VIWAPA, the ERT shall submit to EPA

for EPA’s review: (i) its contractor’s detailed description of the assistance provided, including

expenditures, certified as accurate by a responsible VIWAPA company official; and (ii) its

contractor’s statement indicating what monies expended by VIWAPA are consistent with the

Consent Decree and the approved SOW.

               b.      Within thirty (30) Days of receipt by the ERT of the statement by its

contractor referenced in Subparagraph a. above, the ERT shall reimburse VIWAPA from funds

earmarked for the VIWAPA Emissions Monitoring Assistance Program in accordance with the

statement.

               c.      The ERT shall not itself perform, participate (physically or otherwise) in



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performing, or assume responsibility for, any work, tasks, or functions that relate to the

VIWAPA Assistance Program or that VIWAPA is legally obligated to perform or performs in

the ordinary course of its business.

37.    Replace Section IX.C with the following new Section IX.C:

C.     Public Statements

       141.    [Reserved]

38.    Add the following sentence to Paragraph 142:

For BWON and LDAR Equipment, Limetree Bay shall maintain: (1) a database that identifies

BWON or LDAR Equipment that is not In Regulated Service and BWON or LDAR Equipment

that is In Regulated Service; (2) a database of any change in status of BWON or LDAR

Equipment and the date of such change; and (3) records documenting information reported

pursuant to Subparagraphs 143.a.v(3) through 143.a.v(4).

39.    Replace Subparagraphs a.iv and a.v of Paragraph 143 with the following new

Subparagraphs a.iv and a.v:

                       iv.     A summary of Limetree Bay’s compliance with Paragraph 136,

               including a description of any exceedances of any Maximum Load Limit set forth

               in Subparagraph 136.d.iii or as the result of any test conducted pursuant to

               Subparagraph 136.d.iv(2).

                       v.      Any such additional matters relevant to the obligations of this

               Consent Decree, including, but not limited to, the following:

                               (1)     A list of In Service Units, Idled Units, and any change(s) in

                       the status of In Service Units or Idled Units from the prior semi-annual

                       reporting period;



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                                 (2)     Identification of any Idled Unit that is operated for any

                          period prior to Restart, along with the hours, duration, and purpose of such

                          operation, except that this requirement shall not apply to units after they

                          have been Restarted;

                                 (3)     A list by area or process unit of BWON and LDAR

                          Equipment that is currently In Regulated Service; and

                                 (4)     A list by area or process unit identifying any changes in

                          status of Equipment In Regulated Service from the prior semi-annual

                          reporting period.

40.       Replace Subparagraph 143.b.iii with the following new Subparagraph 143.b.iii:

          143.b.iii.      SO2 emissions in tons per year for each SRP and SO2 and Reduced Sulfur

Compounds (RSC) emissions in tons per year for each SRP using a Beavon unit as a control

device.

41.       Replace Paragraph 162 with the following new Paragraph 162:

          162.     For failure to comply with applicable NSPS Subparts A and Ja requirements, at

the flares listed on Appendix D (“List of Flaring Devices Subject to NSPS Subpart Ja”) after the

deadlines for compliance in Paragraphs 49, per Flaring Device:

          Period of Non-Compliance                       Penalty per Day
          1st through 30th Day after deadline            $500
          31st through 60th Day after deadline           $1,500
          Beyond 60th Day after deadline                 $2,000


42.       Insert new Paragraphs 162A, 162B and 162C:

          162A. For failure to install flare gas recovery system(s), if required by Subparagraphs

50B.a, 50B.b, or 50B.c:



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        Period of Non-compliance                     Penalty per Day
        1st through 30th day after deadline          $1,200
        31st through 60th day after deadline         $2,500
        Beyond 60th day after deadline               $5,000, or an amount equal to 1.2 times
                                                     the economic benefit of non-
                                                     compliance, whichever is greater

       162B. For failure to monitor emissions or flow rate as required by Paragraphs 50A,

50C.a, and 50D, and for failure to maintain records and reports as required by Subparagraphs

50C.b and 50C.c:

         Period of Non-compliance                    Penalty per Day
         1st through 30th day after deadline         $500
         31st through 60th day after deadline        $1000
         Beyond 60th day after deadline              $2,500, or an amount equal to 1.2 times
                                                     the economic benefit of non-
                                                     compliance, whichever is greater

       162C. For failure to mitigate emissions, if required by Paragraph 50A and Appendix P

(“Flaring Mitigation Projects”):

         Period of Non-compliance                    Penalty per Day
         1st through 30th day after deadline         $1000
         31st through 60th day after deadline        $2500
         Beyond 60th day after deadline              $5,000, or an amount equal to 1.2 times
                                                     the economic benefit of non-
                                                     compliance, whichever is greater
43.    In Paragraph 163, change the Subpart NSPS references “NSPS Subparts J/Ja” to

“NSPS Subpart Ja”.

44.    Replace Subparagraph 165.e with the following new Subparagraph 165.e:

               e.     Failure to implement the requirements of Paragraph 112 (Valve Preventive




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Maintenance Program):

                        i.          For failure to install a Low-E Valve or a valve fitted with Low-E

               Packing when required to do so pursuant to Subparagraph 112.b.ii or 112.b.iii:

               $300 per valve.

                     ii.            For failure to install a Low-E Valve or a valve fitted with Low-E

               Packing when required to do so pursuant to Subparagraph 112.b.iv: $10,000 per

               valve.

                    iii.            For each failure to record information as required pursuant to

               Subparagraphs 112.c, 112.e, and 112.f: $100 per valve.

45.    Replace Paragraph 167 with the following new Paragraph 167:

       167.    [Reserved]

46.    Add the following new Paragraph 178A to Part XII (Stipulated Penalties):

       178A. Limetree Bay shall not be liable for any stipulated penalties for non-compliance

with Consent Decree requirements where:

               a.            the non-compliance began and ended on or prior to January 4, 2016, or

               b.            the non-compliance began prior to January 4, 2016 and continued on or

after January 4, 2016 for a failure by HOVENSA to timely and fully comply with a submission,

notice, recordkeeping, or reporting requirement under the Consent Decree, or

               c.            the non-compliance began prior to the Date of Lodging of the First

Modification and the Consent Decree requirement was changed, deleted, replaced, or the

deadline extended by the First Modification and Limetree Bay complies with the changed,

deleted, replaced, or extended requirement or deadline. Limetree Bay will be liable for

stipulated penalties, if it fails to comply with the changed, replaced, or extended Consent Decree



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requirement or deadline.

Except as set forth in Subparagraph 178A.b or 178A.c, where non-compliance occurred and/or

continued on/or after January 4, 2016, regardless of when the non-compliance began, Limetree

Bay shall be responsible for stipulated penalties for such continuing non-compliance but only for

the time period on/or after January 4, 2016.

47.    Replace Part XVII with the following new Part XVII:

                                        XVII. EFFECT OF SETTLEMENT

       199.    Definitions. For purposes of this Part XVII (Effect of Settlement), the following

definitions apply:

               a.           “Applicable NSR/PSD Requirements” shall mean:

                       i.         PSD requirements at Part C of Subchapter I of the Act, 42 U.S.C.

               § 7475, and the regulations promulgated thereunder at 40 C.F.R. §§ 52.21 and

               51.166; and the portions of the applicable SIP and related rules adopted as

               required by 40 C.F.R. §§ 51.165 and 51.166;

                      ii.         Any Title V regulations that implement, adopt, or incorporate the

               specific regulatory requirements identified above; any applicable federally-

               enforceable territorial regulations that implement, adopt, or incorporate the

               specific federal regulatory requirements identified above; any Title V permit

               provisions that implement, adopt, or incorporate the specific regulatory

               requirements identified above; and

                     iii.         Any applicable territorial laws or regulations that implement,

               adopt, or incorporate the specific federal regulatory requirements identified above




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               regardless of whether such laws or regulations have been formally approved by

               EPA as part of the applicable State Implementation Plan.

               b.     “Applicable NSPS Subparts A and J Requirements” shall mean the

standards, monitoring, testing, reporting, and recordkeeping requirements found at 40 C.F.R.

§§ 60.100 through 60.109 (Subpart J) relating to a particular pollutant and a particular affected

facility, and the corollary general requirements found at 40 C.F.R. §§ 60.1 through 60.19

(Subpart A) that are applicable to any affected facility covered by Subpart J. This term shall

also include the requirements of 12 VIRR Section 204-45, “Standards of Performance for Sulfur

Recovery Units at Petroleum Refineries.”

               c.     “Applicable NSPS Subparts A and Ja Requirements” shall mean the

standards, monitoring, testing, reporting, and recordkeeping requirements found at 40 C.F.R.

§ 60.100a through 60.109a (Subpart Ja) relating to a particular pollutant and a particular affected

facility, and the corollary general requirements found at 40 C.F.R. §§ 60.1 through 60.19

(Subpart A) that are applicable to any affected facility covered by Subpart Ja.

               d.     “Applicable NSPS Subparts A and D Requirements” shall mean the

standards, monitoring, testing, reporting, and recordkeeping requirements found at 40 C.F.R.

§§ 60.40 through 60.46 (Subpart D) relating to a particular pollutant and a particular affected

facility, and the corollary general requirements found at 40 C.F.R. §§ 60.1 through 60.19

(Subpart A) that are applicable to any affected facility covered by Subpart D.

               e.     “Applicable NSPS Subparts A and GG Requirements” shall mean the

standards, monitoring, testing, reporting, and recordkeeping requirements found at 40 C.F.R.

§§ 60.330 through 60.335 (Subpart GG) relating to a particular pollutant and a particular affected




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facility, and the corollary general requirements found at 40 C.F.R. §§ 60.1 through 60.19

(Subpart A) that are applicable to any affected facility covered by Subpart GG.

               f.      “Applicable NSPS Subparts A and QQQ Requirements” shall mean the

standards, monitoring, testing, reporting, and recordkeeping requirements found at 40 C.F.R.

§§ 60.690 through 60.699 (Subpart QQQ) relating to a particular pollutant and a particular

affected facility, and the corollary general requirements found at 40 C.F.R. §§ 60.1 through

60.19 (Subpart A) that are applicable to any affected facility covered by Subpart QQQ.

               g.      “Benzene Waste NESHAP Requirements” shall mean the requirements

imposed by the National Emission Standard for Benzene Waste Operations, 40 C.F.R. Part 61,

Subpart FF, and any applicable territorial regulations that implement, adopt or incorporate the

Benzene Waste NESHAP.

               h.      “Delayed Coker Unit Project” or “Coker Project” shall mean the

equipment that was newly constructed or modified between August 19, 1999 and May 8, 2002 as

follows: Coker Unit process equipment and associated gas plant, process heaters, H-8501 and H-

8502, Boiler No. 10, No. 7 Amine, No. 6 Sour Water Stripper, sour water tank, pitch storage

tank, desalter effluent water tank, coke cutting water tank, coke pit, Nos. 1 and 2 Sulfur

Recovery Plants and associated No. 1 Beavon, the process equipment located in the No. 5 Crude,

No. 3 Vacuum, No. 3 Crude, No. 1 Vacuum, No. 1 Visbreaker, and Numbers. 2, 4, 6, and 7

Distillate Desulfurizing Units, and outside battery limit modifications to the terminal, tank farm

and blending equipment.

               i.      “Limetree Bay” shall include Limetree Bay Terminals, LLC, Limetree

Bay Refining, LLC, and except with respect to Paragraph 206, HOVENSA.

               j.      “LDAR Requirements” shall mean the requirements relating to equipment



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in light liquid service and gas/vapor service set forth at 40 C.F.R. Part 60, Subparts, VV, VVa,

GGG and GGGa; 40 C.F.R. Part 61, Subparts J and V; and 40 C.F.R. Part 63, Subparts F, H, and

CC; and any applicable territorial regulations or State Implementation Plan requirements that

implement, adopt or incorporate those federal regulations or set similar standards.

         k.      “Post-Lodging Compliance Dates” shall mean any dates in this Part XVII (Effect

of Settlement) after the Date of Lodging. Post-Lodging Compliance Dates include dates certain

(e.g., “December 31, 2019”), dates after Lodging represented in terms of “months after Lodging”

(e.g., “12 months after the Date of Lodging” or “12 months after Date of Lodging of the First

Modification”), and dates after the Date of Lodging represented by actions taken (e.g., “comply

with”). The Post-Lodging Compliance Dates represent the dates by which work is required to be

completed or an emission limit is required to be met under the applicable provisions of the

Consent Decree.

         200.    Liability Resolution Regarding the Applicable NSR/PSD Requirements. With

respect to emissions of the following pollutants from the following units, entry of the Consent

Decree resolves all civil liability of Limetree Bay to the United States and the Virgin Islands: (1)

for violations of the Applicable NSR/PSD Requirements resulting from the construction or

modification of the following units that occurred prior to the Date of Lodging, and that

commenced and ceased prior to the Date of Lodging; and (2) for any violations of the Applicable

NSR/PSD Requirements resulting from pre-Date of Lodging construction or modification of the

following units, that commenced prior to the Date of Lodging and continued up to the following

dates:

                Unit                      Pollutant       Date

                FCCU                      NOx             Date of Entry of the
                                                          Consent Decree

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                                         SO2             Date of Entry of the
                                                         Consent Decree
                                         PM              Date of Entry of the
                                                         Consent Decree

               Heaters, boilers,         NOx             December 31, 2019
               Generating Turbines,
               and Compressor Engines    SO2             Date of Entry of the
                                                         Consent Decree

               Coker Project             H2S             December 31, 2012

The limits for VOC, CO, H2S, NOx, SO2, PM, PM-10, and PM2.5 contained in VIDPNR Permit

STX-557A-E-02 for the Coker Project were intended to limit the emissions of these pollutants

for purposes of avoiding permitting pursuant to 40 C.F.R. § 52.21. Section VIII.A establishes

injunctive relief to resolve EPA’s September 18, 2007 NOV, CAA-02-2007-1313, issued to

HOVENSA. Limetree Bay may seek relaxation of the emissions limits in Permit

STX-557A-E 02 and STX-557-I-00 pertaining to VOC, CO, H2S, NOX, SO2, PM-10, PM, and

PM2.5, or Reduced Sulfur Compounds upon compliance with the interim limit for the Coker

Steam Vents as specified in Subparagraph 132.a and with the interim limit for Beavon Unit #1 as

specified in Appendix H (“Additional Coker Project Injunctive Relief”), and all other injunctive

relief specified in Appendix H. Such relaxations will not be deemed to constitute a major

modification to the Refinery within the meaning of 40 C.F.R. § 52.21(r)(4) and the requirements

of Subparagraphs (j) through (s) of 40 C.F.R. § 52.21 shall not apply by virtue of such

relaxations.

        201.    Conditional Resolution of Liability for CO Emissions Under the Applicable

NSR/PSD Requirements. With respect to emissions of CO from the FCCU, if and when

Limetree Bay accepts an emissions limit pursuant to Paragraph 19 of the Consent Decree and

demonstrates compliance using CEMS at the FCCU, then any civil liability of Limetree Bay to



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the United States and the Virgin Islands shall be resolved for violations of the Applicable

NSR/PSD Requirements relating to CO emissions at the FCCU resulting from pre-Date of

Lodging construction or modification of the FCCU that either ceased prior to the Date of

Lodging or continued up to the date on which Limetree Bay demonstrates compliance with such

CO emissions limit.

           202.   Reservation of Rights Regarding Applicable NSR/PSD Requirements: Release

for Violations Continuing After the Date of Lodging Can Be Rendered Void. Notwithstanding

the resolution of liability in Paragraphs 200 and 201, the releases of liability by the United States

and the Virgin Islands to Limetree Bay for violations of the Applicable NSR/PSD Requirements

during the period between the Date of Lodging and the Post- Lodging Compliance Dates shall be

rendered void if Limetree Bay materially fails to comply with the corresponding obligations and

requirements of Part V (Affirmative Relief/Environmental Projects), Sections V.A through V.E

(relating to the FCCU), Sections V.F through V.H (relating to heaters, boilers, Generating

Turbines and Compressor Engines), and Part VIII (Additional Injunctive Relief); provided,

however, that the releases in Paragraphs 200 and 201 shall not be rendered void if Limetree Bay

remedies such material failure and pays any stipulated penalties due as a result of such material

failure.

           203.   Exclusions from Release Coverage Regarding Applicable NSR/PSD

Requirements in the Consent Decree: Construction and/or Modification Not Covered.

Notwithstanding the resolution of liability in Paragraphs 200 and 201, nothing in the Consent

Decree precludes the United States or the Virgin Islands from seeking injunctive relief, penalties,

or other appropriate relief from Limetree Bay for violations by Limetree Bay of the Applicable

NSR/PSD Requirements resulting from: (i) construction or modification that commenced prior



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to the Date of Lodging, if the resulting violations relate to pollutants or units not covered by the

Consent Decree; or (ii) any construction or modification that commences after the Date of

Lodging.

       204.    Evaluation of Applicable NSR/PSD Requirements. Increases in emissions from

units covered by the Consent Decree, where the increases result from construction or

modification of any units within the Refinery, after January 4, 2016, are beyond the scope of the

release in Paragraphs 200 and 201, and Limetree Bay is not relieved from any obligation to

evaluate any such increases in accordance with the Applicable NSR/PSD Requirements.

       205.    Resolution of Liability Regarding Applicable NSPS Requirements. With respect

to emissions of the following pollutants from the following units, entry of the Consent Decree

resolves all civil liability of Limetree Bay to the United States and the Virgin Islands for

violations of the applicable NSPS Subparts, referenced in Paragraph 199.b through f, listed

below from the date that the claims of the United States and the Virgin Islands accrued up to the

specified Post-Lodging Compliance Date:




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 Unit                             Applicable         Pollutant       Date
                                  NSPS
                                  Subpart

 FCCU                             A and J            SO2, CO, and    Date of Lodging of the
                                                     PM              Consent Decree

                                                     PM (opacity     Date of AMP approval
                                                     monitoring      receipt (see Paragraph 22)
                                                     requirements)

 FCCU Turboexpander Vents         A and J            SO2, CO, PM     Date of Lodging of the
                                                     (opacity)       Consent Decree


 All fuel gas combustion          A, J, and Ja,      SO2             Dates listed in Appendix C
 devices listed in Appendix C     as                                 (“NSPS Subpart J or Ja
 (“NSPS Subpart J or Ja           applicable                         Compliance Schedule for
 Compliance Schedule for                                             Listed Fuel Gas Combustion
 Listed Fuel Gas Combustion                                          Devices (Other than Flaring
 Devices (Other than Flaring                                         Devices)”)
 Devices)”)

 Flaring Devices                  A, J, and Ja       SO2             Dates listed in Appendix D
                                                                     (“List of Flaring Devices
                                                                     Subject to NSPS Subpart
                                                                     Ja”)

 East Side SRP                    A, J and Ja        SO2 and TRS     April 1, 2015

 West Side SRP                    A, J and Ja        SO2 and TRS     December 31, 2011

 Generating Turbines 1-3 and 6    A and GG           NOx and SO2     Five (5) years from Date of
                                                                     Entry of the Consent Decree

 Generating Turbines 4, 7 and 8   A and GG           NOx and SO2     December 31, 2020


 Generating Turbine 5 and 9       A and GG           NOx and SO2     Date of Lodging of the First
                                                                     Modification

 Boilers 5, 8, and 9              A and D            NOx, SO2, and   July 31, 2012 (or 12/31/2015
                                                     PM              for Boiler 5 if replaced)

 The FCCU and Coker Drain         A and QQQ          VOC             December 31, 2012
 Systems


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       206.    Reservation of Rights Regarding Applicable NSPS Requirements: Release for

Violations Continuing After the Date of Lodging Can Be Rendered Void. Notwithstanding the

resolution of liability in Paragraph 205, the releases of liability by the United States and the

Virgin Islands to Limetree Bay for violations of the applicable NSPS Subparts listed in

Paragraph 205 shall be rendered void if Limetree Bay fails to comply with the obligations and

requirements of Parts V (Affirmative Relief/Environmental Projects), VI (Permitting) and VIII

(Additional Injunctive Relief) (relating to NSPS requirements); provided, however, that the

releases in Paragraph 205 shall not be rendered void if Limetree Bay remedies such failure and

pays any stipulated penalties due as a result of such failure.

       207.    Resolution of Liability for Coker Project. Entry of the Consent Decree resolves

all civil and administrative liability, commencing with the beginning of construction of the Coker

Project through completion of the injunctive relief required pursuant to Paragraphs 132 through

134, of Limetree Bay to the United States and Virgin Islands for the following:

               a.      EPA’s November 22, 2006 NOV, CAA-02-2007-1303, issued to

HOVENSA for alleged violations arising under HOVENSA’s Coker Operating Permit

STX-557A-E-02, and HOVENSA’s written notification dated January 9, 2008, to the Virgin

Islands of calculated exceedances on January 2, 2008, of Coker Process Heater (H-8501B) of PM

and VOC limits in the Coker Operating Permit;

               b.      The findings of violation in Paragraphs 49 through 55 of EPA’s

September 18, 2007 NOV, CAA-02-2007-1313, issued to HOVENSA, and any other violations

of the permitting regulations cited in Paragraphs 49 through 55 of the NOV with respect to the

Coker Project; and

               c.      EPA’s March 20, 2007 Compliance Order, CAA-02-2007-1004, as



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amended on April 5, 2007 by Compliance Order, CAA-02-2007-1004a, arising from

HOVENSA’s alleged failure to provide complete responses to EPA’s December 21, 2006

Information Request Letter, issued pursuant to § 114 of the Clean Air Act.

       208.      Resolution of Liability Regarding Benzene Waste NESHAP Requirements. Entry

of the First Modification of the Consent Decree resolves all civil liability of Limetree Bay to the

United States and the Virgin Islands for violations of the statutory and regulatory requirements

set forth below in Subparagraphs a - c that (i) commenced and ceased prior to the Date of Entry

of the First Modification, and/or (ii) commenced prior to the Date of Entry of the First

Modification and continued past the Date of Entry of the First Modification (including violations

discovered after the Date of Entry of the First Modification for BWON Equipment returned to In

Regulated Service on or after the Date of Entry of the First Modification), provided that the

events giving rise to such violations are identified by Limetree Bay in its BWON Compliance

Review and Verification Report submitted pursuant to Paragraph 79 and corrected by Limetree

Bay as required under Paragraph 80.

                 a.    Benzene Waste NESHAP. The National Emission Standard for Benzene

Waste Operations, 40 C.F.R. Part 61, Subpart FF, promulgated pursuant to Section 112(e) of the

Act, 42 U.S.C. § 7412(e), including any federal regulation that adopts or incorporates the

requirements of Subpart FF by express reference, but only to the extent of such adoption or

incorporation;

                 b.    Any applicable, federally-enforceable permits or territorial regulations that

implement, adopt, or incorporate the specific federal regulatory requirements identified in

Subparagraph a.

                 c.    Any applicable territorial regulations enforceable by the Virgin Islands



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that implement, adopt, or incorporate the specific federal regulatory requirements identified in

Subparagraph a.

       209.    Resolution of Liability Regarding LDAR Requirements. Entry of the First

Modification of the Consent Decree resolves all civil liability of Limetree Bay to the United

States and the Virgin Islands for violations of the statutory and regulatory requirements set forth

below in Subparagraphs a - c that (i) commenced and ceased prior to the Date of Entry of the

First Modification, and/or (ii) commenced prior to the Date of Entry of the First Modification

and continued past the Date of Entry of the First Modification (including violations discovered

after the Date of Entry of the First Modification for LDAR Equipment returned to In Regulated

Service on or after the Date of Entry of the First Modification), provided that the events giving

rise to such violations are identified by Limetree Bay in its Initial Compliance Audit Report

submitted pursuant to Subparagraph 106.a and corrected by Limetree Bay as required under

Paragraph 107:

               a.      LDAR Requirements. For all equipment in light liquid and gas and/or

vapor service, the LDAR requirements promulgated by EPA pursuant to Sections 111 and 112 of

the Clean Air Act and codified at 40 C.F.R. Part 60, Subparts VV, VVa, GGG and GGGa,

40 C.F.R. Part 61, Subparts J and V, and 40 C.F.R. Part 63, Subparts F, H, and CC;

               b.      Any applicable, federally-enforceable permits or territorial regulations that

implement, adopt, or incorporate the specific regulatory requirements identified in

Subparagraph a; and

               c.      Any applicable territorial regulations or permits enforceable by the Virgin

Islands that implement, adopt, or incorporate the specific regulatory requirements identified in

Subparagraph a.



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       210.    Reservation of Rights Regarding Benzene NESHAP and LDAR Requirements.

Notwithstanding the resolution of liability in Paragraphs 208 and 209, nothing in the Consent

Decree precludes the United States and/or the Virgin Islands from seeking from Limetree Bay

injunctive and/or other equitable relief or civil penalties for violations by Limetree Bay of

Benzene Waste NESHAP and/or LDAR requirements that (i) commenced and ceased prior to the

Date of Entry of the First Modification, and/or (ii) commenced prior to the Date of Entry of the

First Modification and continued after the Date of Entry of the First Modification (including

violations discovered after the Date of Entry of the First Modification for BWON and LDAR

Equipment returned to In Regulated Service on or after the Date of Entry of the First

Modification) if Limetree Bay fails to identify and address such violations as required by

Paragraphs 79, 80, 106.a, and 107.

       211.    Audit Policy. Nothing in the Consent Decree is intended to limit or disqualify

Limetree Bay, on the grounds that information was not discovered and supplied voluntarily, from

seeking to apply EPA’s Audit Policy to any violations or noncompliance that Limetree Bay

discovers during the course of any investigation, audit, or enhanced monitoring that Limetree

Bay is required to undertake pursuant to the Consent Decree.

       212.    Claim/Issue Preclusion. In any subsequent administrative or judicial proceeding

initiated by the United States or the Virgin Islands for injunctive relief, penalties, or other

appropriate relief relating to Limetree Bay violations of the PSD/NSR, NSPS, Benzene Waste

NESHAP, and/or LDAR requirements not identified in this Part XVII (Effect of Settlement):

               a.      Limetree Bay shall not assert, and may not maintain, in any subsequent

administrative, civil, or criminal action commenced by the United States or the Virgin Islands

any defense or claim based upon the principles of waiver, res judicata, collateral estoppel, issue



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preclusion, or claim-splitting. Nor may Limetree Bay assert or maintain any other defenses

based upon any contention that the claims raised by the United States or the Virgin Islands in the

subsequent proceeding should have been brought in the instant case. Nothing in the preceding

sentences is intended to affect the ability of Limetree Bay to assert that the claims are deemed

resolved by virtue of this Part XVII (Effect of Settlement).

               b.      Except as set forth in Subparagraph a, the United States and the Virgin

Islands may not assert or maintain that the Consent Decree constitutes a waiver or determination

of, or otherwise obviates, any claim or defense whatsoever, or that the Consent Decree

constitutes acceptance by Limetree Bay of any interpretation or guidance issued by EPA related

to the matters addressed in the Consent Decree.

       213.    Imminent and Substantial Endangerment. Nothing in the Consent Decree shall be

construed to limit the authority of the United States and the Virgin Islands to undertake any

action against any person, including Limetree Bay, to abate or correct conditions which may

present an imminent and substantial endangerment to the public health, welfare, or the

environment.

       213A. The resolution of liability in Paragraphs 200, 201, 205, 207, 208, and 209 of the

Consent Decree shall not be rendered void by the inability of an Idled Unit or BWON and LDAR

Equipment not In Regulated Service to demonstrate compliance with an applicable Consent

Decree requirement during the time that the Idled Unit was not operating or the BWON and

LDAR Equipment was not In Regulated Service, until the unit or equipment demonstrates

compliance as required by Paragraph 229A.b. In accordance with Paragraph 229A, Idled Units

and BWON and LDAR Equipment not In Regulated Service that comply with Subparagraph

229A.b, shall be considered in compliance with the Consent Decree for purposes of Section V.M



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(Stipulated Penalties Under This Section) and Part XII (Stipulated Penalties).

48.    Replace Paragraph 221 with the following new Paragraph 221.

       221.    Post-Lodging, Pre-Entry Obligations. Obligations of Limetree Bay under this

Consent Decree to perform duties after the Date of Lodging of the First Modification but prior to

the Date of Entry of the First Modification shall be legally enforceable only on or after the Date

of Entry of the First Modification. Liability for stipulated penalties, if applicable, shall accrue

for violations of such obligations, and the United States or the Virgin Islands may demand

payment as provided in the Decree, provided that stipulated penalties accruing between the Date

of Lodging of the First Modification and the Date of Entry of the First Modification may not be

collected unless and until the First Modification of the Consent Decree is entered by the Court.

49.    Replace Paragraph 225 with the following new Paragraph 225:

       225.    Notice. Unless otherwise provided herein, whenever notifications, submissions,

or communications are required by this Consent Decree, they shall be made in writing and

addressed as follows:

As to the United States, by email:

       Eescdcopy.enrd@usdoj.gov
       Re: DJ# 90-5-2-1-08229/1

As to the United States, by mail:

       EES Case Management Unit
       Environment and Natural Resources Division
       U.S. Department of Justice
       P.O. Box 7611
       Washington, DC 20044-7611
       DJ# 90-5-2-1-08229/1

As to EPA Headquarters, by mail:

       Director
       Air Enforcement Division


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       Office of Civil Enforcement (2242A)
       Office of Enforcement and Compliance Assurance
       U.S. Environmental Protection Agency
       1200 Pennsylvania Ave., N.W.
       Washington, DC 20044

       Director
       Air Enforcement Division
       Office of Civil Enforcement
       c/o Matrix New World Engineering, Inc.
       26 Columbia Turnpike, Suite 200
       Florham Park, NJ 07932-2213


And an electronic copy, in .pdf format, to:

       foley.patrick@epa.gov

As to EPA Region 2, by mail:

       Director
       Enforcement and Compliance Assurance Division
       U.S. EPA Region 2
       290 Broadway, 21st Floor
       New York, NY 10007-1866

       United States Environmental Protection Agency
       Region 2
       Office of Regional Counsel
       290 Broadway
       New York, NY 10007

       Director, Caribbean Environmental Protection Division
       U.S. EPA Region 2
       City View Plaza II, Suite 7000
       #48 Rd. 165 km 1.2
       Guaynabo, PR 00968-8069

And an electronic copy, in .pdf format, to:

       patel.harish@epa.gov

At its option, in lieu of submitting hardcopies to EPA Headquarters and EPA Region 2 by mail,
Limetree Bay may submit electronically, in .pdf format, all notifications, submissions, or




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communications that are required by this Consent Decree to:

       jmack@matrixneworld.com
       foley.patrick@epa.gov
       patel.harish@epa.gov

As to the United States Virgin Islands and VIDPNR, by mail and hand-delivery:

       Director, Division of Environmental Protection
       Virgin Islands Department of Planning and Natural Resources
       45 Estate Mars Hill
       Frederiksted, St. Croix, U.S. Virgin Islands 00840-4474

And an electronic copy, in .pdf format, to:

       jp.oriol@dpnr.vi.gov

As to Limetree Bay:

       Limetree Bay Terminals, LLC
       General Counsel
       One Estate Hope
       Christiansted, USVI 00820
       dmolloy@lbenergy.com

       Limetree Bay Refining, LLC
       General Counsel
       One Estate Hope
       Christiansted, USVI 00820
       dmolloy@lbenergy.com

And electronic copy, in .pdf format, to:

       celizee@lbenergy.com
       rbiggs@lbenergy.com
       leannjohnson@perkinscoie.com

As to the ERT:

       Roberto Puga
       PathForward Consulting Inc.
       32915 Danaoak
       Dana Point, CA 92629
       rpuga@pathforwardconsult.com




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       Mary Koks
       Munsch Hardt Kopf & Harr P.C.
       700 Milam Street
       Suite 2700
       Houston, TX 77002-2806

               a.       Unless otherwise provided herein, notifications, submissions or

communications between the Parties shall be deemed submitted on the date they are postmarked

and sent by U.S. Mail or overnight mail, postage prepaid, or the date of electronic submissions,

as applicable. Notices under Part XV (Force Majeure) and Part XVI (Retention of

Jurisdiction/Dispute Resolution) shall be sent by overnight mail or by certified or registered mail,

return receipt requested.

               b.      Notifications to or communications mailed to Limetree shall be deemed to

be received on the earlier of (i) actual receipt by Limetree or (ii) receipt of an electronic version

sent to the addressees set forth in this Paragraph.

               c.      If the date for submission of a report, study, notification, or other

communication falls on a Saturday, Sunday, or federal or territorial holiday, the report, study,

notification, or other communication will be deemed timely if it is submitted the next Working

Day.

50.    Add the following sentence to Paragraph 229.

As of the Date of Entry of the First Modification, the emissions units listed in Appendix N have

been permanently Shutdown.

51.    Add the following new Paragraph 229A “Effect of Idling” to Part XVIII (General

Provisions):

       229A. Effect of Idling




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              a.     Stipulated Penalties for Idled Units and BWON and LDAR Equipment

Not in Regulated Service.

                     i.      Idled Units and BWON and LDAR Equipment not In Regulated

              Service that comply with Subparagraph 229A.b, shall be considered in

              compliance with the Consent Decree for purposes of Section V.M (Stipulated

              Penalties Under This Section) and Part XII (Stipulated Penalties).

                     ii.     Limetree Bay shall not be required to report, pursuant to the

              Consent Decree, non-compliance with the Consent Decree requirements

              applicable to an Idled Unit or BWON and LDAR Equipment not In Regulated

              Service prior to the Restart of the Idled Unit or BWON and LDAR Equipment.

              b.     Restart of Idled Units, and BWON and LDAR Equipment not In

Regulated Service.

                     i.      Idled Units and BWON and LDAR Equipment not In Regulated

              Service shall comply with the applicable Consent Decree requirements upon

              Restart of an Idled Unit or after BWON and LDAR equipment is placed back In

              Regulated Service, unless an exception applies as provided in Subparagraph

              229A.b.ii.

                     ii.     Appendix L Restart Compliance Exceptions.

                             (1)    Idled Units and BWON and LDAR Equipment not In

                     Regulated Service that are subject to an exception in Appendix L

                     (“Exceptions for Compliance on Restart”) and that comply with applicable

                     Appendix L requirements shall be considered in compliance with the

                     corresponding Consent Decree requirements for purposes of Section V.M



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                      (Stipulated Penalties for Acid Gas Flaring) and Part XII (Stipulated

                      Penalties).

                              (2)    If Limetree Bay fails to meet an interim FCCU emission

                      limit established in Appendix L, Limetree Bay shall be subject to the

                      stipulated penalties under Paragraph 151.

                              (3)    For Idled Units and BWON and LDAR Equipment not In

                      Regulated Service that are subject to an Appendix L exception for Consent

                      Decree stack testing, performance testing, or monitoring requirements,

                      Limetree Bay shall be subject to stipulated penalties for violating the

                      corresponding applicable Consent Decree requirement from the Day after

                      the applicable Appendix L deadline.

                      iii.    If an Idled Unit is required by the Consent Decree to comply with

               a 365-Day rolling average, 7-Day rolling average or other emission rate based on

               an average of emissions for more than one Operating Day or hour in an Operating

               Day, compliance with the emissions limit shall be determined by using emissions

               data from Operating Days after Restart.

52.    Replace Subparagraph 234.e with the following new Subparagraph 234.e:

               e.     Application for and receipt of permits incorporating the emission limits

and standards in Appendix O; and

53.    Add the following new Paragraph 234A to Part XIX (Termination):

       234A. Exceptions to Conditions Precedent to Termination:

       The conditions precedent to termination in Subparagraphs 234.b and f, to comply with all

provisions contained in the Consent Decree, and operate for at least one (1) year in compliance



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with the emission limits established in the Consent Decree, shall not apply to a unit that is an

Idled Unit and has not yet demonstrated compliance with specifically identified Consent Decree

requirements applicable to the unit in Part V (Affirmative Relief / Environmental Projects)

because, except for Flare 7, the unit has not operated since June 1, 2012, or for Flare 7, the unit

has not operated after it was isolated and Shutdown as provided in Paragraph 50E.

       At such time as Limetree Bay believes it has satisfied the requirements to move for

termination under Paragraph 234, Limetree Bay may satisfy the requirements of Subparagraphs

234.b and f by certifying that: (a) the unit is an Idled Unit, (b) for units other than Flare 7, that

there have been no emissions from the Idled Unit since June 1, 2012, or for Flare 7, there have

been no emissions from Flare 7 after it was isolated and Shutdown as provided in Paragraph 50E,

and (c) that all surviving emission limits and standards applicable to the Idled Unit are

incorporated into permits as required by Paragraphs 124 - 126 and Appendix O. Neither the

United States nor the Virgin Islands shall object to Limetree Bay’s certification on the grounds

that Limetree Bay failed to complete Consent Decree requirements applicable to an Idled Unit if

Limetree Bay was not able to do so because, for units other than Flare 7, the unit has not

operated since June 1, 2012, or for Flare 7, the unit has not operated after it was isolated and

Shutdown as provided in Paragraph 50E.

54.     Replace Paragraph 235 with the following New Paragraph 235:

       235.    Termination: Procedure. At such time as Limetree Bay believes that it has

satisfied the requirements for termination set forth in Paragraph 234, Limetree Bay will certify

such compliance and completion to the United States and the Virgin Islands in accordance with

the certification language of Paragraph 231. Unless either the United States or the Virgin Islands

objects in writing with specific reasons within 120 days of receipt of Limetree Bay’s certification



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under this Paragraph, the Court may upon motion by Limetree Bay order that this Consent

Decree be terminated. At the time the Court orders the Consent Decree to be terminated, any

remaining monies in the TSEP Escrow Account shall be disbursed to the VIDPNR in accordance

with Subparagraph 137.e. If either the United States or the Virgin Islands objects to the

certification submitted by Limetree Bay, then the matter will be submitted to the Court for

resolution under Part XVI (Retention of Jurisdiction/Dispute Resolution). In such case, Limetree

Bay will bear the burden of proving that this Consent Decree should be terminated.

HOVENSA’s certification of completion in Appendix Q may be used by Limetree Bay to satisfy

the requirements for certification in Paragraphs 230 and 231, subject to Paragraphs 232 (EPA

review) and 233 (stipulated penalties), for purposes of satisfying the requirements for

termination of the Consent Decree.

55.    Replace the following appendices with the following new appendices, which are

attached:

Appendix C     NSPS Subparts J or Ja Compliance Schedule for Listed Fuel Gas Combustion
               Devices (Other than Flaring Devices)

Appendix D     List of Flaring Devices Subject to NSPS Subpart Ja

Appendix E     Limetree Bay’s LDAR and BWON Training Program Summary

Appendix F     Method 21 Monitoring Locations for API Separators 1, 2, and 3

Appendix G     [Reserved]

Appendix H     Additional Coker Project Injunctive Relief

56.            Add the following new appendices, which are attached:

Appendix J     In Service Units and the BWON and LDAR Equipment In Regulated Service

Appendix K     List of Idled Units

Appendix L     Exceptions for Compliance on Restart


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Appendix M Process and Factors for “Commercial Unavailability” of Low-E Valve or Packing

Appendix N     Emissions Units Permanently Shutdown as of June 1, 2019

Appendix O     Requirements That Shall Survive Termination of the Consent Decree

Appendix P     Flaring Mitigation Projects

Appendix Q     HOVENSA Certification

Appendix R     Map of Refinery

Appendix S     Map of H2S Monitoring Locations

57.    The Table of Appendices will be revised consistent with Paragraphs 55 and 56 of the

First Modification.

58.    Except as specifically provided in the First Modification, all other terms and conditions

of the Consent Decree remain unchanged and in full effect.

59.    No party to the First Modification (the United States, the Virgin Islands, HOVENSA,

Limetree Bay, and the ERT) will oppose entry of the First Modification by this Court or

challenge any provision of the First Modification unless the United States has notified each of

those parties, in writing, that the United States no longer supports entry of the First Modification.




               SO ORDERED, THIS __________ DAY OF _______________, 2020.



                                                       ________________________________
                                                       VIRGIN ISLANDS DISTRICT JUDGE




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                            APPENDIX C
  NSPS SUBPARTS J OR JA COMPLIANCE SCHEDULE FOR LISTED FUEL GAS
         COMBUSTION DEVICES (OTHER THAN FLARING DEVICES)


          FUEL GAS COMBUSTION DEVICES FOR WHICH COMPLIANCE
                 RESPONSIBILITY IS ASSIGNED TO THE ERT
                                                  Date of Compliance With
              Unit
                                                  Subpart J Fuel Gas Limit
        VER-1*                   VER-1                 Date of Lodging
        VER-2*                   VER-2                 Date of Lodging
        * Compliance based upon AMP submittal for EPA approval


          FUEL GAS COMBUSTION DEVICES FOR WHICH COMPLIANCE
              RESPONSIBILITY IS ASSIGNED TO LIMETREE BAY
                                                  Date of Compliance With
              Unit
                                                  Subpart J Fuel Gas Limit
        2 Vis.                   H-2185                Date of Lodging
        Coker                   H-8501A                Date of Lodging
        Coker                   H-8501B                Date of Lodging
        LSG Heater               H-4901                Date of Lodging
        Sulf Acid*              STK-7801               Date of Lodging
        GT-13 / HRSG         G-3413 / H-3413           Date of Lodging




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          FUEL GAS COMBUSTION DEVICES FOR WHICH COMPLIANCE
              RESPONSIBILITY IS ASSIGNED TO LIMETREE BAY
                                             Date of Compliance With
               Unit
                                             Subpart Ja Fuel Gas Limit
        1 Vis.                 H-101                12/31/2015
        1 Vis.                 H-104                12/31/2015
        Utl. Fract.            H-160                12/31/2015
        Penex                  H-200                12/31/2015
        Penex                  H-201                12/31/2015
        Penex                  H-202                12/31/2015
        Penex                 C-200A                12/31/2015
        Penex                 C-200B                12/31/2015
        Penex                 C-200C                12/31/2015
        2 CDU                 H-401A                12/31/2015
        2 CDU                 H-401B                12/31/2015
        2 CDU                 H-401C                12/31/2015
        2 Plat.                H-600                12/31/2015
        2 Plat.                H-601                12/31/2015
        2 Plat.                H-602                12/31/2015
        2 Plat.                H-603                12/31/2015
        2 Plat.                H-604                12/31/2015
        2 Plat.                H-605                12/31/2015
        2 Plat.                H-606                12/31/2015
        2 DD                  H-800A                12/31/2015
        2 DD                  H-800B                12/31/2015
        2 DD                   H-801                12/31/2015
        3 CDU                 H-1401A               12/31/2015
        1 Vac.                H-1401B               12/31/2015
        3 DD                   H-1500               12/31/2015
        3 DD                   H-1501               12/31/2015
        3 DD                  C-1500A               12/31/2015
        3 DD                  C-1500B               12/31/2015
        3 DD                  C-1500C               12/31/2015
        2 Vac.                 H-2101               12/31/2015
        2 Vac.                 H-2102               12/31/2015
        4 DD                  H-2201A               12/31/2015
        4 DD                  H-2201B               12/31/2015
        4 DD                   H-2202               12/31/2015

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          FUEL GAS COMBUSTION DEVICES FOR WHICH COMPLIANCE
              RESPONSIBILITY IS ASSIGNED TO LIMETREE BAY
                                             Date of Compliance With
               Unit
                                             Subpart Ja Fuel Gas Limit
        5 DD                   H-2400               12/31/2015
        5 DD                   H-2401               12/31/2015
        5 DD                  C-2400A               12/31/2015
        5 DD                  C-2400B               12/31/2015
        Naph Frac              H-2501               12/31/2015
        1 SRU                  H-1032               12/31/2015
        2 SRU                  H-1042               12/31/2015
        1 Beavon               H-1061               12/31/2015
        #1 F. Boiler           B-1151               12/31/2015
        #3 F. Boiler           B-1153               12/31/2015
        #4 F. Boiler           B-1154               12/31/2015
        #5 F. Boiler           B-1155               12/31/2015
        GT-1*                 G-1101E               12/31/2015
        GT-2*                 G-1101F               12/31/2015
        GT-3*                 G-1101G               12/31/2015




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          FUEL GAS COMBUSTION DEVICES FOR WHICH COMPLIANCE
              RESPONSIBILITY IS ASSIGNED TO LIMETREE BAY
                                             Date of Compliance With
                  Unit
                                             Subpart J Fuel Gas Limit
        5 CDU                 H-3101A               12/31/15
        5 CDU                 H-3101B               12/31/15
        6 CDU                 H-4101A               12/31/15
        6 CDU                 H-4101B               12/31/15
        3 Vac.                 H-4201               12/31/15
        3 Vac.                 H-4202               12/31/15
        7 DD                  H-4301A               12/31/15
        7 DD                  H-4301B               12/31/15
        7 DD                   H-4302               12/31/15
        3 Plat.                H-4401               12/31/15
        3 Plat.                H-4402               12/31/15
        3 Plat.                H-4451               12/31/15
        3 Plat.                H-4452               12/31/15
        3 Plat.                H-4453               12/31/15
        3 Plat.                H-4454               12/31/15
        3 Plat.                H-4455               12/31/15
        2 Sulf.                H-4502               12/31/15
        2 Sulf.                H-4503               12/31/15
        2 Sulf.                H-4504               12/31/15
        2 Sulf.                H-4505               12/31/15
        6 DD                  H-4601A               12/31/15
        6 DD                  H-4601B               12/31/15
        6 DD                   H-4602               12/31/15
        6 DD                  C-4601A               12/31/15
        6 DD                  C-4601B               12/31/15
        6 DD                  C-4601C               12/31/15
        9 DD                  H-5301A               12/31/15
        9 DD                  H-5301B               12/31/15
        9 DD                   H-5302               12/31/15
        4 Plat.                H-5401               12/31/15
        4 Plat.                H-5402               12/31/15
        4 Plat.                H-5451               12/31/15
        4 Plat.                H-5452               12/31/15
        4 Plat.                H-5453               12/31/15

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          FUEL GAS COMBUSTION DEVICES FOR WHICH COMPLIANCE
              RESPONSIBILITY IS ASSIGNED TO LIMETREE BAY
                                                  Date of Compliance With
               Unit
                                                  Subpart J Fuel Gas Limit
        4 Plat.                  H-5454                   12/31/15
        4 Plat.                  H-5455                   12/31/15
        3 & 4 SRU                H-4745                   12/31/15
        2 Beavon                 H-4761                   12/31/15
        #6 F. Boiler             B-3301                   12/31/15
        #7 F. Boiler             B-3302                   12/31/15
        #8 F. Boiler             B-3303                   12/31/15
        #9 F. Boiler             B-3304                   12/31/15
        #10 F. Boiler            B-3701                   12/31/15
        GT-4                     G-3404                   12/31/15
        GT-5                     G-3405                   12/31/15
        GT-6                     G-3406                   12/31/15
        GT-7                     G-3407                   12/31/15
        GT-8*                    G-3408                   12/31/15
        GT-9*                    G-3409                   12/31/15
        GT-10*                   G-3410                   12/31/15
        * Compliance based upon AMP submittal for EPA approval




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                             APPENDIX D
          LIST OF FLARING DEVICES SUBJECT TO NSPS SUBPART Ja



             Flaring Device                             Date

           FCCU Low
           Pressure Flare and      Restart
           Flare 3

                                   Five (5) years from Date of Entry of the
           FCCU High               Consent Decree
           Pressure Flare
                                   (June 7, 2016)

                                   Five (5) years from Date of Entry of the
           LPG Flare               Consent Decree
                                   (June 7, 2016)

                                   Seven (7) years from Date of Entry of the
           Flares 2                Consent Decree
                                   (June 7, 2018)

                                   Ten (10) years from Date of Entry of the
           Flares 5, 6 and 7       Consent Decree
                                   (June 7, 2021)


     Flares 1 and 4 are no longer in service and are not subject to this Consent Decree.




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                                    APPENDIX E
              Limetree Bay’s LDAR and BWON Training Program Summary

The Limetree Bay training program will utilize a combination of training methods to educate
refinery personnel on their roles and responsibilities within the LDAR and BWON programs.
The extent of education on the programs (two hours, four hours, eight hours, etc.) will be based
on the employee’s job assignment within their respective department and the individual’s
management level.

All Environmental LDAR personnel will be trained on an annual basis on the requirements of
their jobs through classroom based, computer-based, field-based, or other training methods. The
training will consist of specific material and processes required for the knowledge of the program
including certification testing. Listed below are some of the key elements and subjects of the
training module that link to roles and responsibilities.

       •   knowledge of the refinery structure and systems
       •   refinery basics: process unit functions individually and how they work in partnership
       •   how to read and understand P&IDs and ISOS
       •   the applicable regulations
       •   the proper operation of monitoring equipment
       •   applicable LDAR procedures
       •   the systems in place to manage our data and compliance; electronic database such as
           LeakDAS and like systems
       •   the checks and balances required to maintain quality control and compliance
       •   the leadership skills required to manage and maintain a successful program

All other Operations, Maintenance and Contractor personnel will be trained on the requirements
of their jobs through classroom based, computer-based, field-based, or other training methods.
The training consists of material and processes required for their specific role and responsibility
needed to ensure knowledge of the program including certification testing. Listed below are
some of the key elements and subjects of the training module.

       •   knowledge of Environmental Department structure and contact information
       •   general knowledge of the environmental regulations (LDAR & BWON) and related
           procedures
       •   knowledge of regulatory inspection, documentation and repair requirements
       •   knowledge of fugitive emissions procedures
       •   knowledge of the Valve Preventative Maintenance Program
       •   knowledge of how to utilize the refinery system, such as SAP, to create work
           notifications and approvals and electronic inspections

The requirements of this training will be incorporated into Limetree Bay’s job specific training.
All training will be reviewed and updated on a reoccurring basis (at least once every three (3)
years). The certification testing will be utilized to assess the effectiveness of the training
products.

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                                 APPENDIX F
           Method 21 Monitoring Locations for API Separators 1, 2 and 3


                                  API #1, 2, & 3

                          Emission Points               Total

                            Access Hatch                  48

                            Gauge Hatch                   45

                          Fixed roof plates              150

                         Piping Penetration               52

                             Steel plate                  31

                             Pump base                    22

                          Hose connection                 2

                            Conduit port                  10

                           Valve stem port                16

                               Total                     376




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                               APPENDIX G
                               [RESERVED]




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                                                                     APPENDIX H
                                                        Additional Coker Project Injunctive Relief



                                                                                                                                                          Compliance
  Emissions Unit       Pollutant        Limit           Units      Averaging Time                    Monitoringa                      Reporting
                                                                                                                                                           Schedule
                      CO                    0.030     lb/mmBTU   Average of 3 1-hr      Annual Performance Test (EPA RM-10)        Within 60 Days of   Date of Entry
                                                                 samples                                                           test
Coker Heater (two
units)                VOC                  0.0050     lb/mmBTU   N/A                    EPA RM-25 or RM-25A following any          Within 60 Days of   Date of Entry
                                                                                        CO test exceedance                         test

                      CO                    0.070     lb/mmBTU   Average of 3 1-hr      Annual Performance Test (EPA RM-10)        Within 60 Days of   Date of Entry
                                                                 samples                                                           test

Boiler 10
                      VOC                  0.0050     lb/mmBTU   N/A                    EPA RM-25 or RM-25A following any          Within 60 Days of   Date of Entry
                                                                                        CO test exceedance                         test

                                                162   ppmvd      Hourly rolling 12-hr   NSPS RSC CEMS (40 C.F.R. 60 App            NSPS quarterly      1/1/2014
                                                                 average                A, B, & F)                                 reports
SRUs 1&2/ Beavon 1    RSC (Final)
                                                 66   ppmvd      Daily rolling 30-day   NSPS RSC CEMS (40 C.F.R. 60 App            NSPS quarterly      1/1/2014
                                                                 average                A, B, & F)                                 reports

Tanks                 VOC           Ext. Floating                N/A                    Subpart Kb monitoring (40 C.F.R.           NSPS reports        Tank 1071:
 No. 6 Sour Water                   Roof Tank                                           §60.113b(b)) for Ext. Floating Roof Kb                         12/31/2011
 Stripper Tank (TK-                                                                     requirements: Seal gap measurements
 1071),                                                                                 (Secondary once/yr, Primary once/5                             Tank 1663:
 Desalter Effluent                                                                      yrs). Inspect seals and fittings each                          Date of Entry
 Water (DEW) Tank                                                                       time the vessel is emptied and degassed.
 (TK-1663)
Coker Charge Tank     VOC           Fixed Roof                   N/A                    Subpart Kb monitoring (40 C.F.R.           NSPS reports        Date of Entry
(TK-8501)                           Tank                                                §60.110b-117b)
                                                                                        Record and maintain records
                                                                                        documenting the material stored in the
                                                                                        hot pitch storage tank (TK-8501),
                                                                                        showing that the tank remains exempt
                                                                                        from the requirements in 40 C.F.R. Part
                                                                                        60 Subpart Kb, §60.110b(b).




                                                                               H-1
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                                                                           APPENDIX H
                                                              Additional Coker Project Injunctive Relief



                                                                                                                                                                         Compliance
    Emissions Unit         Pollutant          Limit            Units         Averaging Time                       Monitoringa                       Reporting
                                                                                                                                                                          Schedule
Process equipment         VOC             40 C.F.R.                                                 Comply with 40 C.F.R. Part 60 Subpart                             Date of Entry
located in                                Part 60                                                   GGGa
  Coker Unit,                             Subpart
  Coker Gas Plant,                        GGGa
  No. 7 Amine,
  No. 5 Crude,
  No. 3 Vacuum, No.
  3 Crude,
  No. 1 Vacuum, No.
  1 Visbreaker, and
  No. 2, 4, 6, & 7
  Distillate
  Desulfurizer Units
  and outside battery
  limit modifications
  to the terminal, tank
  farm & blending
  equipment

aFor purposes of demonstrating compliance with limits which require an annual performance test, the first performance test shall be conducted no later than twelve (12) months after the
Date of Entry of the First Modification or twelve (12) months from Restart for Idled Units, whichever is earlier.




                                                                                          H-2
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                                                                              APPENDIX H
                                                                 Additional Coker Project Injunctive Relief



                                                        Design/Work Practice                                            Compliance
Emissions Unit                    Pollutant                   Controls                       Monitoring                  Schedule
Coke Handling,
Storage and Loading
Facility
     Coke Cutting/Coke      PM (all species)        High Pressure water cutting of   Maintain records documenting   Date of Entry
     Pit                                            coke & enclosed drop             design
                                                    zones/coke pit (No roof)


     Coke Crusher           PM (all species)        Enclosedb crusher structure.     Maintain records documenting   Date of Entry
                                                    Moisture content control from    design
                                                    initial cutting.


     Coke Transfer to       PM (all species)        Enclosedb conveyor to            Maintain records documenting   Date of Entry
     Storage                                        storage, Moisture content        design
                                                    control from initial cutting.


     Coke Storage           PM (all species)        Enclosedb storage buildings,     Maintain records documenting   Date of Entry
                                                    baghouse for vent control, and   design
                                                    moisture content control from
                                                    initial cutting.


     Coke Loading           PM (all species)        Enclosedb conveyor to loading    Maintain records documenting   Date of Entry
                                                    dock. “Spout” containment        design
                                                    loading to minimize drop
                                                    emissions when loading ship.


b   Enclosed structures can have ventilation vents or access ways.




                                                                                           H-3
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                                           APPENDIX J

               IN SERVICE UNITS AND LDAR AND BWON EQUIPMENT
                            IN REGULATED SERVICE

List, as of June 1, 2019, of all emissions units that are In Service Units:


                         Unit                 Source Code                Location
                GT-4                     G-3404                   East
                GT-7                     G-3407                   East
                GT-8                     G-3408                   East
                Flare No. 7              H-3301                   East

List, as of June 1, 2019, of LDAR and BWON Equipment to which the LDAR and BWON
provisions of the Consent Decree continue to apply (i.e. are In Regulated Service):

Location of LDAR Equipment In Regulated Service

   1. Offsite area piping between and into active tanks
   2. Piping between docks 1 through 10 and tanks
   3. Piping from tanks to truck loading rack
   4. Propane and Butane storage area
   5. Piping between Propane and Butane storage area and East Power House area
   6. East Power House area
   7. Piping from East Power House to the No. 7 Flare
Location of BWON Equipment In Regulated Service
   1. #1 and #3 APIs and #3 WEMCO
   2. Portions of Advanced Wastewater Treatment Plant
   3. Wastewater collection equipment and oily water sewer system identified as: all oily water
      sewer cups, process area drains, junction boxes, and wastewater piping servicing tanks,
      manifolds, and process units that are not Idled Units or not in emissions units
      permanently Shutdown listed on Appendix N
   4. Ballast and slop tanks




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                                       APPENDIX K
                                   LIST OF IDLED UNITS
  List, as of June 1, 2019, of all emissions units that are Idled Units:

                         IDLED WEST SIDE EMISSIONS UNITS

       Emissions Unit                 Emissions Unit Type              Process Unit Location
            H-101                          Heater                               1 Vis.
            H-104                          Heater                               1 Vis.
            H-160                          Heater                             Utl. Fract.
            H-200                          Heater                          Penex (Par Isom)
            H-201                          Heater                               Penex
            H-202                          Heater                               Penex
           C-200A                     Compressor Engine                         Penex
           C-200B                     Compressor Engine                         Penex
           C-200C                     Compressor Engine                         Penex
            H-601                          Heater                              #2 Plat
            H-604                          Heater                              #2 Plat
            H-605                          Heater                              #2 Plat
           H-800A                          Heater                               2 DD
           H-800B                          Heater                               2 DD
            H-801                          Heater                               2 DD
           C-1500A                    Compressor Engine                         3 DD
           C-1500B                    Compressor Engine                         3 DD
           C-1500C                    Compressor Engine                         3 DD
           H-2201A                         Heater                               4 DD
           H-2201B                         Heater                               4 DD
            H-2202                         Heater                               4 DD
            H-2400                         Heater                               5 DD
           C-2400A                    Compressor Engine                         5 DD
           C-2400B                    Compressor Engine                         5 DD
            H-1061                         Heater                             1 Beavon
            B-1155                         Boiler                            #5 F. Boiler
            H-1105                          Flare                              Flare 2
            H-1104                          Flare                              Flare 3
            H-1032                       Incinerator                           SRU 1
            H-1042                       Incinerator                           SRU 2
                                       West Sulfur Pit                       SRU 1 & 2


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                           IDLED EAST SIDE EMISSIONS UNITS

          Emissions Unit           Emissions Unit Type   Process Unit Location

            H-3101A                     Heater                  5 CDU
            H-3101B                     Heater                  5 CDU
            H-4101A                     Heater                  6 CDU
            H-4101B                     Heater                  6 CDU
             H-4201                     Heater                  3 Vac.
             H-4202                     Heater                  3 Vac.
            H-4301A                     Heater                   7 DD
            H-4301B                     Heater                   7 DD
             H-4302                     Heater                   7 DD
             H-4401                     Heater                  3 Plat.
             H-4402                     Heater                  3 Plat.
             H-4451                     Heater                  3 Plat.
             H-4452                     Heater                  3 Plat.
             H-4453                     Heater                  3 Plat.
             H-4454                     Heater                  3 Plat.
             H-4455                     Heater                  3 Plat.
             H-4502                     Heater                  2 Sulf.
             H-4503                     Heater                  2 Sulf.
             H-4504                     Heater                  2 Sulf.
             H-4505                     Heater                  2 Sulf.
            H-4601A                     Heater                   6 DD
            H-4601B                     Heater                   6 DD
             H-4602                     Heater                   6 DD
            C-4601A                Compressor Engine             6 DD
            C-4601B                Compressor Engine             6 DD
            C-4601C                Compressor Engine             6 DD
             H-4901                     Heater                   LSG
            H-5301A                     Heater                   9 DD
            H-5301B                     Heater                   9 DD
             H-5302                     Heater                   9 DD
             H-5401                     Heater                  4 Plat.
             H-5402                     Heater                  4 Plat.
             H-5451                     Heater                  4 Plat.
             H-5452                     Heater                  4 Plat.
             H-5453                     Heater                  4 Plat.



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             H-5454                   Heater                4 Plat.
             H-5455                   Heater                4 Plat.
            H-8501A                   Heater                Coker
            H-8501B                   Heater                Coker
                                  Coke Handling,
                               Storage and Loading          Coker
                                      Facility
                                Common Stack for
           STK-7801            Heaters H-7801, H-     Sulfuric Acid Plant
                                7802 and R-7801
             B-3302                    Boiler            #7 F. Boiler
             B-3303                    Boiler            #8 F. Boiler
             B-3304                    Boiler            #9 F. Boiler
             B-3701                    Boiler           #10 F. Boiler
             G-3409            Generating Turbine           GT-9
             G-3410            Generating Turbine          GT-10
             G-3413            Generating Turbine          GT-13
                               Fired Heat Recovery
             H-3413                                         GT-13
                                 Steam Generator
            H-3351                     Flare              Flare 5
            H-3352                     Flare              Flare 6
           STK-7921                    Flare             LPG Flare
           STK -7941                   Flare            FCC LP Flare
           STK -7942                   Flare            Ground Flare
            H-4745                  Incinerator         SRUs 3 and 4
                                    Sulfur Pits         SRUs 3 and 4
           STK-7051            Catalyst Regenerator        FCC




                                     K-3
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                             APPENDIX L
                EXCEPTIONS FOR COMPLIANCE ON RESTART


                   CD
     Unit                      CD Requirement          Restart Compliance Exception
                Paragraph
 FCCU           11          NOx 365-Day rolling      During the first 30 Days after the
                            average limit            Restart of the FCCU, the unit shall
                                                     comply with an interim limit of 80
                                                     ppmvd on a 7-Day rolling average
                                                     basis instead of the 20 ppmvd limit
                                                     established by Paragraph 11.
                            RAA or RATA for:         Required CEMS RAA or RATA
                12          NOx CEMS                 shall be conducted within 60 Days
                14                                   after achieving the maximum
                            SOx CEMS
                                                     production rate at which the FCCU
                21          CO CEMS                  will be operated, or not later than
                                                     180 Days after initial Restart,
                                                     whichever comes first.
                16          PM stack test            Required PM stack test shall be
                                                     conducted within 60 Days after
                                                     achieving the maximum production
                                                     rate at which the FCCU will be
                                                     operated, or not later than 180
                                                     Days after initial Restart,
                                                     whichever comes first.
                18          CO limit                 During the first 7 Days after the
                                                     Restart of the FCCU, the unit shall
                                                     comply with an interim limit of
                                                     1,000 ppmvd on a 7-Day rolling
                                                     average basis instead of the 500
                                                     ppmvd limit established by
                                                     Paragraph 18.
 Units listed   34          NSPS monitoring, but     Demonstration of compliance shall
 on Appendix    35          only as to Part 60,      be achieved within 60 Days after
 C                          Appendix F, Section 5    achieving the maximum production
                            “Data Accuracy           rate at which the affected facilities
                            Assessment”              will be operated, or not later than
                            requirements, and Part   180 Days after initial Restart,
                            60, Appendix B           whichever comes first.




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                     CD
     Unit                        CD Requirement          Restart Compliance Exception
                  Paragraph
 East Side       45a          NSPS monitoring, but     Demonstration of compliance shall
 Sulfur                       only as to Part 60,      be achieved within 60 Days after
 Recovery                     Appendix F, Section 5    achieving the maximum production
 Plant                        “Data Accuracy           rate at which the affected facilities
                              Assessment”              will be operated, or not later than
                              requirements, and Part   180 Days after initial Restart,
                              60, Appendix B           whichever comes first.
 LPG and         49           NSPS Ja monitoring, if   Demonstration of compliance shall
 FCCU High                    required                 be achieved not later than 90 Days
 Pressure                                              after Flaring Device Restart and
 Flares                                                compliance certifications, required
                                                       by Paragraph 52, shall be submitted
                                                       within 30 Days thereafter.
 LPG Flare       49, 52       NSPS Ja monitoring for   Demonstration of compliance shall
 FCCU High                    flares                   be achieved not later than 90 Days
 Pressure                                              after Flaring Device Restart and
 Flare                                                 compliance certifications, required
                                                       by Paragraph 52, shall be submitted
 FCCU Low
                                                       within 30 Days thereafter.
 Pressure
 Flare
 Flares 2, 3,
 5, 6, and 7
 Coker           133          Appendix H,              Demonstration of compliance shall
 Heaters,                     Performance test (CO     be achieved within 60 Days after
 Boiler 10                    and VOC)                 achieving the maximum production
                                                       rate at which the affected facilities
                                                       will be operated, or not later than
                                                       180 Days after initial Restart,
                                                       whichever comes first.
 Boilers 5, 8,   135          NSPS D, Performance      Demonstration of compliance shall
 9                            test and CEMS, as        be achieved within 60 Days after
                              applicable               achieving the maximum production
                                                       rate at which the affected facilities
                                                       will be operated, or not later than
                                                       180 Days after initial Restart,
                                                       whichever comes first.




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                   CD
     Unit                       CD Requirement      Restart Compliance Exception
                Paragraph
 Generating     136         NSPS GG, CEMS and     Demonstration of compliance shall
 Turbine 9                  Performance test      be achieved within 60 Days after
                                                  achieving the maximum production
                                                  rate at which the affected facilities
                                                  will be operated, or not later than
                                                  180 Days after initial Restart,
                                                  whichever comes first.
 BWON or        BWON,        Monitoring           Required monitoring shall be
 LDAR           Section V.J. Requirements         conducted no later than 60 Days
 Equipment      LDAR,                             after the BWON or LDAR
 placed back    Section                           Equipment is placed back In
 In Regulated   V.K.                              Regulated Service.
 Service




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                                         APPENDIX M
 PROCESS AND FACTORS FOR “COMMERCIAL UNAVAILABILITY” OF LOW-E
                       VALVE OR PACKING

        Summary: This Appendix outlines a process to be followed and factors to be taken into
consideration to establish that a Low-E Valve or Low-E Packing is not “commercially
available” pursuant to Subparagraph 112.c of the Consent Decree. Factors other than those
identified in Paragraph 1 of this Appendix may also be utilized to establish that a Low-E
Valve or Low-E Packing is not commercially available and procedures other than those
identified in Paragraphs 2–3 may be used if mutually agreed upon by the Parties in writing.

1.     Factors. The following factors shall be taken in to account for determining the
availability of safe and suitable Low-E Valve or Low-E Packing Technologies:

       (1)   Valve type;
       (2)   Valve service and operating conditions;
       (3)   Type of refinery process equipment in which the valve is used;
       (4)   Seal performance;
       (5)   Service life;
       (6)   Packing friction;
       (7)   Temperature and pressure limitations; and
       (8)   Retrofit applications (e.g., re-piping or space limitations).

The following factors may also be relevant for consideration, depending on the process unit or
equipment in use at the Refinery:

       (9) Valve or valve packing specifications identified by the licensor of the process unit or
       equipment in use at the Refinery (including components that are part of a design package
       by a specialty-equipment provider as part of a larger process unit); or

       (10) Valve or valve packing vendor or manufacturer recommendations for the relevant
       Refinery unit and/or process unit components.

2.     Process. The following procedure shall be followed for determining the
availability of a Low-E Valve or Low-E Packing:

                a.     Limetree Bay must contact a reasonable number of vendors of valves
                       and valve packing technologies, taking into account the relevant factors
                       identified above, prior to asserting a claim that Low-E Valve or Low-E
                       Packing is not commercially available.

                       (i)    For purposes of this Consent Decree, a reasonable number of
                       vendors shall mean at least three vendors of valves or three vendors of
                       valve packing technologies.



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                      (ii)    If fewer than three vendors of valve or valve packing technologies
                      are contacted, the determination of whether such fewer number is
                      reasonable for purposes of this Consent Decree shall be based on Factors
                      (9) and/or (10) above, or on a demonstration that fewer than three vendors
                      offer valves or valve packing technologies for the service and operating
                      conditions of the valve to be replaced, in consideration of Factors (1)
                      through (8) above, as applicable.

               b.      Limetree Bay shall obtain a written representation from each vendor
               contacted or equivalent documentation that the valve or valve packing does not
               meet the specifications for a Low-E Valve or Low-E Packing.

               c.       Limetree Bay shall prepare a written report fully explaining the basis for
               each claim that a valve or valve packing is not commercially available, to include
               all relevant documentation and other information supporting the claim. Such
               report shall also identify the commercially-available valve or packing technology
               that comes closest to meeting the requirements for a Low-E Valve or Low-E
               Packing that is selected and installed by Limetree Bay pursuant to Subparagraph
               112.c of the Consent Decree. Such report shall be included in the Semi-Annual
               Report required by Part X of the Consent Decree, for the period in which the
               valve or valve packing is replaced.

3.       EPA Review of Claim of Commercial Unavailability. Upon discretionary review by
EPA of any claim of commercial unavailability, if EPA disagrees that a valve or valve-
packing technology is commercially unavailable, EPA shall notify Limetree Bay in writing,
specifying the valve or valve packing EPA believes to be commercially available and the basis
for its availability for the service and operating conditions of the valve. Following receipt by
Limetree Bay of EPA’s notice, the following shall apply:

               a.     Limetree Bay is not required to retrofit the valve or valve packing for
               which the unavailability claim was asserted (unless otherwise required to do so
               pursuant to some other provision of this Consent Decree).

               b.      EPA’s notification shall serve as notice to Limetree Bay of EPA’s intent
               that a future claim of commercial unavailability will not be accepted for (a) the
               valve or valve packing that was the subject of the unavailability claim, or (b) for a
               valve or valve packing in the same or similar service, taking into account the
               factors identified in this Appendix. If Limetree Bay disagrees with EPA’s
               notification, Limetree Bay and EPA may informally discuss the basis for the
               claim of commercial unavailability. EPA may thereafter revise its notification, if
               necessary.

               c.      If Limetree Bay makes a subsequent commercial unavailability claim for
               the same valve or valve packing (or valve or valve packing in the same or similar
               service) that was the subject of a prior unavailability claim which was not
               accepted by EPA, and such subsequent claim is also denied by EPA on the same
               basis as provided in EPA’s prior notification, Limetree Bay shall retrofit the valve

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              or valve packing with the commercially available valve or valve packing
              technology at the next unit turnaround.

Any disputes concerning EPA’s notification to Limetree Bay of the commercial availability of a
valve or valve packing technology in a particular application pursuant to Subparagraph 3.c of
this Appendix shall be addressed under the Dispute Resolution provisions in Part XVI of the
Consent Decree.




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                                    APPENDIX N

      EMISSIONS UNITS PERMANENTLY SHUTDOWN AS OF JUNE 1, 2019

  •   H-401A (2 CDU)
  •   H-401B (2 CDU)
  •   H-401C (2 CDU)
  •   H-600 (Heater in 2 Plat)
  •   H-602 (Heater in 2 Plat)
  •   H-603 (Heater in 2 Plat)
  •   H-606 (Heater in 2 Plat)
  •   H-1401A (Heater in 3 CDU)
  •   H-1401B (Heater in 1 Vac)
  •   H-1500 (Heater in 3DD)
  •   H-1501 (Heater in 3 DD)
  •   H-2101 (Heater in 2 Vac)
  •   H-2102 (Heater in 2 Vac)
  •   H-2185 (Heater in 2 Vis)
  •   H-2401 (Heater in 5DD)
  •   H-2501 (Naptha Frac.)
  •   B-1151 (#1 Boiler)
  •   B-1153 (#3 Boiler)
  •   B-1154 (#4 Boiler)
  •   B-3301 (#6 Boiler)
  •   C-800A, B and C (Compressors in 2DD)
  •   C-2201A, B and C (Compressors in 4DD)
  •   No. 1 Gas Turbine (G-1101E)
  •   No. 2 Gas Turbine (G-1101F)
  •   No. 3 Gas Turbine (G-1101G)
  •   No. 5 Gas Turbine (G-3405)

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  •   No. 6 Gas Turbine (G-3406)




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                                     Appendix O
                            Requirements That Shall Survive
                           Termination of the Consent Decree


                   Requirements That Shall Survive Termination of the Consent Decree
CD Paragraph                             under Section XVII.

¶ 10: Certain     "365-day rolling average" shall mean the average daily emission rate during
CD Definitions    the preceding 365 Operating Days.(CD 10.A.)

                 "7-day rolling average" shall mean the average daily emission rate during
                 the preceding seven(7) Operating Days.(CD 10.B.)

                  "I'CCU and Coker Drain Systems" means the individual drain systems(as
                  defined in 40 C.F.R. § 60.691)and ancillary equipment which manage oily
                  wastewater generated in the process units in the FCCU complex and the
                  Coker.(CD ¶ 10.U.)

                  "Operating Day" shall mean a Day on which a minimum of 18 hours of
                  valid emissions data are obtained.(CD lO.HH.)

                  "Sulfur Recovery Plant" or "SRP" shall mean a process unit that recovers
                  sulfur from hydrogen sulfide by ~ vapor phase catalytic reaction of sulfur
                  dioxide and hydro en sulfide. CD lO.UU)
¶ 11: FCCU        Limil NOX ei~lissiui~s fioni the rCCU to 20 ppmvd or less on a 36S day
NOX limits        rolling average and 40 ppmvd or less nn a 7-day rolling average, each at 0%
                  02.

                NOX emissions during periods of Startup, Shutdown or Malfunction ofthe
                FCCU shall not be used in determining compliance with the 7-day rolling
                average NOx emission limit, provided that during such periods Limetree
                Bay implements good air pollution control practices to minimize NOX
                emissions.
¶ 12:           Certify, calibrate, maintain, and operate NOX and 02 CEMS on the FCCU in
Demonstrating   accordance with the provisions of40 C.F.R. § 60.13 that are applicable to
compliance with CEMS (excluding those provisions applicable only to Continuous Opacity
FCCU NOx        Monitoring Systems) and Part 6Q Appendices A and F, and the applicable
limits(NOX and  performance specification test of40 C.F.R. Part 60 Appendix B.
02 CEMS)
                With respect to 40 C.F.R. Part 60, Appendix F, in lieu ofthe requirements
                of40 C.F.R. Part 60, Appendix F §§ 5.1.1, 5.1.3 and 5.1.4, conduct either a
                Relative Accuracy Audit("RAA")or a Relative Accuracy Test Audit
                ("RATA")on each CEMS at least once ever three 3 ears. Conduct


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                    Requirements That Shall Survive Termination of the Consent Decree
CD Paragraph                              under Section XVII.
                  Cylinder Gas Audits("CGA")each calendar quarter during which a RAA or
                  a RATA is not performed.

¶ 13 and 14•      Limit S02 emissions from the FCCU to 16 ppmvd or less on a 365-day
FCCU SOa •        rolling average and 25 ppmvd or less on a 7-day rolling average, each at 0%
limits            ~2•

                  S02 emissions during periods of Malfunction ofthe Wet Gas Scrubber
                  ("WGS")shall not be used in determining compliance with the 7-day rolling
                  average SOz emission limit, provided that during such periods good air
                  pollution control practices are implemented to minimize SOz emissions.

¶ 14:              Certify, calibrate, maintain, and operate S02 and Oa CEMS on the FCCU in
Demonstrating      accordance with the provisions of40 C.F.R. § 60.13 that are applicable to
compliance with    CEMS(excluding those provisions applicable only to Continuous Opacity
FCCU SOz           Monitoring Systems) and Part 60 Appendices A and F, and the applicable
limits(S02 and     performance specification test of40 C.F.R. Part 60 Appendix B.
02 CEMS)
                   With respect to 40 C.F.R. Part 60, Appendix F, in lieu ofthe requirements
                   of40 C.F.R. Part 60, Appendix F §§ 5.1.1, 5.1.3 and 5.1.4, conduct either a
                   Relative Accuracy Audit("RAA")or a Relative Accuracy Test Audit
                  ("RATA")on each CEMS at least once every three(3) years. Conduct
                   Cylinder Gas Audits("CGA")each calendar quarter during which a RAA or
                   a RATA is not performed.

¶ 15 and 17:       Limit PM emissions from the FCCU to 0.5 pounds PM or less per 1,000
FCCU PM limit      pounds of coke burned based on the average ofthree(3) 1-hour stack tests.

                   PM emissions during periods of Malfunction ofthe FCCU's WGS shall not
                   be used in determining compliance with the emission limit of 0.5 pounds of
                   PM per 1,000 pounds of coke burned, provided that during such periods
                   good air pollution control practices are implemented to minimize PM
                   emissions.
¶ 16: PM           Follow the stack test methodology specified in 40 C.F.R. § 60.106(b)(2)to
Testing for        measure PM emissions from the FCCU.
FCCU (stack
testing
methodology
and frequency
requirements)




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                     Requirements That Shall Survive Termination of the Consent Decree
CD Paragraph                               under Section XVII.

¶¶ 18,19,20:        Limit CO emissions from the FCCU to 500 ppmvd or less on a 1-hour block
FCCU CO             average basis corrected to 0% Oa.
limits
                    If prior to termination of this Consent Decree, Limetree Bay has accepted
                    for the FCCU a CO emissions limit of 100 ppmvd or less on a 365-day
                    rolling average corrected to 0% Oa, then the FCCU shall also comply with
                    that limit.

                    CO emissions during periods of Startup, Shutdown, or Malfunction ofthe
                    FCCU shall not be used in determining compliance with the 1-hour 500
                    ppmvd emissions limit, provided that during such periods good air pollution
                    control ractices are im lemented to minimize CO emissions.
¶21.                Certify, calibrate, maintain, and operate the CO CEMS on the FCCU in
Demonstrating       accordance with the provisions of40 C.F.R. § 60.13 that are applicable to
compliance with     CEMs(excluding those provisions applicable only to Continuous Opacity
FCCU CO             Monitoring Systems) and Part 60 Appendices A and F, and the applicable
limits(GEMS         performance specification test of40 C.F.R. Part 60 Appendix B.
operating
requirements)       With respect to 40 C.F.R. Part 60, Appendix F, in lieu ofthe requirements
                    of40 C.F.R. Part 60, Appendix F §§ 5.1.1, 5.1.3 and 5.1.4, conduct either a
                    RAA or a RATA on each GEMS at least once every three(3) years.
                    Conduct Cylinder Gas Audits("CGA")each calendar quarter during which
                    a RAA or a RAT A is not erformed.
¶ 22: FCCU          FCCU Catalyst Regenerator is an "affected facility," as that term is used in
Subpart J           40 C.F.R. Part 60, Subparts A and J, and is subject to and shall comply with,
affected facility   the requirements of40 C.F.R. Yart 60, Subparts A and J, for SOa,PM (and
status and          opacity) and CO.
opacity AMP
                    If prior to termination ofthis Consent Decree, the FCCU becomes subject to
                    NSPS Subpart Ja for a particular pollutant due to a "modification"(as that
                    term is defined in NSPS Subpart Ja), the FCCU shall be subject to and
                    comply with NSPS Subpart Ja in lieu of NSPS Subpart J for that regulated
                    pollutant to which a standard applies as a result of the modification.

                    If prior to termination ofthis Consent Decree,the FCCU becomes subject to
                    NSPS Subpart Ja due to a "reconstruction"(as that term is defined in NSPS
                    Subpart Ja), the FCCU shall be subject to and comply with NSPS Subpart Ja
                    for all pollutants in lieu of Subpart J.




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¶¶ 26-28,30,    The units listed below have been permanently shutdown and permits
31: NOX         relinquished in order to demonstrate arefinery-wide reduction of4,744 tpy
Emission        of NOX. If any of the units listed below are restarted, they shall be treated as
Reductions      new emissions units.
from Heaters,     . H-401 A(2 CDU)
Boilers,
Generating        . H-401B(2 CDU)
Turbines and
Compressor         • H-401C(2 CDU)
Engines and
Monitoring         • H-600(Heater in 2 Plat)

                   • H-602(Heater in 2 Plat)

                   • H-603(Heater in 2 Plat)

                   • H-606(Heater in 2 Plat)

                   • H-1401 A (Heater in 3 CDU)

                   • H-1401B (Heater in 1 Vac)

                   • H-1500(Heater in 3DD)

                   • H-1501 (Heater in 3 DD)

                   • H-2101 (Heater in 2 Vac)

                    • H-2102(Heater in 2 Vac)

                    • H-2185 (Heater in 2 Vis)

                    • H-2401 (Heater in SDD)

                    • H-2501 (Naphtha Frac.)

                    • B-1151 (#1 Boiler)

                    • B-1153(#3 Boiler)

                    • B-1154(#4 Boiler)

                    • B-3301 (#6 Boiler)

                    • C-800A,B and C(Compressors in 2DD)

                    • C-2201A, B and C(Compressors in 4DD)


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                      Requirements That Shall Survive Termination of the Consent Decree
CD Paragraph                                under Section XVII.
                        • No. 1 Gas Turbine(G-1101E)

                        • No.2 Gas Turbine(G-1101F)

                        • No. 3 Gas Turbine (G-1101G)

                        • No. 5 Gas Turbine(G-3405)

                        • No.6 Gas Turbine (G-3406)

¶ 34: NSPS           All heaters, boilers, and all other fuel gas combustion devices (other than
Subparts A,J,        Flaring Devices) are affected facilities, as that term is used in 40 C.F.R. Part
 and Ja              60, Subparts A and J or Ja for SOz emissions, and are subject to and shall
 applicability for   comply with the applicable requirements of NSPS Subparts A and J or Ja for
 Heaters, Boilers    S02 emissions for fuel gas combustion devices. The FGCD listed on pages
 and Generating      C-2 and C-3 of Appendix C are subject to NSPS Subpart Ja and the FGCD
 Turbines            listed on pages C-1, C-4 and C-5 of Appendix C are subject to NSPS
(FGCD)               Subpart J.

                     If prior to the termination ofthis Consent Decree, any heater boiler or other
                     fuel gas combustion device (other than a Flaring Device) becomes subject to
                     NSPS Subpart Ja for a particular pollutant due to a "modification"(as
                     defined in NSPS Subpart Ja), the affected facility shall be subject to and
                     comply with NSPS Subpart Ja in lieu of NSPS Subpart J for that regulated
                     pollutant to which a standard applies as a result of the modification.

                     If prior to the termination ofthis Consent Decree, any heater, boiler, or other
                     fuel gas combustion device (other than a Flaring Device) becomes subject to
                     NSPS Subpart Ja due to a "reconstruction"(as defined in NSPS Subpart Ja),
                     the affected facility shall be subject to and comply with NSPS Subpart Ja for
                     all pollutants in lieu of Subpart J.

 ¶35:                Certify, calibrate, maintain and operate all CEMS required by this Paragraph
 Monitoring for      in accordance with the provisions of40 C.F.R. § 60.13 that are applicable to
 Subpart J           CEMS (excluding those provisions applicable only to continuous opacity
 compliance for      monitoring systems) and Part 60, Appendices A and F, and the applicable
 FGCD                performance specification test of40 C.F.R. Part 60, Appendix B.



 ¶¶ 37-40: Fuel      1. Do not burn Fuel Oil greater than 0.55 wt% sulfur at any time or 0.50
 oil sulfur limits   wt% on a 365-day rolling average basis in any heater, boiler, or Generating
                     Turbine.



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                 Requirements That Shall Survive Termination of the Consent Decree
CD Paragraph                           under Section XVII.
               2. Switch the fuel supply for any units combusting Fuel Oil to a Fuel Oil
               with not greater than 0.3 wt% sulfur within one hour of when one ofthe
               following conditions occur:

               a. The hourly average winds blow from a 180° sector, defined as 90° to
               270°, inclusive, where zero degrees is due North, for at least six (6)
               consecutive hours during a 24-hour block period, or any 12 non-consecutive
               hours during a 24-hour block period. Wind direction will be monitored by a
               meteorological tower located on Limetree Bay property, and will be
               collected and reported as 1-hour averages, starting on the hour. If the
               average wind direction for a given hour is from within the 180° sector, the
               wind will be deemed to have flowed from within the designated sector for
               that hour. A 24-hour block period is defined as beginning at midnight and
               ending on the following midnight.

                b. Limetree Bay's meteorological station is inoperable for six consecutive
                hours.

                3. Limetree Bay may switch back to the higher sulfur content Fuel Oil(a
                Fuel Oil with a sulfur content of less than or equal to 0.55 wt%)in
                accordance with the following conditions:

                a. The winds blow outside of the 180° sector, defined as 90° to 270°,for at
                least three(3)consecutive hours, following the period which the winds were
                blowing inside the 180° sector; or

                b. When the meteorological station becomes operable, and three(3)
                consecutive hours of wind conditions outside the 90° to 270° sector have
                occurred.

               4. On a daily basis, monitor the sulfur content of all Fuel Oil burned
               [pursuant to Paragraph 3, above] in accordance with ASTM D2622,D4294,
               or D5453, as follows:

                a. Fuel Oil Supplied from Single Storage Tank:

                i. If the Fuel Oil burned is supplied from a single storage tank for an entire
                day or part thereof, then test the contents ofthe storage tank once per day by
                a sample taken at three(3)levels in the storage tank (i.e., the bottom,
                middle, and top) which is then composited (Composite Sample).

                ii. If the same storage tank is used for more than one day and no Fuel Oil is
                added to the storage tank, then Limetree Bay may use the storage tank
                sample result from the previous day to demonstrate the sulfur content ofthe
                storage tank.

                                          •.
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                     Requirements That Shall Survive Termination of the Consent Decree
CD Paragraph                               under Section XVII.
                   b. Fuel Oil Supplied from Multiple Storage Tanks: If the Fuel Oil burned for
                   one or more consecutive days is supplied from more than one storage tank,
                   then Limetree Bay shall sample each storage tank separately once per day
                   by a Composite Sample taken at three(3)levels in the storage tank (i.e., the
                   bottom, middle, and top).

                   c. In the event that Fuel Oil is added to any storage tank, Limetree Bay shall
                   sample the storage tank by a Composite Sample taken at three(3)levels in
                   the storage tank (i.e., the bottom, middle, and top) before the storage tank is
                   placed into service.

                   5. Record the quantity and sulfur content of all Fuel Oil burned pursuant to
                   [Paragraph 3 above].

¶ 42: NSPS         The East Side SRP is an "affected facility" as that term is used in 40 C.F.R.
Subparts A and     Part 60, Subparts A and Ja and is subject to the requirements of Subparts Ja.
Ja for East and    The West Side SRP is an "affected facility" as that term is used in 40 C.F.R.
West Sulfur        Subparts A and Ja and is subject to Subpart Ja.
Plants

¶ 43: Sulfur pit   Route or re-route all sulfur pit emissions so that they are eliminated or
re-route and       controlled, and included and monitored as part ofthe SRPs' emissions
monitoring         subject to the NSPS Subpart Ja limit for SOz or reduced sulfur compounds,
                   40 C.F.R. § 60.102a(fj.


¶ 44: NSPS for      The West Sidc SRP shall comply with the NSPS Subpart Ja and shall
SRPs                comply with 40 CFR § 60.102a(~ at all times except during periods of
                    Startup, Shutdown, or Malfunction of the West Side SRP or during a
                    Malfunction ofthe TGU. For purposes of determining compliance with the
                    emission limits of40 C.F.R. § 60.102a(~,the "start-up/shutdown"
                    provisions set forth in NSPS Subpart A shall apply.

                    At all times, including during periods of Startup, Shutdown, and
                    Malfunction, and to the extent practicable, operate and maintain the West
                    Side SRP and TGU and any supplemental control devices, in accordance
                    with good air pollution control practices as required in 40 C.F.R. § 60.11(d).

                    Monitor all non-fugitive emission points (stacks) to the atmosphere from the
                    West Side SRP for Tail Gas emissions and shall monitor and report excess
                    emissions, as required by 40 C.F.R. §§ 60.7(c), 60.13, and 60.106a.
                    Conduct emission monitoring with CEMS as all such emission points. The
                    requirement for continuous monitoring is not a plicable to the Acid Gas



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                    Requirements That Shall Survive Termination of the Consent Decree
CD Paragraph                              under Section XVII.
                   Flaring Devices) used to flare Acid Gas and/or Sour Water Stripper Gas
                   diverted from the SRPs.

¶ 45(NSPS for      Emissions of sulfur compounds from the East Side SRP shall be controlled
SRPs)              to comply with NSPS Subparts A and Ja. Do not vent tail gas from the East
                   Side SRP to an incinerator unless such venting complies with NSPS
                   Subparts A and Ja.



¶ 49, 51,53, and   The #2 Flare(H-1105),#3 Flare (H-1104),#5 Flare (H-3351),#6 Flare(H-
S4: Flares         3352),#7 Flare (H-3301),FCC HP Flare, FCC LP Flare, and LPG Flare are
Subpart Ja         affected facilities under NSPS Subpart Ja and shall comply with NSPS
applicability      Subpart Ja, provided that the Flaring Device is combusting fuel gas as
only               defined in 40 C.F.R. § 60.101a.

                   At all times and to the extent practicable, including during periods of
                   Startup, Shutdown, and/or Malfunction, implement good air pollution
                   control practices for minimizing emissions from the Flaring Devices
                   identified in Appendix D consistent with 40 C.F.R. § 60.11(d).

                   For continuous or intermittent, routinely-generated refinery fuel gases that
                   are combusted in any Flaring Device identified in Appendix D,comply with
                   40 C.F.R. § 60.103a(h).

                   The combustion of gases generated as a result of Startup, Shutdown, and/or
                   Malfunction of a refinery process unit or released to a Flaring Device as a
                   result of a process upset or relief valve leakage or other emergency
                   malfunction is exempt from the requirement to comply with 40 C.F.R. §
                   60.103a(h).

¶99 NSPS QQQ FCCU and Coker Drain Systems are affected facilities under Subparts A and
             QQQ•


¶¶ 128-131,        1. Limetree Bay shall not generate or use any NOX,502,PM,PM-10,PM-
limitations on     2.5, VOC,or CO emissions reductions, or apply for and obtain any emission
use of CD          reduction credit, that result from any projects conducted or controls utilized
required           pursuant to the Consent Decree (Civ. No. 1:11-cv-0006)("CD Emissions
emissions          Reductions") as netting reductions or emissions offsets in a PSD,major non-
reductions         attainment, and/or synthetic minor New Source Review permit or permit
                   proceeding.

                   2. Notwithstanding the general prohibition set forth in Paragraph 1,
                   Limetree Bay may use 41 tons per year of NOX,61 tons per year of CO,and
                   14 tons er ear ofPM from CD Emissions Reductions as credits or offsets
                                            •:
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                 Requirements That Shall5urvive Termination of the Consent Decree
CD Paragraph                           under Section XVII.
               in any PSD,major non-attainment and/or minor NSR permit or permit
               proceeding, provided that the new or modified emissions units at which
               credits are being used:(1)is being constructed or modified for purposes of
               compliance with clean fuels requirements(72 Fed. Reg. 8428, amending 40
               C.F.R. Part 80); and(2)has a federally enforceable, non-Title V permit that
               reflects the following requirements that are applicable to the pollutants for
               which credits are being used:

                    a. For heaters and boilers, a limit of0.0271bs NOX per million BTU on
                a 3-hour rolling average basis;

                    b. For heaters and boilers, a limit of0.10 grains of hydrogen sulfide per
                dry standard cubic foot offuel gas or 20 ppmvd S02 corrected to 0% 02
                both on a 3-hour rolling average;

                   c. For heaters and boilers, no liquid or solid fuel firing authorization;

                   d. For FCCUs,a limit of 20 ppmvd NOX or less on a 365-day rolling
                average basis corrected to 0% Oa;

                   e. For FCCUs,a limit of25 ppmvd SOZ or less on a 365-day rolling
                average basis corrected to 0% 02;

                   f. For FCCUs,a limit of 0.5 pounds ofPM per 1,000 pounds of coke
                burned on a 3-hour average basis; and

                    g. For SRPs, NSPS Subpart J limits.

                3. Utilization of the exception set forth in Paragraph 2 to the general
                prohibition against the generation or utilization of CD Emissions Reductions
                set forth in Paragraph 1 is subject to the following conditions:

                   a. Under no circumstances shall Limetree Bay use CD Emissions
                Reductions for netting and/or offsets prior to the time that actual CD
                Emissions Reductions have occurred;

                   b. CD Emissions Reductions may be used only at the Limetree Bay
                Refinery;

                    c. The CD Emissions Reductions provisions ofthis Consent Decree are
                for purposes ofthis Consent Decree only and neither Limetree Bay, nor any
                other entity may use CD Emissions Reductions for any purpose, including in
                any subsequent permitting or enforcement proceeding, except as provided
                herein.



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                   Requirements That Shall Survive Termination of the Consent Decree
CD Paragraph                             under Section XVII.
                      d. Limetree Bay shall remain subject to all federal, territorial, and local
                  regulations applicable to the PSD, major non-attainment and/or minor NSR
                  permitting process.

                 4. Outside the Scope ofthe General Prohibition. Nothing in the Consent
                 Decree (Civ. No. 1:11-cv-0006) is intended to prohibit Limetree Bay from
                 seeking to:

                     a. Use or generate netting reductions or emission offset credits from
                 refinery units that are covered by the Consent Decree (Civ. No. 1:11-cv-
                 0006)to represent the difference between the emissions limitations set forth
                 in or established pursuant to the Consent Decree (Civ. No. 1:11-cv-0006)
                 for such refinery units and the more stringent emissions limitations that
                 Limetree Bay may elect to accept for those refinery units in a permitting
                 process;

                      b. Use or generate netting reductions or emission offset credits for
                  refinery units that are not subject to an emission limitation pursuant to the
                  Consent Decree (Civ. No. 1:11-cv-0006);

                      c. Use emissions reductions from the installation ofcontrols required
                  by the Consent Decree (Civ. No. 1:11-cv-0006) in determining whether a
                  project that(a)includes both the installation of controls under the Consent
                  Decree (Civ. No. 1:11-cv-0006) and other construction and(b)is permitted
                  as a single project triggers major New Source Review requirements;

                     d. Use CD Emission Reductions for Limetree Bay's compliance with
                  any rules or regulations designed to address regional haze or the non-
                  attainment status of any area(excluding PSD and Non-Attainment New
                  Source Review rules)that apply to Limetree Bay; provided, however,that
                  Limetree Bay shall not be allowed to trade or sell any CD Emissions
                  Reductions; or

                      e. Use or generate netting reductions or emission offset credits for
                  heaters, boilers, Generating Turbines and Compressor Engines on which
                  Qualifying Controls, as defined in Paragraph 23 ofthe Consent Decree (Civ.
                  No. 1:11-cv-0006), have been installed, provided that such reductions are
                  not included in Limetree Bay's demonstration of compliance with the
                  requirements of Paragraphs 24, 26, 27 and 28 ofthe Consent Decree (Civ.
                  No. 1:11-cv-0006).

~~ 132.b: Coker Comply with a depressurization level of2 psig for the Coker Steam Vents.
steam vent
depressurization
limit

                                             0-10
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                            Requirements That Shall Survive Termination of the Consent Decree
CD Paragraph                                      under Section XVII.
                                                                   Averaging
¶ 133 and Appx              Pollutant    Limit        Units          Time
                                                                                             Monitoring
H: Coker                                                          Average of        Annual Performance Test
                            CO            0.030     Ib/mmBTU
Heater(two                                                        3 1-hr            (EPA RM-10)
                                                                  samples
units) CO and
VOC limits                                          lb/mmBTU      N/A               EPA RM-25 or RM-25A
                            VOC          0.0050
                                                                                    following any CO test
                                                                                    exceedance


                                                                   Averaging
¶ 133 and Appx              Pollutant    limit        Units          Time                    Monitoring
H: Boiler 10                              0.070     Ib/mmBTU      Average of        Annual Performance Test
                            CO
CO and VOC                                                        3 1-hr            (EPA RM-10)
                                                                  sam les
IlII11tS
                            VOC          0.0050     Ib/mmBTU       N/A              EPA RM-25 or RM-25A
                                                                                    following any CO test
                                                                                    exceedance


                            Po11utant    Limit        Units        Avera in Time               Monitorin
¶ 133 and Appx
                                            162     ppmvd          Hourly rolling        NSPS RSC CEMS(40
H'SRUs 1 &                                                         12-hr average         C.F.R. 60 App A,B,& F)
2Beavon 1,
Reduced Sulfur               Rsc                    ppmvd          Daily rolling 30-     NSPS RSC CEMS(40
                                             66
                                                                   day average           C.F.R. 60 App A, B,& F)
Compound as
defined in 40
CFR 60.101a,
final limits

                            p~~~utflnt    Limit                               Monitorin
¶ 133 and Appx
                            VOC          Ext.        Subpart Kb monitoring(40 C.F.R. §60.113b(b))for Ext.
H' EFR Tank                              Floating    Floating Roof Kb requirements: Seal gap measurements
and Subpart Kb                           Roof        (Secondary once/yr, Primary once/5 yrs).
requirements                             T~k         Inspect seals and fittings each time the vessel is emptied and
                                                     degassed.


 No. 6 Sour Water
 Stripper Tank(TK-
  1071),
 Desalter Effluent Water
 (DEVIL Tank (TK-1663)




                             pollutant    Limit                               Monitorin
¶ 133 and Appx
                             VOC                     Subpart Kb monitoring(40 C.F.R. §60.110b-117b)
H' Fixed Roof                            Fixed
                                         Roof        Record and maintain records documenting the material
Tank and                                 Tank        stored in the hot pitch storage tank (TK-8501),showing that
Subpart Kb                                           the tank remains exempt from control requirements in
                                                     accordance with 40 C.F.R. 60 Subpart Kb, §60.110b(b).
requirements
 Coker Charge [Pitch]Tank
(TK-8501)




                                                                  0-11
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                         Requirements That Shall Survive Termination of the Consent Decree
CD Paragraph                                   under Section XVII.



¶ 133 and Appx           Pollutant      Limit                             Monitorin
                         VOC         40 C.F.R.        Comply with 40 C.F.R. Part 60,Subpart GGGa
H' LDAR
                                     Part 60,
                                     Subpart
Process equipment                    GGGa
located in
 Coker Unit,
 Coker Cias Ylant,
 No. 7 Amine,
 No. 5 Crude,
 No. 3 Vacuum, No. 3
 Crude,
No. 1 Vacuum,No. 1
Visbreaker, and No. 2,
4,6,& 7 Distillate
Desulfurizer Units and
outside battery limit
modifications to the
terminal, tank farm &
blending equipment

                                                              Design/Work Practice
¶ 133 and Appx           Emissions Unit          Pollutant         Controls                 Monitorin
H page H-3:                                                                              Maintain records
                            Coke                PM (all      High Pressure water
e9UlPment                   Cutting/Coke        species)     cutting of coke &           documenting
                                                             enclosed drop zones/coke    design
design and work             Pit
                                                              `t ° r°°
practices for
coke handling
                             Coke Crusher       PM (all      Enclosed" crusher           Maintain records
                                                species)     strucUire. Moisture         documenting
                                                             content control from        design
                                                             initial cuttin .
Coke Handling,
Storage and Loading
Facility                     Coke Transfer      PM (all      Enclosed° conveyor to       Maintain records
                             to Storage         species)     storage, Moisture content   documenting
                                                             control from initial        design
                                                             cuttin .


                             Coke Storage       PM (all      Enclosed" storage           Maintain records
                                                species)     buildings, baghouse for     documenting
                                                             vent control, and           design
                                                             moisture content control
                                                             from initial cuttin .


                             Coke Loading       PM (all      Enclosedb conveyor to       Maintain records
                                                species)     loading dock."Spout'        documenting
                                                             containment loading to      design
                                                             minimize drop emissions
                                                             when loading ship.


                         b Enclosed structures can have ventilation vents or access ways.


                                                             0-12
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                    Requirements That Shall Survive Termination of the Consent Decree
CD Paragraph                              under Section XVII.



¶ 135 Boilers 5,   Boilers 5, 8, and 9 are "affected facilities" as that term is used in 40 C.F.R.
8,and 9, NSPS      Part 60, NSPS Subparts A and D and are subject to and required to comply
Subparts A and     with the requirements of NSPS Subparts A and D.
D


¶ 136 [as          Generating Turbines 4,7, 8 and 9 are "affected facilities" as that term is used
modifiedJ:         in, and shall comply with,40 C.F.R. Part 60, Subparts A and GG,including
Turbines 1-9,      any custom sulfur monitoring plan approved by EPA in accordance with 40
NSPS Subparts      CFR 60.334(1)(3).
A and GG




                                              0-13
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                                         APPENDIX P
                                   Flaring Mitigation Projects

   The flaring mitigation projects include those listed below and any others submitted by
   Limetree Bay for advance approval by EPA and VIDPNR (“approved mitigation projects”).
   Pursuant to Paragraph 50A, Limetree Bay will achieve emission reductions sufficient to
   satisfy the Mitigation Amount, if any, by implementing one or more of the approved
   mitigation projects.

   Limetree Bay will begin implementing one or more of the approved mitigation project(s) by
   no later than 180 days after submitting the notification required by Paragraph 50C.b.iii, and
   will mitigate a minimum of 10 tons per year until the Mitigation Amount is satisfied.

   Progress on the implementation of the approved mitigation projects including, the start and
   end date(s) of an approved mitigation project, the approved mitigation project(s) being
   implemented, the number of tons reduced during the reporting period, the tons remaining to
   be mitigated, and the completion of the mitigation of the Mitigation Amount, will be
   included in the semi-annual reports submitted under Paragraph 143.

A. Approved Mitigation Projects

   The following projects are approved:

   1. Reducing H2S in Refinery Fuel Gas: If this project is selected for implementation, then
      Limetree Bay shall reduce the SO2 emissions from fuel gas combustion devices (other
      than the Coker heaters, Boiler 10 and GT-13) by reducing H2S in fuel gas.

      The emission reductions achieved pursuant to this project shall be calculated based on the
      difference between the average H2S concentration during the first six months after restart
      of Refinery Operations (“Baseline Period”), excluding periods of non-compliance, and
      the actual H2S concentration in the East Side refinery fuel gas system (using the H2S
      analyzers used to comply with NSPS Subpart J) after the Baseline Period. The tons of
      SO2 reduction will be determined based on the change in H2S concentration, relative to
      the Baseline Period, and the total volume of fuel gas to fired sources on the East Side,
      each year after the Baseline Period.

   2. Boutique Amines to Reduce SO2 from the TGTU

      If this project is selected for implementation, then Limetree Bay shall reduce SO2
      emissions by using specialized amines in its East Side tail gas treatment unit by reducing
      H2S and other sulfur compounds.

      The emission reductions achieved pursuant to this project shall be calculated based on the
      difference between the monitored SO2 concentration from the incinerator stack for the
      first six months of operations, excluding periods of noncompliance, after restart of
      Refinery Operations (“Baseline Period”) and each year after the Baseline Period.


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     3. Boutique Amines to Reduce Other Sulfur Compounds in Fuel Gas:

        If this project is selected for implementation, Limetree Bay shall reduce SO2 emissions
        from fuel gas combustion devices by decreasing the total sulfur concentration of fuel gas
        through the use of amines designed specifically to lower the concentration of sulfur
        compounds other than H2S.

        The emission reductions achieved pursuant to this project shall be calculated based on the
        difference between the total sulfur concentration during the first six months after restart
        of Refinery Operations, excluding periods of non-compliance (“Baseline Period”), and
        the total sulfur concentration in the East Side refinery fuel gas system after the Baseline
        Period. The tons of SO2 reduction will be determined based on the change in total sulfur
        concentration, relative to the Baseline Period, and the total volume of fuel gas to fired
        sources on the East Side, each year after the Baseline Period.

B.      Approval of Other Mitigation Projects

     1. Limetree Bay may propose other or additional projects for approval by EPA and
        VIDPNR. The written proposal shall contain a written description of the project(s), the
        emission reductions expected to be achieved, the anticipated start and end dates for the
        project(s), and any other relevant information describing the project(s). EPA and
        VIDPNR shall consult with each other and, if necessary, with Limetree Bay regarding the
        proposed project(s). Following such consultation and review, EPA and VIDPNR shall
        either approve the project(s) or provide written comments to Limetree Bay. If approved
        and selected for implementation, then Limetree Bay shall implement the project(s). If
        written comments are provided by EPA and VIDPNR, Limetree Bay shall either revise
        the written description of the project(s) to reflect the comments, withdraw the proposal,
        or submit an alternate proposal.

C.      Certification

     1. With regard to the approved mitigation projects, Limetree Bay shall include in the
        notification required by Paragraph 50C.b.iv. (or, if applicable, in the written proposal for
        other or additional project(s)), a certification of the truth and accuracy of each of the
        following:

            a. That, as of the date of the 50C.b notification (or the proposal for additional or
               alternate project(s)), Limetree Bay is not required to perform or develop the
               mitigation project(s) by any federal, state, or local law or regulation and is not
               required to perform or develop the mitigation project(s) by agreement, grant, or as
               injunctive relief awarded in any other action in any forum;

            b. That the mitigation project(s) are not projects that Limetree Bay was planning or
               intending to construct, perform, or implement other than in settlement of the
               potential violations resolved in the First Modification;

            c. That Limetree Bay has not received and will not receive credit for the mitigation
               project(s) in any other enforcement action; and

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        d. That Limetree Bay shall neither generate nor use any pollutant reductions from
           the mitigation project(s) as netting reductions, pollutant offsets, or to apply for,
           obtain, trade, or sell any pollutant reduction credits.




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                              APPENDIX Q




                                    Q-1
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Director                                             United States Environmental Protection
Air Enforcement Division                             Agency
Office of Civil Enforcement (2242A)                  Region 2
Office of Enforcement and Compliance                 Office of Regional Counsel
Assurance                                            290 Broadway
U.S. Environmental Protection Agency                 New York, NY 10007
1200 Pennsylvania Ave., N.W.
Washington, DC 20044                                 Director, Caribbean Environmental Protection
foley.patrick@epa.gov                                Division
                                                     U.S. EPA Region 2
Director                                             City View Plaza II, Suite 7000
Air Enforcement Division                             #48 Rd. 165 km 1.2
Office of Civil Enforcement                          Guaynabo, PR 00968-8069
c/o Matrix New World Engineering, Inc.
26 Columbia Turnpike, Suite 200                      Director, Division of Environmental Protection
Florham Park, NJ 07932-2213                          Virgin Islands Department of Planning and
jmack@matrixneworld.com                              Natural Resources
                                                     45 Estate Mars Hill
Director                                             Frederiksted, St. Croix, U.S. Virgin Islands
Enforcement and Compliance Assistance                00840-4474
Division                                             jp.oriol@dpnr.vi.gov
U.S. EPA Region 2
290 Broadway, 21st Floor
New York, NY 10007-1866
patel.harish@epa.gov


       Re:    United States of America and The United States Virgin Islands v. HOVENSA, L.L.C.
              Civil Action No. 1:11-cv-0006

To Whom It May Concern:

       As you are aware, I was appointed as the independent member of HOVENSA’s Executive
Committee pursuant to that letter agreement dated June 4, 2015 and currently serve as Manager of
HOVENSA, L.L.C. on the terms set forth in the (i) Order Granting Final Approval of Disclosure
Statement and Confirming Chapter 11 Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy
Code (Case No. 1:15-bk-10003-MFW) (Bankr. D.V.I. 2015) [Docket No. 572] and (ii) Debtor’s
Second Amended Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code (Case No. 1-15-
bk-10003-MFW (Bankr. D.V.I. 2015) [Docket No. 572-1].

      As of June 30, 2019, HOVENSA, L.L.C. has taken the actions described in the table below in
completion and satisfaction of the Consent Decree requirements identified therein.


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CD ⁋                CD Requirement                                Activities Undertaken


                             Sections V.A through V.E – FCCU
 11    Limit NOX emissions from the FCCU to 20          NOX emission limits have not been
       ppmvd or less on a 365-day rolling average       exceeded.
       and 40 ppmvd or less on a 7-day rolling
       average, each at 0% O2.
 12    Demonstrate compliance with FCCU NOX             Operated pre-existing CEMS during FCCU
       emission limits by installing, maintaining,      operation, maintained them, and performed
       and operating CEMS and performing                RATAs when due.
       RATAs once every three years.
 13    Limit SO2 emissions from the FCCU to 16          SO2 emission limits have not been
       ppmvd or less on a 365-day rolling average       exceeded.
       and 25 ppmvd or less on a 7-day rolling
       average, each at 0% O2.
 14    Demonstrate compliance with FCCU SO2             Operated pre-existing CEMS during FCCU
       emission limits by installing, maintaining,      operation, maintained them, and performed
       and operating CEMS and performing                RATAs when due.
       RATAs once every three years.
 16    Submit FCCU PM stack test protocol               Protocol submitted on 8/23/2011.
       specified in 40 C.F.R. § 60.106(b)(2) .
 18    Limit CO emissions from the FCCU to 500          CO emission limit has not been exceeded.
       ppmvd or less on a 1-hour block average
       basis corrected to 0% O2.
 21    Demonstrate compliance with FCCU CO              Operated pre-existing CEMS during FCCU
       emission limits by installing, maintaining,      operation, maintained them, and performed
       and operating CEMS and performing                RATAs when due.
       RATAs once every three years.
 22    Comply with NSPS Subparts A and J for SO2        Emission limits have not been exceeded and
       and CO.                                          CEMs operated during FCCU operation.
 Section V.F - NOX Emissions Reductions from Heaters, Boilers, Generating Turbines, and
                                 Compressor Engines
 26    Install sufficient Qualifying Controls and       Compressor IC engines shutdown and
       apply for emission limits from the               permits surrendered, per Para. 23.e;
       appropriate permitting authority sufficient to   replaced with electric motors prior to Date
       achieve 1,079 tpy NOX emissions reductions.      of Lodging.

       Submit a report to EPA showing how               Report submitted 8/31/15, demonstrating
       refinery satisfied requirement of Paragraphs     compliance.
       23 and 26.
 27    Install sufficient Qualifying Controls and       Permanent emissions unit shutdown and
       apply for emission limits from the               surrender of permits by letter, 2/28/17, per
       appropriate permitting authority sufficient to   Para. 23.e.
       achieve 3,663 tpy NOX emissions reductions.


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CD ⁋                  CD Requirement                                Activities Undertaken


        Submit a report to EPA showing how                Report submitted 10/27/17 demonstrating
        refinery satisfied requirement of Paragraphs      compliance and confirming shutdown and
        23 and 27.                                        permit surrender application.
 28     Install sufficient Qualifying Controls and        Permanent emissions unit shutdown and
        apply for emission limits from the                surrender of permits by letter of 5/30/19, per
        appropriate permitting authority sufficient to    Para. 23.e.
        achieve 4,744 tpy NOX emissions reductions.

        Submit a report to EPA showing how           Report submitted 9/3/19 demonstrating
        refinery satisfied requirement of Paragraphs compliance and confirming shutdown and
        23 and 28.                                   permit surrender application.
 29     Submit a detailed NOX Control Plan to EPA Initial NOX control plan submitted 10/4/11.
        for review and comment and to DPNR.
 29     Submit annual updates of NOX Control Plan NOX control plan update submitted
        to EPA and DPNR.                             annually.
Section V.G SO2 Emissions Reductions from, and NSPS Applicability to, Heaters, Boilers and
                                      Generating Turbines
 34     Applicability and compliance of Heaters,     H2S fuel gas concentration standard has not
        Boilers, and Other Fuel Gas Combustion       been exceeded.
        Devices with NSPS Subparts A, J and/or Ja,
        as applicable.
 35     H2S/SO2 monitoring requirements of NSPS      Operated CEMS during unit fuel gas
        Subparts A and J or Ja, as applicable.       combustion operations.
                    Section V.H Sulfur in Fuel Restrictions for Oil Burning
 37     Effective 30 days after Date of Lodging, no       Did not burn Fuel Oil in excess of specified
        longer burn Fuel Oil greater than 0.55 wt %       concentrations in para. 37.
        sulfur at any time or 0.50 wt % on a 365-day
        rolling average basis in any heater, boiler, or
        Generating Turbine.
 38     Switch the fuel supply for any units              Did not burn Fuel Oil with greater than 0.3
        combusting Fuel Oil to a Fuel Oil with not        wt% sulfur.
        greater than 0.3 wt % sulfur within one hour
        when (a) the hourly average winds blow
        from a 180 degree sector for at least 6
        consecutive hours during a 24-hour block
        period, or any 12 non-consecutive hours
        during a 24-hour block period or (b) the
        meteorological station is inoperable for six
        consecutive hours.




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 CD ⁋                  CD Requirement                               Activities Undertaken

  39      Switch back to the higher sulfur content Fuel   Did not burn Fuel Oil with greater than 0.3
          Oil in accordance with conditions at 39.a or    wt% sulfur.
          b.
                                Section V.I Sulfur Recovery Plants.
  42     For East Side SRP, comply with applicable        East Side SRP did not exceed applicable Ja
         NSPS Subpart Ja provisions.                      emission standards.
42, 44.a For West Side SRP, comply with applicable        West Side SRP did not exceed applicable
         NSPS Subpart J/Ja provisions.                    NSPS J or Ja emission standards. West Side
                                                          SRP complied with NSPS J and converted
                                                          to Ja compliance by 12/31/11.
  43      Route or re-route all sulfur pit emissions so   Control installed on 12/28/2011, routing all
          they are eliminated or controlled and           West Side sulfur pit emissions back to the
          included and monitored as part of the SRPs’     SRP. Continued to comply with requirement
          emissions subject to the NSPS Subpart Ja        for West Side SRP sulfur pits during unit
          limit for SO2 or reduced sulfur compounds       operation.
          (40 C.F.R. § 60.102a(f)) for the East and
          West Side SRP sulfur pit emissions.             East Side SRP not in operation on
                                                          applicability date, 12/31/14. Did not exceed
                                                          applicable NSPS Ja emission standards.
 44.a     Install SO2 CEMS on West Side incinerators.     Installation of CEMS completed 4Q 2010.
 44.c     Monitor West Side SRP tail gas emissions        CEMS installed, RATA completed 6/11,
          points.                                         monitoring and reporting continued while
                                                          unit in operation.
 45.a.    Submit compliance plan and schedule for         Compliance plan and schedule submitted
          installation of second East Side TGU to EPA     12/16/11.
          and DPNR.
45.b.ii   Complete an optimization study to minimize Optimization study completed and
          emissions of sulfur compounds and              submitted 12/2/11.
          maximize sulfur recovery efficiencies at the
          East Side SRP meeting the requirements of
          Paragraph 46 and submit study to EPA.
 46.b     Incorporate results of optimization study into Results incorporated into PMO plan,
          PMO Plan.                                      submitted 12/7/11 (see 48.a.).
 48.a.    Submit a “Preventative Maintenance             Submitted PMO Plan 12/7/2011.
          Operation Plan” (PMO Plan) for SRU and
          SAR to EPA and DPNR.
                                  Sections V.J through V.O – Flares
  49      For listed Flaring Devices, comply with        Fuel gas standard not exceeded.
          applicable requirements of NSPS Subpart Ja
          by dates listed in Appendix D.
  51      Comply with applicable monitoring              Complied with applicable monitoring
          requirements of NSPS Ja by 6/7/14 for Flare requirements as of 6/7/14 when combusting


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CD ⁋                   CD Requirement                                Activities Undertaken

          7.                                               fuel gas.
  52      Submit a Compliance Certification to EPA         Submitted certification on 7/7/16 (HP, LPG
          that HP, LPG, LP, 2, and 3 Flaring Devices       Flares).
          comply with the emission standards and
          monitoring requirements of Subparts J/Ja,        Submitted certification on 7/11/18 (LP, 2
          specifying the compliance method for each        and 3 Flares).
          respective Flaring Device.
  58      Submit a corrective action report to minimize    Corrective action report submitted 6/7/11.
          the likelihood of a recurrence of Root Cause
          of flaring event included in look-back
          analysis previously sent to EPA.
59-61     Investigate (no later than 45 days post-         No Acid Gas Incidents.
          incident) and take corrective actions for any
          Acid Gas Flaring Incidents, prepare report.
59, 60,   Investigate (no later than 45 days post-         Tail Gas Incidents investigated and reports
61, 70    incident) and take corrective actions for any    prepared.
          Tail Gas Flaring Incidents, prepare report.
  71      Submit semi-annual report that includes each     Incident Reports submitted with semi-
          Acid Gas Flaring Incident and Tail Gas           annual reports, last Incident Report
          Incident reports during relevant period.         submitted with July 2012 semiannual report.
  72      For any Hydrocarbon Flaring Incidents,           Incident Reports submitted with semi-
          follow investigative, reporting and corrective   annual reports, last Incident Report
          action procedures as set forth in paragraphs     submitted with January 2015 semiannual
          60 and 61.                                       report.
  72      Investigate (no later than 45 days post-         Hydrocarbon Flaring Incidents investigated
          incident) and take corrective actions for any    and reports prepared.
          Hydrocarbon Flaring Incidents.
            Sections V.P through V.R – Benzene NESHAP, NSPS QQQ, and LDAR
 79.a.    Complete Phase One Review and                    Completed Phase One Review and
          Verification of Refinery TAB and its             Verification 1/20/12.
          compliance with the Benzene Waste
          NESHAP.

          Submit BWON Compliance Review and                Submitted report 3/22/12.
          Verification Report.
79.b.     Conduct any additional required sampling by      No samples requested.
          EPA and submit amended BWON
          Compliance Review and Verification Report.
 80.a.    Amend TAB Reports (if necessary due to           Amended TAB Report not necessary.
          inaccuracies or not meeting requirements of
          40 C.F.R. § 61.357(c)).
80.b.     Submit to EPA and DPNR compliance plan           Compliance plan submitted, 9/14/12.
          (if results of BWON Compliance Review


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CD ⁋                 CD Requirement                               Activities Undertaken

        and Verification Report identify any
        compliance issues).
 81     Conduct inspections in accordance with the      All required inspections completed.
        three-tier system for control of vents
        associated with the Subpart FF wastewater
        collection system.
82.a.   Complete BWON lab audit prior to                Initial audit completed 1/26/12.
        conducting Phase One Review and
        Verification to analyze benzene waste
        NESHAP samples to ensure proper
        analytical and QA/QC procedures are
        followed.
82.b.   Conduct audits for each lab continuing to       Subsequent audits completed 3Q 2013, 3Q
        perform BWON sample analyses every 2            2015, and 3Q 2017.
        years.
 83     Continue to use management of change            Used management of change procedures to
        procedures to review process information        review process information and construction
        and construction projects to ensure all new     projects.
        benzene waste streams are included in waste
        stream inventory.
84.a.   Complete development of SOPs for all            Development of standard operating
        control equipment used to comply with the       procedures for benzene stripper (only
        benzene waste NESHAP.                           “control equipment” used) completed.
84.b.   Develop BWON training program.                  Initial program completed.

        Submit to EPA.                                  Submitted 3/7/12.
85.a.   Submit a plan for quantifying waste/slop/off-   Plan and schematics submitted 1/26/12.
        spec oil movements for all benzene waste
        streams that are not controlled at the
        Refinery, along with schematics.
 86     Submit benzene waste operations sampling        Sampling plan submitted to EPA and DPNR
        plans designed to describe the sampling of      1/26/12.
        benzene waste streams to EPA and DPNR.
 88     Implement and continue to implement the         Sampling plan implemented and streams
        sampling plan for benzene waste operations      monitored.
        sampling plans at the required time.

89.a    Upon determination that a sampling plan is      Sampling Plan revised and submitted
        no longer accurate, submit BWON sampling        6/29/12 to reflect idling of refinery.
        plan revisions to EPA and DPNR for
        approval.
 90     Calculate a quarterly and projected annual      Quarterly and projected annual uncontrolled
        uncontrolled benzene quantity.                  benzene quantity calculated.



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CD ⁋                     CD Requirement                                Activities Undertaken

  91       Submit calculations of uncontrolled benzene       Submitted calculations of benzene quantity
           quantity releases with reports.                   with quarterly Subpart FF reports.
93.a.iii   Conduct monitoring of API Separators 1, 2,        Monitoring of in-service API Separators
           & 3 or any new Subpart FF-regulated               conducted.
           oil/water separators (as described in 93.a.iii.
           (1)-(3)).
  95       Record and submit information pursuant to         Recorded and reported sampling results,
           40 C.F.R. § 61.357(d)(6) and (7) on               TAB, training and lab audit results with
           sampling results, training, and laboratory        quarterly Subpart FF reports.
           audits.
  98       Submit copies of reports, plans and               Reported sampling results, TAB, training
           certifications to EPA, EPA Region 2 and           and lab audit results in quarterly Subpart FF
           DPNR.                                             reports.
  99       Prepare and submit compliance plan to EPA         Compliance Plans submitted 12/16/11 and
           specifying projects necessary to bring the        1/16/2012.
           FCCU and Coker Drain Systems into
           compliance with 40 C.F.R. Subpart QQQ.
  99       Complete FCCU and Coker Drain Systems             Projects submitted as part of 12/16/11
           projects described above for compliance with      Compliance Plan reported as complete as of
           40 C.F.R. Subpart QQQ.                            6/30/11.

                                                             Projects submitted as part of 1/16/2012
                                                             Compliance Plan were field verified as
                                                             complete.
 102       Submit to EPA a plan and schedule for             Plan and schedule submitted 4/25/11.
           bringing Refinery into compliance with 40
           C.F.R. Part 60, Subpart GGG and
           requirements of CD.
 103       Develop and maintain written refinery-wide        Initial Refinery-wide LDAR program of
           program for compliance with applicable            10/26/11 superseded by Revision 1 effective
           LDAR regulations and requirements of CD.          1/1/2012.

           Submit copy to EPA with next semi-annual          Revision 1 submitted with semi-annual
           report.                                           LDAR report for 2nd semi-annual period of
                                                             2011.
105.a.     Develop and submit to EPA the LDAR                LDAR training program submitted 3/7/12.
           training program.
105.c.     Provide training on LDAR responsibility           Initial training completed by 6/7/13 and
           relevant to Refinery operations and               three-year retraining completed through
           maintenance personnel.                            12/31/16.
106.a.     Complete a refinery-wide third-party audit of     Initial audit completed by 1/26/12.
           compliance with LDAR Regulations and
           applicable sections of CD.



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 CD ⁋                   CD Requirement                                Activities Undertaken


           Submit noncompliance report from third-          Report and compliance schedule submitted
           party audit.                                     2/15/12.

106.a.i    Submit to EPA that the Refinery is in            Certification of compliance with LDAR
           compliance with LDAR Regulations.                Regulations submitted 6/7/12.
106.b.i    Retain independent contractor to perform 3rd     Audit completed 3/3/16.
           party audit of LDAR program compliance
           with applicable LDAR Regulations and
           applicable CD requirements at least once
           every four years.
106.b.ii   Conduct internal audits of the LDAR              Internal audits completed 1Q 2014, 3/12/18.
           program compliance with applicable LDAR
           Regulations, by 1Q 2014 and at least once
           every four years thereafter.
  107      Implement all appropriate steps to correct       Implementation of identified corrective
           areas of non-compliance identified in            actions to correct areas of non-compliance
           subsequent audits.                               identified in 2016 third party audit included
                                                            in 7/15/16 LDAR Semi-Annual Report.
                                                            Implementation of corrective actions to
                                                            correct areas of non-compliance identified
                                                            in 2014 and 2018 internal audits included in
                                                            7/28/2014 and 7/18/18 LDAR Semi-Annual
                                                            Report, respectively.

           Submit results of subsequent audits to EPA.      March 2016 third-party audit results
                                                            submitted with 7/15/16 LDAR Semi-Annual
                                                            Report. Internal audit results submitted
                                                            with relevant LDAR Semi-Annual Report.
  109      Utilize lower leak definitions for valves and    Lower leak definitions were utilized
           pumps, as defined in 109.a. and 109.b.           beginning August 2012 and continued to be
                                                            utilized.
  111      Record, track, repair, and remonitor all leaks   Complied with recording, tracking and
           in excess of the internal leak definitions in    repair requirements.
           Paragraph 109.
112.a.i    Perform external valve surveys in                Surveys conducted, beginning 7/26/12.
           accordance with Appendix G.
112.a.ii   Perform valve stuffing box condition surveys     Surveys conducted, beginning 7/26/12.
           in accordance with Appendix G.
112.b.     Repack or replace valves prior to or during      Repack/replace conducted, beginning
           process unit turnarounds or tank outages in      7/26/12.
           accordance with Appendix G.
112.c.     Ensure newly installed valves are fitted with    Proper packing used, beginning 7/26/12.
           proper packing or valve technology designed


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CD ⁋                  CD Requirement                              Activities Undertaken

         to prevent leaks above 100ppm for a period
         of five years after installation.
112.d.   Establish a comprehensive tracking database    Tracking database established, beginning
         for Paragraph 112.d information (Valve         7/26/12.
         Preventative Leak Maintenance Program).
112.e.   Analyze information in 112.d database every    Analyses completed by 7/26/14 and
         two years after effective date (Valve          subsequent analyses completed in 2016 and
         Preventative Leak Maintenance Program          2018, results of evaluation reported in
         components) and report evaluation to EPA       LDAR Semi-Annual reports submitted
         with semiannual report.                        1/7/15, 1/20/17 and 1/30/19.
113.a.   Monitor pumps at lower leak definition on a    Monitoring conducted.
         monthly basis.
113.b.   Monitor valves according to the monitoring     Monitoring conducted.
         frequencies required by 40 C.F.R. §§ 60.482-
         7 and 60.483-2, except when monthly
         monitoring is required.
 114     Record all LDAR monitoring and repair data     Database established and commenced
         in electronic database.                        recording data prior to Date of Lodging.
 115     Collect electronic data during LDAR            System was in place before Date of Lodging
         monitoring and perform appropriate data        and maintained, with uploading times
         transfer.                                      consistent with Paragraph.
 116     Develop procedure for QA/QC of LDAR-           Procedure developed.
         generated data.
 117     Maintain program for personnel                 LDAR accountability program and position
         accountability and position for LDAR           for LDAR management maintained,
         management.                                    beginning 1/26/11.
 118     Implement tracking program for maintenance     Database was in place and maintained,
         and (Management of Change) to ensure           beginning 1/26/11.
         valves and pumps subject to LDAR
         Regulations and the CD are integrated into
         the LDAR program.
 119     Conduct all calibrations of LDAR               Calibrations conducted using methane as
         monitoring equipment using methane as the      calibration gas, beginning 6/7/11.
         calibration gas in accordance with 40 C.F.R.
         Part 60, EPA Reference Test Method 21.
 120     Conduct calibration drift assessments of       Compliance maintained.
         LDAR monitoring equipment at the end of
         each monitoring shift (at a minimum).
 121     Perform monitoring and maintenance as          Began implementing program prior to
         specified in Paragraph 121 including           1/26/12 and continued to implement, as
         extended maintenance and delayed repair of     required.
         leaks.



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CD ⁋                  CD Requirement                                Activities Undertaken

 123     Include information in Paragraph 123 in          All required LDAR reports were filed by
         applicable Semi-Annual LDAR Report.              Jan 30 and July 30 dates, and included the
                                                          information required by Paragraph 123.
                                        Part VI – Permitting
 124     Submit application to incorporate the          Submitted application to incorporate
         emissions limits and standards of the CD       emission limits and standards effective upon
         effective upon Date of Entry of CD.            Date of Entry, 8/2/11.
 125     File applications to incorporate the emissions Submitted applications to incorporate
         limits and standards effective after Date of   emission limits and standards on 7/19/11
         Entry.                                         and 10/17/14, excluding (1) Ja compliance
                                                        for East SRU (Para. 45.a); and (2) interim
                                                        performance standard for East Beavon
                                                        (Para. 45.b.iii).
                             Part VIII - Additional Injunctive Relief
132.a.   Comply with depressurization level of 10         Complied with depressurization level during
         psig for the Coker Steam Vents.                  coker operation, beginning Date of Entry.
132.b.   By December 31, 2012, comply with                2 psig depressurization level not exceeded,
         depressurization level of 2 psig for the Coker   on and after December 31, 2012.
         Steam Vents.
 133,    West SRU 1&2/Beavon 1: comply with TRS           Complied with Interim emission limits by
App. H   (Interim) limits by Date of Entry; comply        Date of Entry. Final limits not exceeded.
         with TRS (Final) limits by 1/1/14.
 133,    TK-1071: NSPS subpart Kb monitoring,             Per NSPS Kb requirements to conduct gap
App. H   primary and secondary seal gap                   testing when storing VOL, initial primary
         measurements.                                    seal gap measurements and secondary seal
                                                          gap measurements conducted per schedule
                                                          during tank operations. Initial secondary
                                                          seal inspection on 2/24/12. Tank not storing
                                                          VOL after 2012.
 133,    TK-1663: NSPS subpart Kb monitoring              Per NSPS Kb requirements to conduct gap
App. H   primary and secondary seal gap                   testing when storing VOL, initial primary
         measurements.                                    seal gap measurements and secondary seal
                                                          gap measurements conducted per schedule
                                                          during tank operations. Initial secondary
                                                          seal inspection on 11/23/11. Tank not
                                                          storing VOL after 2Q 2012.
 133,    TK-8501: Kb recordkeeping (maintain              Documentation maintained during tank
App. H   documents showing tank is exempt).               operations.
 133,    Process Equipment located in specified units     LDAR program maintained during
App. H   for fugitive VOC, HON minus Connectors.          unit/equipment operation.




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CD ⁋                CD Requirement                               Activities Undertaken

135    Comply with NSPS Subparts A and D for           Boilers 5, 8, and 9 were not in operation on
       Boilers 5, 8, and 9 by July 31, 2012.           or after the applicability date for Subpart D
                                                       of July 31, 2012. Did not exceed applicable
                                                       NSPS emissions standard.


136    Comply with NSPS Subparts A and GG for          Emission standards not exceeded for
       Generating Turbines 1, 2, 3, 5 and 6 no later   Generating Turbines 1, 2, 3, 5 and 6.
       than 5 years from Date of Entry.                Additionally, Generating Turbines 1, 2, 3,
                                                       and 6 permanently shut down and
                                                       application to surrender permits submitted
                                                       2/28/17. Generating Turbine 5 permanently
                                                       shut down and application to surrender
                                                       permit submitted 5/30/19.
136    Comply with NSPS Subparts A and GG by           Complied with NSPS subparts A and GG.
       Date of Entry (Generating Turbine 9).
                           Part X - Reporting and Recordkeeping
143    Submit semi-annual progress reports to EPA      First report submitted 1/30/12; subsequent
       and DPNR.                                       reports submitted on semi-annual schedule.
144    Certification of semi-annual reports by         All semi-annual reports submitted were
       HOVENSA.                                        certified.
                                     Part XI – Civil Penalty
145    Pay civil penalty to both the US and the        Penalty paid 7/5/11.
       USVI.




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